Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 1 of 100 PageID #:2835


                                      EXECUTIVE SUMMARY


ADDITIONAL ENVIRONMENTAL RECORDS


Local Brownfield lists
US BROWNFIELDS               A Listing of Brownfields Sites

Local Lists of Landfill / Solid Waste Disposal Sites
DEBRIS REGION 9              Torres Martinez Reservation Illegal Dump Site Locations
ODI                          Open Dump Inventory
INDIAN ODI                   Report on the Status of Open Dumps on Indian Lands

Local Lists of Hazardous waste / Contaminated Sites
US CDL                       Clandestine Drug Labs
IL CDL                       Meth Drug Lab Site Listing
US HIST CDL                  National Clandestine Laboratory Register

Local Land Records
LIENS 2                      CERCLA Lien Information

Records of Emergency Release Reports
HMIRS                        Hazardous Materials Information Reporting System
IL SPILLS                    State spills
IL SPILLS 90                 SPILLS 90 data from FirstSearch

Other Ascertainable Records
DOT OPS                      Incident and Accident Data
DOD                          Department of Defense Sites
CONSENT                      Superfund (CERCLA) Consent Decrees
ROD                          Records Of Decision
UMTRA                        Uranium Mill Tailings Sites
US MINES                     Mines Master Index File
TRIS                         Toxic Chemical Release Inventory System
TSCA                         Toxic Substances Control Act
FTTS                         FIFRA/ TSCA Tracking System - FIFRA (Federal Insecticide, Fungicide, & Rodenticide
                             Act)/TSCA (Toxic Substances Control Act)
HIST FTTS                    FIFRA/TSCA Tracking System Administrative Case Listing
SSTS                         Section 7 Tracking Systems
ICIS                         Integrated Compliance Information System
PADS                         PCB Activity Database System
MLTS                         Material Licensing Tracking System
RADINFO                      Radiation Information Database
RMP                          Risk Management Plans
IL UIC                       Underground Injection Wells
IL NPDES                     A Listing of Active Permits
IL HWAR                      Hazard Waste Annual Report
IL DRYCLEANERS               Illinois Licensed Drycleaners
IL IMPDMENT                  Surface Impoundment Inventory
IL AIRS                      Air Inventory Listing




                                                                             TC04099563.2r EXECUTIVE SUMMARY 3
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 2 of 100 PageID #:2836


                                         EXECUTIVE SUMMARY

IL TIER 2                       Tier 2 Information Listing
INDIAN RESERV                   Indian Reservations
SCRD DRYCLEANERS                State Coalition for Remediation of Drycleaners Listing
IL PIMW                         Potentially Infectious Medical Waste
IL Financial Assurance          Financial Assurance Information Listing
IL COAL ASH                     Coal Ash Site Listing
PCB TRANSFORMER                 PCB Transformer Registration Database
PRP                             Potentially Responsible Parties
COAL ASH DOE                    Steam-Electric Plant Operation Data
US FIN ASSUR                    Financial Assurance Information
LEAD SMELTERS                   Lead Smelter Sites
COAL ASH EPA                    Coal Combustion Residues Surface Impoundments List
EPA WATCH LIST                  EPA WATCH LIST

EDR HIGH RISK HISTORICAL RECORDS


EDR Exclusive Records
EDR MGP                         EDR Proprietary Manufactured Gas Plants

EDR RECOVERED GOVERNMENT ARCHIVES


Exclusive Recovered Govt. Archives
IL RGA LF                       Recovered Government Archive Solid Waste Facilities List
IL RGA LUST                     Recovered Government Archive Leaking Underground Storage Tank
IL RGA HWS                      Recovered Government Archive State Hazardous Waste Facilities List



SURROUNDING SITES: SEARCH RESULTS
Surrounding sites were identified in the following databases.

Elevations have been determined from the USGS Digital Elevation Model and should be evaluated on
a relative (not an absolute) basis. Relative elevation information between sites of close proximity
should be field verified. Sites with an elevation equal to or higher than the target property have been
differentiated below from sites with an elevation lower than the target property.
Page numbers and map identification numbers refer to the EDR Radius Map report where detailed
data on individual sites can be reviewed.

Sites listed in bold italics are in multiple databases.

Unmappable (orphan) sites are not considered in the foregoing analysis.
STANDARD ENVIRONMENTAL RECORDS


Federal RCRA CORRACTS facilities list
CORRACTS: CORRACTS is a list of handlers with RCRA Corrective Action Activity. This report shows
which nationally-defined corrective action core events have occurred for every handler that has had corrective
action activity.

   A review of the CORRACTS list, as provided by EDR, and dated 06/10/2014 has revealed that there is 1




                                                                                TC04099563.2r EXECUTIVE SUMMARY 4
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 3 of 100 PageID #:2837


                                      EXECUTIVE SUMMARY

   CORRACTS site within approximately 1 mile of the target property.

  Equal/Higher Elevation
  ____________________                        Address
                                              ________                 Direction / Distance
                                                                       ___________________         Map
                                                                                                   _____ID   Page
                                                                                                             _____
  UNIVERSITY OF CHICAGO HOSPITAL           960 E 58TH ST               WNW 1/2 - 1 (0.806 mi.)     49        42




Federal RCRA generators list
RCRA-SQG: RCRAInfo is EPA’s comprehensive information system, providing access to data supporting
the Resource Conservation and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA)
of 1984. The database includes selective information on sites which generate, transport, store, treat and/or
dispose of hazardous waste as defined by the Resource Conservation and Recovery Act (RCRA). Small quantity
generators (SQGs) generate between 100 kg and 1,000 kg of hazardous waste per month.

   A review of the RCRA-SQG list, as provided by EDR, and dated 06/10/2014 has revealed that there are 5
   RCRA-SQG sites within approximately 0.25 miles of the target property.

  Equal/Higher Elevation
  ____________________                        Address
                                              ________                 Direction / Distance
                                                                       ___________________         Map
                                                                                                   _____ID   Page
                                                                                                             _____
  IL EPA CHICAGO HHW SO SITE               6330 S STONY ISLAND AVE     SSW 0 - 1/8 (0.039 mi.)     6         11
  NIKE C-41 JACKSON PARK                   6401 S STONY ISLAND AVE     S 0 - 1/8 (0.124 mi.)       D14       14
  CHICAGO PARK DIST JACKSON PK S           6401 S STONY ISLAND         S 1/8 - 1/4 (0.126 mi.)     D16       16
  UNIVERSITY OF CHICAGO STEAM PL           6053 S BLACKSTONE           WNW 1/8 - 1/4 (0.188 mi.)   E20       20
  HYDE PARK COMMUNITY HOSPITAL             5800 S STONY ISLAND         N 1/8 - 1/4 (0.229 mi.)     I30       27


RCRA-CESQG: RCRAInfo is EPA’s comprehensive information system, providing access to data supporting
the Resource Conservation and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA)
of 1984. The database includes selective information on sites which generate, transport, store, treat and/or
dispose of hazardous waste as defined by the Resource Conservation and Recovery Act (RCRA). Conditionally
exempt small quantity generators (CESQGs) generate less than 100 kg of hazardous waste, or less than 1 kg of
acutely hazardous waste per month.

   A review of the RCRA-CESQG list, as provided by EDR, and dated 06/10/2014 has revealed that there are
   3 RCRA-CESQG sites within approximately 0.25 miles of the target property.

  Equal/Higher Elevation
  ____________________                        Address
                                              ________                 Direction / Distance
                                                                       ___________________         Map
                                                                                                   _____ID   Page
                                                                                                             _____
  HYDE PARK CAREER ACADEMY                 6220 S STONY ISLAND AVE     0 - 1/8 (0.000 mi.)         2         8
  WADSWORTH CHILD PARENT CENTER            6407 S BLACKSTONE AVE       SSW 1/8 - 1/4 (0.180 mi.)   18        18
  CARNEGIE ANDREW                          1414 E 61ST PL              W 1/8 - 1/4 (0.225 mi.)     H29       25




State and tribal leaking storage tank lists
IL LUST: The Leaking Underground Storage Tank Incident Reports contain an inventory of reported
leaking underground storage tank incidents. The data come from the Illinois Environmental Protection Agency’s
LUST Incident Report.

   A review of the IL LUST list, as provided by EDR, and dated 07/16/2014 has revealed that there are 5
   IL LUST sites within approximately 0.5 miles of the target property.

  Equal/Higher Elevation
  ____________________                        Address
                                              ________                 Direction / Distance
                                                                       ___________________         Map
                                                                                                   _____ID   Page
                                                                                                             _____
  UNIVERSITY OF CHICAGO                    1427 EAST 60TH STREET       NW 1/8 - 1/4 (0.215 mi.)    F25       23
    NFA/NFR Letter: 07/03/2000




                                                                               TC04099563.2r EXECUTIVE SUMMARY 5
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 4 of 100 PageID #:2838


                                       EXECUTIVE SUMMARY


  Equal/Higher Elevation
  ____________________                     Address
                                            ________                      Direction / Distance
                                                                          ___________________         Map ID
                                                                                                      _____     Page
                                                                                                                _____
  SOUTHERN SHORE YACHT CLUB                6401 SOUTH RICHARDS DR. SE 1/4 - 1/2 (0.254 mi.)           44        39
  FAST TRACK VENTURES                      6600 SOUTH STONY ISLAND S 1/4 - 1/2 (0.404 mi.)            46        40
    NFA/NFR Letter: 09/17/2013
  1ST CHICAGO BLDG. CORP.                  67TH & STONEY ISLAND AV        S 1/4 - 1/2 (0.474 mi.)     47        41

  Lower Elevation
  ____________________                      Address
                                            ________                      Direction / Distance
                                                                          ___________________         Map ID
                                                                                                      _____     Page
                                                                                                                _____
  U.S. ARMY CORP OF ENGINEERS              JACKSON PARK, HAYES AVE 0 - 1/8 (0.000 mi.)                A3        9
    NFA/NFR Letter: 11/17/2003




State and tribal registered storage tank lists
IL UST: The Underground Storage Tank database contains registered USTs. USTs are regulated under
Subtitle I of the Resource Conservation and Recovery Act (RCRA). The data come from the Illinois State Fire
Marshal’s STC Facility List.

   A review of the IL UST list, as provided by EDR, and dated 07/28/2014 has revealed that there are 7
   IL UST sites within approximately 0.25 miles of the target property.

  Equal/Higher Elevation
  ____________________                      Address
                                            ________                      Direction / Distance
                                                                          ___________________         Map
                                                                                                      _____ID   Page
                                                                                                                _____
  JACKSON PARK SER YARD                    1625 E 63RD ST & S STON        S 0 - 1/8 (0.002 mi.)       A4        10
  JACKSON PARK FIELDHOUSE                  6401 S STONY ISLAND            S 0 - 1/8 (0.124 mi.)       D15       16
  RESIDENTIAL                              6450 S STONY ISLAND            S 1/8 - 1/4 (0.186 mi.)     19        20
  UNIVERSITY OF CHICAGO PRESS BU           1427 E 60TH ST                 NW 1/8 - 1/4 (0.215 mi.)    F26       24
  ANDREW CARNEGE ELEMENTARY SCHO           1414 E 61ST PLACE              W 1/8 - 1/4 (0.225 mi.)     H28       25
  ABANDONED HOSPITAL                       5800 S. STONY ISLAND AV        N 1/8 - 1/4 (0.229 mi.)     I31       29
  DORCHESTER CO                            6050 SOUTH DORCHESTER          WNW 1/8 - 1/4 (0.243 mi.)   K40       33




State and tribal institutional control / engineering control registries
IL ENG CONTROLS: Sites with Engineering Controls.

   A review of the IL ENG CONTROLS list, as provided by EDR, and dated 07/03/2014 has revealed that
   there is 1 IL ENG CONTROLS site within approximately 0.5 miles of the target property.

  Equal/Higher Elevation
  ____________________                      Address
                                            ________                      Direction / Distance
                                                                          ___________________         Map
                                                                                                      _____ID   Page
                                                                                                                _____
  ANDREW CARNEGIE SCHOOL                   6101 SOUTH DORCHESTER A WNW 1/8 - 1/4 (0.241 mi.) 34                 31




State and tribal voluntary cleanup sites
IL SRP: Illinois Environmental Protection Agency, Site Remediation Program Database

   A review of the IL SRP list, as provided by EDR, and dated 07/03/2014 has revealed that there are 3
   IL SRP sites within approximately 0.5 miles of the target property.




                                                                                  TC04099563.2r EXECUTIVE SUMMARY 6
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 5 of 100 PageID #:2839


                                      EXECUTIVE SUMMARY


  Equal/Higher Elevation
  ____________________                      Address
                                            ________                   Direction / Distance
                                                                       ___________________       Map ID
                                                                                                 _____     Page
                                                                                                           _____
  ANDREW CARNEGIE SCHOOL                  6101 SOUTH DORCHESTER A WNW 1/8 - 1/4 (0.241 mi.) 34             31
  1320 EAST 63RD STREET                   1320-1328 EAST 63RD STR WSW 1/4 - 1/2 (0.372 mi.) 45             39
  COLUMBIA POINTE                         1201-1327 EAST 63RD STR WSW 1/4 - 1/2 (0.495 mi.) 48             41




ADDITIONAL ENVIRONMENTAL RECORDS


Other Ascertainable Records
RCRA NonGen / NLR: RCRAInfo is EPA’s comprehensive information system, providing access to data supporting
the Resource Conservation and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA)
of 1984. The database includes selective information on sites which generate, transport, store, treat and/or
dispose of hazardous waste as defined by the Resource Conservation and Recovery Act (RCRA). Non-Generators do
not presently generate hazardous waste.

  A review of the RCRA NonGen / NLR list, as provided by EDR, and dated 06/10/2014 has revealed that
   there is 1 RCRA NonGen / NLR site within approximately 0.25 miles of the target property.

  Equal/Higher Elevation
  ____________________                      Address
                                            ________                   Direction / Distance
                                                                       ___________________       Map
                                                                                                 _____ID   Page
                                                                                                           _____
  ILL BELL - Q13950                       6050 S DORCHESTER AVE        WNW 1/8 - 1/4 (0.243 mi.) K41       34


FUDS: The Listing includes locations of Formerly Used Defense Sites Properties where the US Army
Corps Of Engineers is actively working or will take necessary cleanup actions.

  A review of the FUDS list, as provided by EDR, and dated 06/06/2014 has revealed that there is 1 FUDS
  site within approximately 1 mile of the target property.

  Lower Elevation
  ____________________                      Address
                                            ________                   Direction / Distance
                                                                       ___________________       Map
                                                                                                 _____ID   Page
                                                                                                           _____
  NIKE C-41 - JACKSON PARK                                             NNE 1/2 - 1 (0.825 mi.)   50        80




EDR HIGH RISK HISTORICAL RECORDS


EDR Exclusive Records
EDR US Hist Auto Stat: EDR has searched selected national collections of business directories and has collected
listings of potential gas station/filling station/service station sites that were available to EDR
researchers. EDR’s review was limited to those categories of sources that might, in EDR’s opinion, include
gas station/filling station/service station establishments. The categories reviewed included, but were not
limited to gas, gas station, gasoline station, filling station, auto, automobile repair, auto service station,
service station, etc. This database falls within a category of information EDR classifies as "High Risk
Historical Records", or HRHR. EDR’s HRHR effort presents unique and sometimes proprietary data about past
sites and operations that typically create environmental concerns, but may not show up in current government
records searches.

   A review of the EDR US Hist Auto Stat list, as provided by EDR, has revealed that there are 5 EDR US




                                                                               TC04099563.2r EXECUTIVE SUMMARY 7
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 6 of 100 PageID #:2840


                                        EXECUTIVE SUMMARY

   Hist Auto Stat sites within approximately 0.25 miles of the target property.

  Equal/Higher Elevation
  ____________________                        Address
                                              ________                    Direction / Distance
                                                                          ___________________         Map
                                                                                                      _____ID   Page
                                                                                                                _____
  NEW TOWER GARAGE                          6341 HARPER AV                SSW 0 - 1/8 (0.096 mi.)     C12       14
  WYNKELS HENRY                             1447 E 60TH                   NW 1/8 - 1/4 (0.190 mi.)    F21       22
  AIR COOLED MOTORS                         6100 S BLACKSTONE AVE         WNW 1/8 - 1/4 (0.190 mi.)   E23       22
  GLADSTONE GARAGE                          1410 E 62D                    W 1/8 - 1/4 (0.205 mi.)     24        23
  DORCHOSTER FILLING STA                    6245 DORCHESTER AV            WSW 1/8 - 1/4 (0.241 mi.)   J32       30


EDR US Hist Cleaners: EDR has searched selected national collections of business directories and has collected
listings of potential dry cleaner sites that were available to EDR researchers. EDR’s review was limited to
those categories of sources that might, in EDR’s opinion, include dry cleaning establishments. The categories
reviewed included, but were not limited to dry cleaners, cleaners, laundry, laundromat, cleaning/laundry, wash
& dry etc. This database falls within a category of information EDR classifies as "High Risk Historical
Records", or HRHR. EDR’s HRHR effort presents unique and sometimes proprietary data about past sites and
operations that typically create environmental concerns, but may not show up in current government records
searches.

  A review of the EDR US Hist Cleaners list, as provided by EDR, has revealed that there are 19 EDR US
  Hist Cleaners sites within approximately 0.25 miles of the target property.

  Equal/Higher Elevation
  ____________________                        Address
                                              ________                    Direction / Distance
                                                                          ___________________         Map
                                                                                                      _____ID   Page
                                                                                                                _____
  PLAISANCE CLNRS                           6004 S STONY ISLAND A         0 - 1/8 (0.000 mi.)         1         8
  WHITE CLEANERS                            1556 E 63D                    SSW 0 - 1/8 (0.038 mi.)     B5        11
  PARKLAND HAND LAUNDRY                     1554 E 63D                    SSW 0 - 1/8 (0.040 mi.)     B7        13
  MOY GERGE                                 1549 E 63D AND                SSW 0 - 1/8 (0.047 mi.)     B8        13
  HYDE PARK LAUNDRY CO                      1545 E 63D                    SSW 0 - 1/8 (0.051 mi.)     B9        13
  LANS PHILIP M                             1535 E 63D                    SSW 0 - 1/8 (0.062 mi.)     B10       13
  TOSTESEN THEODORE                         1521 E 63D                    SSW 0 - 1/8 (0.063 mi.)     B11       14
  JAMES HAND LAUNNDRY                       6349 HARPER AV                SSW 0 - 1/8 (0.105 mi.)     C13       14
  WONG GEO                                  1544 E 64TH                   SSW 1/8 - 1/4 (0.136 mi.)   17        18
  MANN IDA                                  1447 E 60TH                   NW 1/8 - 1/4 (0.190 mi.)    F22       22
  BLACKSTONE LAUNDRY CO                     1459 E 64TH                   SW 1/8 - 1/4 (0.215 mi.)    G27       25
  PLOSZYNSKI ADOLPH                         6247 DORCHESTER AV            WSW 1/8 - 1/4 (0.241 mi.)   J33       30
  RHODES ARTHUR S                           6119 DORCHESTER AV            W 1/8 - 1/4 (0.241 mi.)     H35       32
  YOUNG JULIA M MRS                         6248 DORCHESTER AV            WSW 1/8 - 1/4 (0.241 mi.)   J36       32
  MEYERS LOUIS E                            6121 DORCHESTER AV            W 1/8 - 1/4 (0.241 mi.)     H37       32
  CENTRAL CLEANERS                          1434 E 64TH                   SW 1/8 - 1/4 (0.242 mi.)    G38       32
  MIDWAY LINEN SUPPLY LAUNDRY               6022 DORCHESTER AV            WNW 1/8 - 1/4 (0.243 mi.)   K39       33
  MIDWAY LAUNDRY CO                         6018 DORCHESTER AV            WNW 1/8 - 1/4 (0.243 mi.)   K42       38
  MOYS HAND LAUNDRY                         1432 E 64TH                   SW 1/8 - 1/4 (0.245 mi.)    G43       39




                                                                                  TC04099563.2r EXECUTIVE SUMMARY 8
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 7 of 100 PageID #:2841


                                           EXECUTIVE SUMMARY

Due to poor or inadequate address information, the following sites were not mapped. Count: 14 records.

Site Name
____________                                                                     Database(s)
                                                                                 ____________
NIKE SITE C41 CONTROL AREA-JAC                                                   IL BOL
NIKE SITE C-41 HOUSING & LAUNCH                                                  IL BOL
HYDE PARK CLEANERS INC                                                           IL DRYCLEANERS
MOBIL OIL STATION #05-BCH                                                        IL LUST
CONSTRUCTION SITE                                                                IL UST
ATS FACILITY CONSTRUCTION SITE                                                   IL UST
FUTURE SITE OF SOUTH SHORE HIGH SC                                               IL UST
AMOCO SS#24040 FAC#10632                                                         IL UST
COMED                                                                            RCRA NonGen / NLR
NIKE SITE C41 CONTROL AREA-JAC                                                   FINDS
NIKE SITE C-41 HOUSING & LAUNCH                                                  FINDS
WOODLAWN ELEMENTARY                                                              FINDS
CALUMET CONTAINER                                                                IL NIPC
LAKE CALUMET CLUSTER SITE                                                        IL RGA HWS




                                                                                        TC04099563.2r EXECUTIVE SUMMARY 9
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 8 of 100 PageID #:2842
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 9 of 100 PageID #:2843
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 10 of 100 PageID #:2844


                                        MAP FINDINGS SUMMARY


                             Search
                             Distance     Target                                                         Total
Database                     (Miles)      Property   < 1/8   1/8 - 1/4   1/4 - 1/2   1/2 - 1    >1       Plotted


STANDARD ENVIRONMENTAL RECORDS


Federal NPL site list
NPL                          1.000                     0        0           0           0        NR        0
Proposed NPL                 1.000                     0        0           0           0        NR        0
NPL LIENS                     TP                      NR       NR          NR          NR        NR        0
Federal Delisted NPL site list
Delisted NPL                 1.000                     0         0           0          0        NR        0
Federal CERCLIS list
CERCLIS                      0.500                     0         0           0         NR        NR        0
FEDERAL FACILITY             0.500                     0         0           0         NR        NR        0
Federal CERCLIS NFRAP site List
CERC-NFRAP                   0.500                     0         0           0         NR        NR        0
Federal RCRA CORRACTS facilities list
CORRACTS                     1.000                     0         0           0          1        NR        1
Federal RCRA non-CORRACTS TSD facilities list
RCRA-TSDF                    0.500                     0         0           0         NR        NR        0
Federal RCRA generators list
RCRA-LQG                     0.250                     0         0         NR          NR        NR        0
RCRA-SQG                     0.250                     2         3         NR          NR        NR        5
RCRA-CESQG                   0.250                     1         2         NR          NR        NR        3
Federal institutional controls /
engineering controls registries
US ENG CONTROLS              0.500                     0         0           0         NR        NR        0
US INST CONTROL              0.500                     0         0           0         NR        NR        0
LUCIS                        0.500                     0         0           0         NR        NR        0
Federal ERNS list
ERNS                          TP                      NR       NR          NR          NR        NR        0
State- and tribal - equivalent CERCLIS
IL SSU                       1.000                     0         0           0          0        NR        0
State and tribal landfill and/or
solid waste disposal site lists
IL SWF/LF                    0.500                     0         0           0         NR        NR        0
IL LF SPECIAL WASTE          0.500                     0         0           0         NR        NR        0
IL NIPC                      0.500                     0         0           0         NR        NR        0
IL CCDD                      0.500                     0         0           0         NR        NR        0
State and tribal leaking storage tank lists
IL LUST                      0.500                     1         1           3         NR        NR        5




                                                                                               TC04099563.2r Page 4
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 11 of 100 PageID #:2845


                                        MAP FINDINGS SUMMARY


                             Search
                             Distance      Target                                                         Total
Database                     (Miles)       Property   < 1/8   1/8 - 1/4   1/4 - 1/2   1/2 - 1    >1       Plotted

IL LUST TRUST                0.500                      0         0           0         NR        NR        0
INDIAN LUST                  0.500                      0         0           0         NR        NR        0
State and tribal registered storage tank lists
IL UST                       0.250                      2         5         NR          NR        NR        7
INDIAN UST                   0.250                      0         0         NR          NR        NR        0
FEMA UST                     0.250                      0         0         NR          NR        NR        0
State and tribal institutional
control / engineering control registries
IL ENG CONTROLS              0.500                      0         1           0         NR        NR        1
IL INST CONTROL              0.500                      0         0           0         NR        NR        0
State and tribal voluntary cleanup sites
IL SRP                       0.500                      0         1           2         NR        NR        3
INDIAN VCP                   0.500                      0         0           0         NR        NR        0
State and tribal Brownfields sites
IL BROWNFIELDS               0.500                      0         0           0         NR        NR        0

ADDITIONAL ENVIRONMENTAL RECORDS


Local Brownfield lists
US BROWNFIELDS               0.500                      0         0           0         NR        NR        0
Local Lists of Landfill / Solid
Waste Disposal Sites
DEBRIS REGION 9              0.500                      0         0           0         NR        NR        0
ODI                          0.500                      0         0           0         NR        NR        0
INDIAN ODI                   0.500                      0         0           0         NR        NR        0
Local Lists of Hazardous waste /
Contaminated Sites
US CDL                            TP                   NR       NR          NR          NR        NR        0
IL CDL                            TP                   NR       NR          NR          NR        NR        0
US HIST CDL                       TP                   NR       NR          NR          NR        NR        0
Local Land Records
LIENS 2                           TP                   NR       NR          NR          NR        NR        0
Records of Emergency Release Reports
HMIRS                             TP                   NR       NR          NR          NR        NR        0
IL SPILLS                         TP                   NR       NR          NR          NR        NR        0
IL SPILLS 90                      TP                   NR       NR          NR          NR        NR        0
Other Ascertainable Records
RCRA NonGen / NLR            0.250                      0        1          NR          NR        NR        1
DOT OPS                       TP                       NR       NR          NR          NR        NR        0
DOD                          1.000                      0        0           0           0        NR        0
FUDS                         1.000                      0        0           0           1        NR        1




                                                                                                TC04099563.2r Page 5
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 12 of 100 PageID #:2846


                                    MAP FINDINGS SUMMARY


                         Search
                         Distance     Target                                                         Total
Database                 (Miles)      Property   < 1/8   1/8 - 1/4   1/4 - 1/2   1/2 - 1    >1       Plotted

CONSENT                  1.000                     0        0           0          0         NR        0
ROD                      1.000                     0        0           0          0         NR        0
UMTRA                    0.500                     0        0           0         NR         NR        0
US MINES                 0.250                     0        0          NR         NR         NR        0
TRIS                      TP                      NR       NR          NR         NR         NR        0
TSCA                      TP                      NR       NR          NR         NR         NR        0
FTTS                      TP                      NR       NR          NR         NR         NR        0
HIST FTTS                 TP                      NR       NR          NR         NR         NR        0
SSTS                      TP                      NR       NR          NR         NR         NR        0
ICIS                      TP                      NR       NR          NR         NR         NR        0
PADS                      TP                      NR       NR          NR         NR         NR        0
MLTS                      TP                      NR       NR          NR         NR         NR        0
RADINFO                   TP                      NR       NR          NR         NR         NR        0
FINDS                     TP                      NR       NR          NR         NR         NR        0
RAATS                     TP                      NR       NR          NR         NR         NR        0
RMP                       TP                      NR       NR          NR         NR         NR        0
IL UIC                    TP                      NR       NR          NR         NR         NR        0
IL NPDES                  TP                      NR       NR          NR         NR         NR        0
IL HWAR                   TP                      NR       NR          NR         NR         NR        0
WI MANIFEST              0.250                     0        0          NR         NR         NR        0
NY MANIFEST              0.250                     0        0          NR         NR         NR        0
IL DRYCLEANERS           0.250                     0        0          NR         NR         NR        0
IL IMPDMENT              0.500                     0        0           0         NR         NR        0
IL AIRS                   TP                      NR       NR          NR         NR         NR        0
IL TIER 2                 TP                      NR       NR          NR         NR         NR        0
INDIAN RESERV            1.000                     0        0           0          0         NR        0
SCRD DRYCLEANERS         0.500                     0        0           0         NR         NR        0
IL PIMW                  0.250                     0        0          NR         NR         NR        0
IL Financial Assurance    TP                      NR       NR          NR         NR         NR        0
IL BOL                    TP                      NR       NR          NR         NR         NR        0
IL COAL ASH              0.500                     0        0           0         NR         NR        0
PCB TRANSFORMER           TP                      NR       NR          NR         NR         NR        0
PRP                       TP                      NR       NR          NR         NR         NR        0
COAL ASH DOE              TP                      NR       NR          NR         NR         NR        0
US FIN ASSUR              TP                      NR       NR          NR         NR         NR        0
LEAD SMELTERS             TP                      NR       NR          NR         NR         NR        0
2020 COR ACTION          0.250                     0        0          NR         NR         NR        0
US AIRS                   TP                      NR       NR          NR         NR         NR        0
COAL ASH EPA             0.500                     0        0           0         NR         NR        0
EPA WATCH LIST            TP                      NR       NR          NR         NR         NR        0

EDR HIGH RISK HISTORICAL RECORDS


EDR Exclusive Records
EDR MGP                  1.000                     0         0          0           0        NR         0
EDR US Hist Auto Stat    0.250                     1         4         NR          NR        NR         5
EDR US Hist Cleaners     0.250                     8        11         NR          NR        NR        19

EDR RECOVERED GOVERNMENT ARCHIVES


Exclusive Recovered Govt. Archives
IL RGA LF                 TP                      NR       NR          NR          NR        NR        0




                                                                                           TC04099563.2r Page 6
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 13 of 100 PageID #:2847


                                      MAP FINDINGS SUMMARY


                           Search
                           Distance     Target                                                         Total
Database                   (Miles)      Property   < 1/8   1/8 - 1/4   1/4 - 1/2   1/2 - 1    >1       Plotted

IL RGA LUST                 TP                      NR       NR          NR          NR        NR        0
IL RGA HWS                  TP                      NR       NR          NR          NR        NR        0


NOTES:
 TP = Target Property
 NR = Not Requested at this Search Distance
 Sites may be listed in more than one database




                                                                                             TC04099563.2r Page 7
    Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 14 of 100 PageID #:2848

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                                               EDR ID Number
Elevation   Site                                                                                      Database(s)      EPA ID Number




1           PLAISANCE CLNRS                                                                 EDR US Hist Cleaners       1009184241
            6004 S STONY ISLAND AVE                                                                                      N/A
< 1/8       CHICAGO, IL
1 ft.
              EDR Historical Cleaners:
Relative:       Name:                    PLAISANCE CLNRS
Higher          Year:                    1981
                Type:                    CLEANERS
Actual:
590 ft.

2           HYDE PARK CAREER ACADEMY                                                                RCRA-CESQG         1004696747
            6220 S STONY ISLAND AVE                                                                                    ILR000057349
< 1/8       CHICAGO, IL 60637
1 ft.
              RCRA-CESQG:
Relative:       Date form received by agency: 11/04/1998
Higher          Facility name:                HYDE PARK CAREER ACADEMY
                Facility address:             6220 S STONY ISLAND AVE
Actual:                                       CHICAGO, IL 60637
590 ft.         EPA ID:                       ILR000057349
                Mailing address:              8501 W 191ST ST BOX 10
                                              MOKENA, IL 60448
                Contact:                      THOMAS CONNELLY
                Contact address:              8501 W 191ST ST BOX 10
                                              MOKENA, IL 60448
                Contact country:              US
                Contact telephone:            (708) 923-0202
                Contact email:                Not reported
                EPA Region:                   05
                Classification:               Conditionally Exempt Small Quantity Generator
                Description:                  Handler: generates 100 kg or less of hazardous waste per calendar
                                              month, and accumulates 1000 kg or less of hazardous waste at any time;
                                              or generates 1 kg or less of acutely hazardous waste per calendar
                                              month, and accumulates at any time: 1 kg or less of acutely hazardous
                                              waste; or 100 kg or less of any residue or contaminated soil, waste or
                                              other debris resulting from the cleanup of a spill, into or on any
                                              land or water, of acutely hazardous waste; or generates 100 kg or less
                                              of any residue or contaminated soil, waste or other debris resulting
                                              from the cleanup of a spill, into or on any land or water, of acutely
                                              hazardous waste during any calendar month, and accumulates at any
                                              time: 1 kg or less of acutely hazardous waste; or 100 kg or less of
                                              any residue or contaminated soil, waste or other debris resulting from
                                              the cleanup of a spill, into or on any land or water, of acutely
                                              hazardous waste


              Owner/Operator Summary:
                Owner/operator name:           CHGO PUBLIC SSCHOOLS
                Owner/operator address:        1819 W PERSHING RD 6WW
                                               CHICAGO, IL 60609
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (773) 535-7038
                   Legal status:               District
                   Owner/Operator Type:        Owner
                   Owner/Op start date:        Not reported
                   Owner/Op end date:          Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:   No


                                                                                                              TC04099563.2r Page 8
     Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 15 of 100 PageID #:2849

Map ID                                                        MAP FINDINGS
Direction
Distance                                                                                             EDR ID Number
Elevation   Site                                                                       Database(s)   EPA ID Number




            HYDE PARK CAREER ACADEMY (Continued)                                                     1004696747
                   Mixed waste (haz. and radioactive):   No
                   Recycler of hazardous waste:          No
                   Transporter of hazardous waste:       No
                   Treater, storer or disposer of HW:    No
                   Underground injection activity:       No
                   On-site burner exemption:             No
                   Furnace exemption:                    No
                   Used oil fuel burner:                 No
                   Used oil processor:                   No
                   User oil refiner:                     No
                   Used oil fuel marketer to burner:     No
                   Used oil Specification marketer:      No
                   Used oil transfer facility:           No
                   Used oil transporter:                 No


              Hazardous Waste Summary:
                Waste code:                      D006
                Waste name:                      CADMIUM

                   Waste code:                   D008
                   Waste name:                   LEAD

                   Waste code:                   D009
                   Waste name:                   MERCURY

                   Violation Status:             No violations found


A3          U.S. ARMY CORP OF ENGINEERS                                                   IL LUST    S105537756
            JACKSON PARK, HAYES AVENUE                                                                N/A
< 1/8       CHICAGO, IL 60631
1 ft.
            Site 1 of 2 in cluster A

Relative:     LUST:
Lower           Incident Num:                       20020872
                IL EPA Id:                          0316415028
Actual:         Product:                            Fuel Oil
588 ft.         IEMA Date:                          06/18/2002
                Project Manager:                    NOT ASSIGNED
                Project Manager Phone:              Not reported
                Email:                              Not reported
                PRP Name:                           U.S. Army Corp of Engineers
                PRP Contact:                        Cynthia A. Ries
                PRP Address:                        600 Dr. Martin Luther King Place
                PRP City,St,Zip:                    Louisville, KY 40202-2232
                PRP Phone:                          5023156347
                Site Classification:                Not reported
                Section 57.5(g) Letter:             732
                Date Section 57.5(g) Letter:        Not reported
                Non LUST Determination Letter:      Not reported
                20 Report Received:                 07/08/2002
                45 Report Received:                 08/01/2002
                NFA/NFR Letter:                     11/17/2003
                NFR Date Recorded:                  01/05/2004

                   Incident Num:                    20021756
                   IL EPA Id:                       0316415028
                   Product:                         Other Petro



                                                                                             TC04099563.2r Page 9
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 16 of 100 PageID #:2850

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            U.S. ARMY CORP OF ENGINEERS (Continued)                                                       S105537756
                   IEMA Date:                       12/06/2002
                   Project Manager:                 Not reported
                   Project Manager Phone:           Not reported
                   Email:                           Not reported
                   PRP Name:                        U.S. Army Corp of Engineers
                   PRP Contact:                     Cindy Ries
                   PRP Address:                     600 Martin Luther King Place, Rm. 921
                   PRP City,St,Zip:                 Louisville, KY 40202-2232
                   PRP Phone:                       5023156347
                   Site Classification:             Not reported
                   Section 57.5(g) Letter:          P.A.
                   Date Section 57.5(g) Letter:     Not reported
                   Non LUST Determination Letter:   2005-01-27
                   20 Report Received:              12/19/2002
                   45 Report Received:              01/22/2003
                   NFA/NFR Letter:                  Not reported
                   NFR Date Recorded:               Not reported




A4          JACKSON PARK SER YARD                                                               IL UST    U001142241
South       1625 E 63RD ST & S STONY ISLAND                                                                N/A
< 1/8       CHICAGO, IL 60637
0.002 mi.
13 ft.      Site 2 of 2 in cluster A

Relative:     UST:
Higher          Facility ID:                            2020366
                Facility Status:                        CLOSED
Actual:         Facility Type:                          NONE
589 ft.         Owner Id:                               U0002888
                Owner Name:                             Chicago Park District
                Owner Address:                          541 North Fairbanks Court
                Owner City,St,Zip:                      Chicago, IL 60611

                   Tank Number:                        1
                   Tank Status:                        Removed
                   Tank Capacity:                      1500
                   Tank Substance:                     Gasoline
                   Last Used Date:                     12/1/1980
                   OSFM First Notify Date:             5/4/1986
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported


                   Tank Number:                         2
                   Tank Status:                         Exempt from registration
                   Tank Capacity:                       1500
                   Tank Substance:                      Gasoline
                   Last Used Date:                      12/1/1973
                   OSFM First Notify Date:              10/17/1988
                   Red Tag Issue Date:                  Not reported
                   Install Date:                        Not reported
                   Green Tag Decal:                     Not reported


                                                                                                 TC04099563.2r Page 10
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 17 of 100 PageID #:2851

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                              EDR ID Number
Elevation   Site                                                                                     Database(s)      EPA ID Number




            JACKSON PARK SER YARD (Continued)                                                                         U001142241
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported




B5          WHITE CLEANERS                                                                 EDR US Hist Cleaners       1009212226
SSW         1556 E 63D                                                                                                  N/A
< 1/8       CHICAGO, IL
0.038 mi.
201 ft.     Site 1 of 6 in cluster B

Relative:     EDR Historical Cleaners:
Higher          Name:                    WHITE CLEANERS
                Year:                    1923
Actual:         Type:                    CLEANERS AND DYERS CONTD
591 ft.



6           IL EPA CHICAGO HHW SO SITE                                                                RCRA-SQG        1000824949
SSW         6330 S STONY ISLAND AVE B                                                                    FINDS        ILD984913327
< 1/8       CHICAGO, IL 60637
0.039 mi.
204 ft.

Relative:     RCRA-SQG:
Higher          Date form received by agency: 03/05/1993
                Facility name:                IL EPA CHICAGO HHW SO SITE
Actual:         Facility address:             6330 S STONY ISLAND B
591 ft.                                       CHICAGO, IL 60049
                EPA ID:                       ILD984913327
                Mailing address:              2200 CHURCHILL RD
                                              SPRINGFEIDL, IL 62794
                Contact:                      DAVID WALTERS
                Contact address:              2200 CHURCHILL RD
                                              SPRINGFEIDL, IL 62794
                Contact country:              US
                Contact telephone:            (217) 785-8604
                Contact email:                Not reported
                EPA Region:                   05
                Classification:               Small Small Quantity Generator
                Description:                  Handler: generates more than 100 and less than 1000 kg of hazardous
                                              waste during any calendar month and accumulates less than 6000 kg of
                                              hazardous waste at any time; or generates 100 kg or less of hazardous
                                              waste during any calendar month, and accumulates more than 1000 kg of
                                              hazardous waste at any time


              Owner/Operator Summary:
                Owner/operator name:           ILL EPA
                Owner/operator address:        2200 CHURCHILL RD
                                               SPRINGFIELD, IL 62794
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (312) 667-0900
                   Legal status:               State
                   Owner/Operator Type:        Owner
                   Owner/Op start date:        Not reported
                   Owner/Op end date:          Not reported




                                                                                                           TC04099563.2r Page 11
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 18 of 100 PageID #:2852

Map ID                                                        MAP FINDINGS
Direction
Distance                                                                                                               EDR ID Number
Elevation   Site                                                                                         Database(s)   EPA ID Number




            IL EPA CHICAGO HHW SO SITE (Continued)                                                                     1000824949

              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   No
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No
                On-site burner exemption:             No
                Furnace exemption:                    No
                Used oil fuel burner:                 No
                Used oil processor:                   No
                User oil refiner:                     No
                Used oil fuel marketer to burner:     No
                Used oil Specification marketer:      No
                Used oil transfer facility:           No
                Used oil transporter:                 No


              Hazardous Waste Summary:
                Waste code:                     D000
                Waste name:                     Not Defined

                   Waste code:                  D001
                   Waste name:                  IGNITABLE HAZARDOUS WASTES ARE THOSE WASTES WHICH HAVE A FLASHPOINT OF
                                                LESS THAN 140 DEGREES FAHRENHEIT AS DETERMINED BY A PENSKY-MARTENS
                                                CLOSED CUP FLASH POINT TESTER. ANOTHER METHOD OF DETERMINING THE
                                                FLASH POINT OF A WASTE IS TO REVIEW THE MATERIAL SAFETY DATA SHEET,
                                                WHICH CAN BE OBTAINED FROM THE MANUFACTURER OR DISTRIBUTOR OF THE
                                                MATERIAL. LACQUER THINNER IS AN EXAMPLE OF A COMMONLY USED SOLVENT
                                                WHICH WOULD BE CONSIDERED AS IGNITABLE HAZARDOUS WASTE.

                   Waste code:                  D002
                   Waste name:                  A WASTE WHICH HAS A PH OF LESS THAN 2 OR GREATER THAN 12.5 IS
                                                CONSIDERED TO BE A CORROSIVE HAZARDOUS WASTE. SODIUM HYDROXIDE, A
                                                CAUSTIC SOLUTION WITH A HIGH PH, IS OFTEN USED BY INDUSTRIES TO CLEAN
                                                OR DEGREASE PARTS. HYDROCHLORIC ACID, A SOLUTION WITH A LOW PH, IS
                                                USED BY MANY INDUSTRIES TO CLEAN METAL PARTS PRIOR TO PAINTING. WHEN
                                                THESE CAUSTIC OR ACID SOLUTIONS BECOME CONTAMINATED AND MUST BE
                                                DISPOSED, THE WASTE WOULD BE A CORROSIVE HAZARDOUS WASTE.

                   Waste code:                  D003
                   Waste name:                  A MATERIAL IS CONSIDERED TO BE A REACTIVE HAZARDOUS WASTE IF IT IS
                                                NORMALLY UNSTABLE, REACTS VIOLENTLY WITH WATER, GENERATES TOXIC GASES
                                                WHEN EXPOSED TO WATER OR CORROSIVE MATERIALS, OR IF IT IS CAPABLE OF
                                                DETONATION OR EXPLOSION WHEN EXPOSED TO HEAT OR A FLAME. ONE EXAMPLE
                                                OF SUCH WASTE WOULD BY WASTE GUNPOWDER.

                   Violation Status:            No violations found
              FINDS:

                   Registry ID:                 110009381481

                   Environmental Interest/Information System
                                     RCRAInfo is a national information system that supports the Resource
                                     Conservation and Recovery Act (RCRA) program through the tracking of
                                     events and activities related to facilities that generate, transport,
                                     and treat, store, or dispose of hazardous waste. RCRAInfo allows RCRA




                                                                                                              TC04099563.2r Page 12
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 19 of 100 PageID #:2853

Map ID                                                           MAP FINDINGS
Direction
Distance                                                                                                                     EDR ID Number
Elevation   Site                                                                                               Database(s)   EPA ID Number




            IL EPA CHICAGO HHW SO SITE (Continued)                                                                           1000824949
                                       program staff to track the notification, permit, compliance, and
                                       corrective action activities required under RCRA.




B7          PARKLAND HAND LAUNDRY                                                                     EDR US Hist Cleaners   1009200168
SSW         1554 E 63D                                                                                                         N/A
< 1/8       CHICAGO, IL
0.040 mi.
213 ft.     Site 2 of 6 in cluster B

Relative:     EDR Historical Cleaners:
Higher          Name:                        PARKLAND HAND LAUNDRY
                Year:                        1928
Actual:         Type:                        LAUNDRIES HAND
591 ft.



B8          MOY GERGE                                                                                 EDR US Hist Cleaners   1009202728
SSW         1549 E 63D AND                                                                                                     N/A
< 1/8       CHICAGO, IL
0.047 mi.
248 ft.     Site 3 of 6 in cluster B

Relative:     EDR Historical Cleaners:
Higher          Name:                        MOY GERGE
                Year:                        1923
Actual:         Type:                        LAUNDRIES (CHINESE)
591 ft.
                   Name:                     MOY GEO H
                   Year:                     1928
                   Type:                     LAUNDRIES CHINESE




B9          HYDE PARK LAUNDRY CO                                                                      EDR US Hist Cleaners   1009198733
SSW         1545 E 63D                                                                                                         N/A
< 1/8       CHICAGO, IL
0.051 mi.
270 ft.     Site 4 of 6 in cluster B

Relative:     EDR Historical Cleaners:
Higher          Name:                        HYDE PARK LAUNDRY CO
                Year:                        1928
Actual:         Type:                        LAUNDRIES STEAM
592 ft.



B10         LANS PHILIP M                                                                             EDR US Hist Cleaners   1009211064
SSW         1535 E 63D                                                                                                         N/A
< 1/8       CHICAGO, IL
0.062 mi.
328 ft.     Site 5 of 6 in cluster B

Relative:     EDR Historical Cleaners:
Higher          Name:                        LANS PHILIP M
                Year:                        1923
Actual:         Type:                        CLEANERS ANTD DYERS CONTD
592 ft.




                                                                                                                    TC04099563.2r Page 13
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 20 of 100 PageID #:2854

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                                              EDR ID Number
Elevation   Site                                                                                     Database(s)      EPA ID Number




B11         TOSTESEN THEODORE                                                              EDR US Hist Cleaners       1009211104
SSW         1521 E 63D                                                                                                  N/A
< 1/8       CHICAGO, IL
0.063 mi.
332 ft.     Site 6 of 6 in cluster B

Relative:     EDR Historical Cleaners:
Higher          Name:                    TOSTESEN THEODORE
                Year:                    1923
Actual:         Type:                    CLEANERS AND DYERS CONTD
592 ft.



C12         NEW TOWER GARAGE                                                              EDR US Hist Auto Stat       1009104666
SSW         6341 HARPER AV                                                                                              N/A
< 1/8       CHICAGO, IL
0.096 mi.
508 ft.     Site 1 of 2 in cluster C

Relative:     EDR Historical Auto Stations:
Higher          Name:                    NEW TOWER GARAGE
                Year:                    1928
Actual:         Type:                    AUTOMOBILE GARAGES
592 ft.



C13         JAMES HAND LAUNNDRY                                                            EDR US Hist Cleaners       1009201702
SSW         6349 HARPER AV                                                                                              N/A
< 1/8       CHICAGO, IL
0.105 mi.
553 ft.     Site 2 of 2 in cluster C

Relative:     EDR Historical Cleaners:
Higher          Name:                    JAMES HAND LAUNNDRY
                Year:                    1928
Actual:         Type:                    LAUNDRIES HAND
592 ft.



D14         NIKE C-41 JACKSON PARK                                                                    RCRA-SQG        1010317466
South       6401 S STONY ISLAND AVE                                                                                   ILR000145987
< 1/8       CHICAGO, IL 60637
0.124 mi.
657 ft.     Site 1 of 3 in cluster D

Relative:     RCRA-SQG:
Higher          Date form received by agency: 03/19/2007
                Facility name:                NIKE C-41 JACKSON PARK
Actual:         Facility address:             6401 S STONY ISLAND AVE
590 ft.                                       CHICAGO, IL 60637
                EPA ID:                       ILR000145987
                Contact:                      KIMBERLY S CAUDILL
                Contact address:              Not reported
                                              Not reported
                Contact country:              Not reported
                Contact telephone:            (865) 840-5560
                Contact email:                Not reported
                EPA Region:                   05
                Classification:               Small Small Quantity Generator
                Description:                  Handler: generates more than 100 and less than 1000 kg of hazardous
                                              waste during any calendar month and accumulates less than 6000 kg of
                                              hazardous waste at any time; or generates 100 kg or less of hazardous
                                              waste during any calendar month, and accumulates more than 1000 kg of


                                                                                                           TC04099563.2r Page 14
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 21 of 100 PageID #:2855

Map ID                                                      MAP FINDINGS
Direction
Distance                                                                                   EDR ID Number
Elevation   Site                                                             Database(s)   EPA ID Number




            NIKE C-41 JACKSON PARK (Continued)                                             1010317466
                                               hazardous waste at any time


              Owner/Operator Summary:
                Owner/operator name:           CHICAGO PARK DISTRICT
                Owner/operator address:        Not reported
                                               Not reported
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   Not reported
                   Legal status:               Municipal
                   Owner/Operator Type:        Operator
                   Owner/Op start date:        01/01/1965
                   Owner/Op end date:          Not reported

                   Owner/operator name:        CHICAGO PARK DISTRICT
                   Owner/operator address:     Not reported
                                               Not reported
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   Not reported
                   Legal status:               Municipal
                   Owner/Operator Type:        Owner
                   Owner/Op start date:        01/01/1965
                   Owner/Op end date:          Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   No
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No
                On-site burner exemption:             No
                Furnace exemption:                    No
                Used oil fuel burner:                 No
                Used oil processor:                   No
                User oil refiner:                     No
                Used oil fuel marketer to burner:     No
                Used oil Specification marketer:      No
                Used oil transfer facility:           No
                Used oil transporter:                 No


              Hazardous Waste Summary:
                Waste code:                    D006
                Waste name:                    CADMIUM

                   Waste code:                 D007
                   Waste name:                 CHROMIUM

                   Waste code:                 D008
                   Waste name:                 LEAD

                   Waste code:                 D009
                   Waste name:                 MERCURY

                   Violation Status:           No violations found




                                                                                  TC04099563.2r Page 15
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 22 of 100 PageID #:2856

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                              EDR ID Number
Elevation   Site                                                                                     Database(s)      EPA ID Number




D15         JACKSON PARK FIELDHOUSE                                                                       IL UST      U000791223
South       6401 S STONY ISLAND                                                                                        N/A
< 1/8       CHICAGO, IL 60637
0.124 mi.
657 ft.     Site 2 of 3 in cluster D

Relative:     UST:
Higher          Facility ID:                          2030886
                Facility Status:                      EXEMPT
Actual:         Facility Type:                        OTHER SPECIAL SERVICE DISTRICT
590 ft.         Owner Id:                             U0002888
                Owner Name:                           Chicago Park District
                Owner Address:                        541 North Fairbanks Court
                Owner City,St,Zip:                    Chicago, IL 60611

                   Tank Number:                        1
                   Tank Status:                        Exempt from registration
                   Tank Capacity:                      0
                   Tank Substance:                     Heating Oil
                   Last Used Date:                     1/1/1973
                   OSFM First Notify Date:             7/1/1992
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       1/1/1955
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported




D16         CHICAGO PARK DIST JACKSON PK SVC YD                                                       RCRA-SQG        1000166331
South       6401 S STONY ISLAND                                                                          FINDS        ILD984767541
1/8-1/4     CHICAGO, IL 60637
0.126 mi.
664 ft.     Site 3 of 3 in cluster D

Relative:     RCRA-SQG:
Higher          Date form received by agency: 11/07/1988
                Facility name:                CHICAGO PARK DIST JACKSON PK SVC YD
Actual:         Facility address:             6401 S STONY ISLAND
590 ft.                                       CHICAGO, IL 60637
                EPA ID:                       ILD984767541
                Mailing address:              425 W MCFETRIDGE DR
                                              CHICAGO, IL 60605
                Contact:                      RONALD DODD
                Contact address:              425 W MCFETRIDGE DR
                                              CHICAGO, IL 60605
                Contact country:              US
                Contact telephone:            (312) 294-7800
                Contact email:                Not reported
                EPA Region:                   05
                Classification:               Small Small Quantity Generator
                Description:                  Handler: generates more than 100 and less than 1000 kg of hazardous
                                              waste during any calendar month and accumulates less than 6000 kg of
                                              hazardous waste at any time; or generates 100 kg or less of hazardous
                                              waste during any calendar month, and accumulates more than 1000 kg of
                                              hazardous waste at any time


              Owner/Operator Summary:



                                                                                                           TC04099563.2r Page 16
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 23 of 100 PageID #:2857

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                               EDR ID Number
Elevation   Site                                                                                         Database(s)   EPA ID Number




            CHICAGO PARK DIST JACKSON PK SVC YD (Continued)                                                            1000166331
                   Owner/operator name:         NAME NOT REPORTED
                   Owner/operator address:      ADDRESS NOT REPORTED
                                                CITY NOT REPORTED, AK 99998
                   Owner/operator country:      Not reported
                   Owner/operator telephone:    (312) 555-1212
                   Legal status:                Municipal
                   Owner/Operator Type:         Operator
                   Owner/Op start date:         Not reported
                   Owner/Op end date:           Not reported

                   Owner/operator name:         CHICAGO PARK DISTRICT
                   Owner/operator address:      ADDRESS NOT REPORTED
                                                CITY NOT REPORTED, AK 99998
                   Owner/operator country:      Not reported
                   Owner/operator telephone:    (312) 555-1212
                   Legal status:                Municipal
                   Owner/Operator Type:         Owner
                   Owner/Op start date:         Not reported
                   Owner/Op end date:           Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   No
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No
                On-site burner exemption:             No
                Furnace exemption:                    No
                Used oil fuel burner:                 No
                Used oil processor:                   No
                User oil refiner:                     No
                Used oil fuel marketer to burner:     No
                Used oil Specification marketer:      No
                Used oil transfer facility:           No
                Used oil transporter:                 No


              Hazardous Waste Summary:
                Waste code:                     D001
                Waste name:                     IGNITABLE HAZARDOUS WASTES ARE THOSE WASTES WHICH HAVE A FLASHPOINT OF
                                                LESS THAN 140 DEGREES FAHRENHEIT AS DETERMINED BY A PENSKY-MARTENS
                                                CLOSED CUP FLASH POINT TESTER. ANOTHER METHOD OF DETERMINING THE
                                                FLASH POINT OF A WASTE IS TO REVIEW THE MATERIAL SAFETY DATA SHEET,
                                                WHICH CAN BE OBTAINED FROM THE MANUFACTURER OR DISTRIBUTOR OF THE
                                                MATERIAL. LACQUER THINNER IS AN EXAMPLE OF A COMMONLY USED SOLVENT
                                                WHICH WOULD BE CONSIDERED AS IGNITABLE HAZARDOUS WASTE.

                   Violation Status:            No violations found
              FINDS:

                   Registry ID:                 110005868524

                   Environmental Interest/Information System
                                     RCRAInfo is a national information system that supports the Resource
                                     Conservation and Recovery Act (RCRA) program through the tracking of
                                     events and activities related to facilities that generate, transport,




                                                                                                              TC04099563.2r Page 17
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 24 of 100 PageID #:2858

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                                               EDR ID Number
Elevation   Site                                                                                      Database(s)      EPA ID Number




            CHICAGO PARK DIST JACKSON PK SVC YD (Continued)                                                            1000166331
                                  and treat, store, or dispose of hazardous waste. RCRAInfo allows RCRA
                                  program staff to track the notification, permit, compliance, and
                                  corrective action activities required under RCRA.




17          WONG GEO                                                                        EDR US Hist Cleaners       1009198298
SSW         1544 E 64TH                                                                                                  N/A
1/8-1/4     CHICAGO, IL
0.136 mi.
717 ft.

Relative:     EDR Historical Cleaners:
Higher          Name:                    WONG GEO
                Year:                    1928
Actual:         Type:                    LAUNDRIES CHINESE
591 ft.



18          WADSWORTH CHILD PARENT CENTER                                                           RCRA-CESQG         1004696977
SSW         6407 S BLACKSTONE AVE                                                                         FINDS        ILR000061218
1/8-1/4     CHICAGO, IL 60637
0.180 mi.
950 ft.

Relative:     RCRA-CESQG:
Higher          Date form received by agency: 02/08/1999
                Facility name:                WADSWORTH CHILD PARENT CENTER
Actual:         Facility address:             6407 S BLACKSTONE AVE
593 ft.                                       CHICAGO, IL 60637
                EPA ID:                       ILR000061218
                Mailing address:              8501 W 191ST ST BOX 10
                                              MOKENA, IL 60448
                Contact:                      THOMAS CONNELLY
                Contact address:              6407 S BLACKSTONE AVE
                                              CHICAGO, IL 60637
                Contact country:              US
                Contact telephone:            (708) 923-0202
                Contact email:                Not reported
                EPA Region:                   05
                Classification:               Conditionally Exempt Small Quantity Generator
                Description:                  Handler: generates 100 kg or less of hazardous waste per calendar
                                              month, and accumulates 1000 kg or less of hazardous waste at any time;
                                              or generates 1 kg or less of acutely hazardous waste per calendar
                                              month, and accumulates at any time: 1 kg or less of acutely hazardous
                                              waste; or 100 kg or less of any residue or contaminated soil, waste or
                                              other debris resulting from the cleanup of a spill, into or on any
                                              land or water, of acutely hazardous waste; or generates 100 kg or less
                                              of any residue or contaminated soil, waste or other debris resulting
                                              from the cleanup of a spill, into or on any land or water, of acutely
                                              hazardous waste during any calendar month, and accumulates at any
                                              time: 1 kg or less of acutely hazardous waste; or 100 kg or less of
                                              any residue or contaminated soil, waste or other debris resulting from
                                              the cleanup of a spill, into or on any land or water, of acutely
                                              hazardous waste


              Owner/Operator Summary:
                Owner/operator name:          CHGO PUBLIC SCHOOLS
                Owner/operator address:       1819 W PERSHING RD 6WW


                                                                                                             TC04099563.2r Page 18
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 25 of 100 PageID #:2859

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                               EDR ID Number
Elevation   Site                                                                                         Database(s)   EPA ID Number




            WADSWORTH CHILD PARENT CENTER (Continued)                                                                  1004696977
                                                CHICAGO, IL 60609
                   Owner/operator country:      Not reported
                   Owner/operator telephone:    (773) 535-7038
                   Legal status:                District
                   Owner/Operator Type:         Owner
                   Owner/Op start date:         Not reported
                   Owner/Op end date:           Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:      No
                Mixed waste (haz. and radioactive):    No
                Recycler of hazardous waste:           No
                Transporter of hazardous waste:        No
                Treater, storer or disposer of HW:     No
                Underground injection activity:        No
                On-site burner exemption:              No
                Furnace exemption:                     No
                Used oil fuel burner:                  No
                Used oil processor:                    No
                User oil refiner:                      No
                Used oil fuel marketer to burner:      No
                Used oil Specification marketer:       No
                Used oil transfer facility:            No
                Used oil transporter:                  No


              Hazardous Waste Summary:
                Waste code:                     D006
                Waste name:                     CADMIUM

                   Waste code:                  D008
                   Waste name:                  LEAD

                   Waste code:                  D009
                   Waste name:                  MERCURY

                   Violation Status:            No violations found
              FINDS:

                   Registry ID:                 110003048782

                   Environmental Interest/Information System
                                     RCRAInfo is a national information system that supports the Resource
                                     Conservation and Recovery Act (RCRA) program through the tracking of
                                     events and activities related to facilities that generate, transport,
                                     and treat, store, or dispose of hazardous waste. RCRAInfo allows RCRA
                                     program staff to track the notification, permit, compliance, and
                                     corrective action activities required under RCRA.




                                                                                                              TC04099563.2r Page 19
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 26 of 100 PageID #:2860

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                              EDR ID Number
Elevation   Site                                                                                     Database(s)      EPA ID Number




19          RESIDENTIAL                                                                                   IL UST      U003042183
South       6450 S STONY ISLAND                                                                                        N/A
1/8-1/4     CHICAGO, IL 60637
0.186 mi.
983 ft.

Relative:     UST:
Higher          Facility ID:                          2034753
                Facility Status:                      EXEMPT
Actual:         Facility Type:                        RESIDENCE (NON-FARM)
590 ft.         Owner Id:                             U0024559
                Owner Name:                           Wecan Development Corp
                Owner Address:                        1541 E 65Th St
                Owner City,St,Zip:                    Chicago, IL 60637

                   Tank Number:                        1
                   Tank Status:                        Exempt from registration
                   Tank Capacity:                      3000
                   Tank Substance:                     Heating Oil
                   Last Used Date:                     12/31/1973
                   OSFM First Notify Date:             8/8/1995
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       7/1/1940
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported




E20         UNIVERSITY OF CHICAGO STEAM PLANT                                                         RCRA-SQG        1014389993
WNW         6053 S BLACKSTONE                                                                                         ILR000162529
1/8-1/4     CHICAGO, IL 60637
0.188 mi.
992 ft.     Site 1 of 2 in cluster E

Relative:     RCRA-SQG:
Higher          Date form received by agency: 06/23/2010
                Facility name:                UNIVERSITY OF CHICAGO STEAM PLANT
Actual:         Facility address:             6053 S BLACKSTONE
594 ft.                                       CHICAGO, IL 60637
                EPA ID:                       ILR000162529
                Mailing address:              6054 S DREXEL
                                              CHICAGO, IL 60637
                Contact:                      STEVE BEAUDOIN
                Contact address:              6054 S DREXEL
                                              CHICAGO, IL 60637
                Contact country:              US
                Contact telephone:            (773) 834-1131
                Contact email:                SBEAUDOI@UCHICAGO.EDU
                EPA Region:                   05
                Classification:               Small Small Quantity Generator
                Description:                  Handler: generates more than 100 and less than 1000 kg of hazardous
                                              waste during any calendar month and accumulates less than 6000 kg of
                                              hazardous waste at any time; or generates 100 kg or less of hazardous
                                              waste during any calendar month, and accumulates more than 1000 kg of
                                              hazardous waste at any time


              Owner/Operator Summary:



                                                                                                           TC04099563.2r Page 20
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 27 of 100 PageID #:2861

Map ID                                                         MAP FINDINGS
Direction
Distance                                                                                    EDR ID Number
Elevation   Site                                                              Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO STEAM PLANT (Continued)                                   1014389993
                   Owner/operator name:         UNIVERSITY OF CHICAGO
                   Owner/operator address:      Not reported
                                                Not reported
                   Owner/operator country:      US
                   Owner/operator telephone:    Not reported
                   Legal status:                State
                   Owner/Operator Type:         Owner
                   Owner/Op start date:         06/23/2010
                   Owner/Op end date:           Not reported

                   Owner/operator name:         UNIVERSITY OF CHICAGO
                   Owner/operator address:      Not reported
                                                Not reported
                   Owner/operator country:      US
                   Owner/operator telephone:    Not reported
                   Legal status:                State
                   Owner/Operator Type:         Operator
                   Owner/Op start date:         06/23/2010
                   Owner/Op end date:           Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:      No
                Mixed waste (haz. and radioactive):    No
                Recycler of hazardous waste:           No
                Transporter of hazardous waste:        No
                Treater, storer or disposer of HW:     No
                Underground injection activity:        No
                On-site burner exemption:              No
                Furnace exemption:                     No
                Used oil fuel burner:                  No
                Used oil processor:                    No
                User oil refiner:                      No
                Used oil fuel marketer to burner:      No
                Used oil Specification marketer:       No
                Used oil transfer facility:            No
                Used oil transporter:                  No


              Universal Waste Summary:
                Waste type:                     Batteries
                Accumulated waste on-site:      No
                Generated waste on-site:        Not reported

                   Waste type:                  Lamps
                   Accumulated waste on-site:   No
                   Generated waste on-site:     Not reported

                   Waste type:                  Pesticides
                   Accumulated waste on-site:   No
                   Generated waste on-site:     Not reported

                   Waste type:                  Thermostats
                   Accumulated waste on-site:   No
                   Generated waste on-site:     Not reported


              Hazardous Waste Summary:
                Waste code:                     D002




                                                                                   TC04099563.2r Page 21
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 28 of 100 PageID #:2862

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                                 EDR ID Number
Elevation   Site                                                                          Database(s)    EPA ID Number




            UNIVERSITY OF CHICAGO STEAM PLANT (Continued)                                                1014389993
                   Waste name:               A WASTE WHICH HAS A PH OF LESS THAN 2 OR GREATER THAN 12.5 IS
                                             CONSIDERED TO BE A CORROSIVE HAZARDOUS WASTE. SODIUM HYDROXIDE, A
                                             CAUSTIC SOLUTION WITH A HIGH PH, IS OFTEN USED BY INDUSTRIES TO CLEAN
                                             OR DEGREASE PARTS. HYDROCHLORIC ACID, A SOLUTION WITH A LOW PH, IS
                                             USED BY MANY INDUSTRIES TO CLEAN METAL PARTS PRIOR TO PAINTING. WHEN
                                             THESE CAUSTIC OR ACID SOLUTIONS BECOME CONTAMINATED AND MUST BE
                                             DISPOSED, THE WASTE WOULD BE A CORROSIVE HAZARDOUS WASTE.

                   Violation Status:         No violations found


F21         WYNKELS HENRY                                                        EDR US Hist Auto Stat   1009114300
NW          1447 E 60TH                                                                                    N/A
1/8-1/4     CHICAGO, IL
0.190 mi.
1002 ft.    Site 1 of 4 in cluster F

Relative:     EDR Historical Auto Stations:
Higher          Name:                    WYNKELS HENRY
                Year:                    1923
Actual:         Type:                    AUTOMOBILE REPAIRING
591 ft.



F22         MANN IDA                                                             EDR US Hist Cleaners    1009201857
NW          1447 E 60TH                                                                                    N/A
1/8-1/4     CHICAGO, IL
0.190 mi.
1002 ft.    Site 2 of 4 in cluster F

Relative:     EDR Historical Cleaners:
Higher          Name:                    MANN IDA
                Year:                    1928
Actual:         Type:                    LAUNDRIES HAND
591 ft.



E23         AIR COOLED MOTORS                                                    EDR US Hist Auto Stat   1009075377
WNW         6100 S BLACKSTONE AVE                                                                          N/A
1/8-1/4     CHICAGO, IL
0.190 mi.
1003 ft.    Site 2 of 2 in cluster E

Relative:     EDR Historical Auto Stations:
Higher          Name:                    AIR COOLED MOTORS
                Year:                    2003
Actual:         Type:                    AUTOMOBILE REPAIR AND SERVICE
594 ft.
                   Name:                 AIR COOLED MOTORS
                   Year:                 1999
                   Address:              6100 S BLACKSTONE AVE

                   Name:                 AIR COOLED MOTORS
                   Year:                 2000
                   Address:              6100 S BLACKSTONE AVE

                   Name:                 AIR COOLED MOTORS
                   Year:                 2001
                   Address:              6100 S BLACKSTONE AVE

                   Name:                 AIR COOLED MOTORS


                                                                                                TC04099563.2r Page 22
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 29 of 100 PageID #:2863

Map ID                                                MAP FINDINGS
Direction
Distance                                                                                     EDR ID Number
Elevation   Site                                                              Database(s)    EPA ID Number




            AIR COOLED MOTORS (Continued)                                                    1009075377
                   Year:               2003
                   Address:            6100 S BLACKSTONE AVE

                   Name:               AIR COOLED MOTORS
                   Year:               2004
                   Address:            6100 S BLACKSTONE AVE

                   Name:               AIR COOLED MOTORS
                   Year:               2005
                   Address:            6100 S BLACKSTONE AVE

                   Name:               AIR COOLED MOTORS
                   Year:               2006
                   Address:            6100 S BLACKSTONE AVE

                   Name:               AIR COOLED MOTORS
                   Year:               2007
                   Address:            6100 S BLACKSTONE AVE

                   Name:               AIR COOLED MOTORS
                   Year:               2008
                   Address:            6100 S BLACKSTONE AVE

                   Name:               AIR COOLED MOTORS
                   Year:               2009
                   Address:            6100 S BLACKSTONE AVE

                   Name:               EXPERIMENTAL STATION
                   Year:               2011
                   Address:            6100 S BLACKSTONE AVE

                   Name:               EXPERIMENTAL STATION
                   Year:               2012
                   Address:            6100 S BLACKSTONE AVE




24          GLADSTONE GARAGE                                         EDR US Hist Auto Stat   1009105781
West        1410 E 62D                                                                         N/A
1/8-1/4     CHICAGO, IL
0.205 mi.
1085 ft.

Relative:     EDR Historical Auto Stations:
Higher          Name:                    GLADSTONE GARAGE
                Year:                    1928
Actual:         Type:                    AUTOMOBILE GARAGES
594 ft.



F25         UNIVERSITY OF CHICAGO                                                 IL LUST    S104530348
NW          1427 EAST 60TH STREET                                                             N/A
1/8-1/4     CHICAGO, IL 60637
0.215 mi.
1133 ft.    Site 3 of 4 in cluster F

Relative:     LUST:
Higher          Incident Num:                 20000100
                IL EPA Id:                    0316415023
Actual:         Product:                      Other Petro
590 ft.


                                                                                    TC04099563.2r Page 23
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 30 of 100 PageID #:2864

Map ID                                                         MAP FINDINGS
Direction
Distance                                                                                                            EDR ID Number
Elevation   Site                                                                                      Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO (Continued)                                                                       S104530348
                   IEMA Date:                         01/18/2000
                   Project Manager:                   Rahman
                   Project Manager Phone:             (217) 782-9848
                   Email:                             Mohammed.Rahman@illinois.gov
                   PRP Name:                          University of Chicago
                   PRP Contact:                       Rebecca Bratt
                   PRP Address:                       5555 South Ellis Avenue
                   PRP City,St,Zip:                   Chicago, IL 60637
                   PRP Phone:                         7737025663
                   Site Classification:               Not reported
                   Section 57.5(g) Letter:            732
                   Date Section 57.5(g) Letter:       Not reported
                   Non LUST Determination Letter:     Not reported
                   20 Report Received:                02/23/2000
                   45 Report Received:                05/11/2000
                   NFA/NFR Letter:                    07/03/2000
                   NFR Date Recorded:                 08/21/2000




F26         UNIVERSITY OF CHICAGO PRESS BUILDING                                                          IL UST    U003715249
NW          1427 E 60TH ST                                                                                IL BOL     N/A
1/8-1/4     CHICAGO, IL 60637
0.215 mi.
1133 ft.    Site 4 of 4 in cluster F

Relative:     UST:
Higher          Facility ID:                              2039540
                Facility Status:                          EXEMPT
Actual:         Facility Type:                            NONE
590 ft.         Owner Id:                                 U0023008
                Owner Name:                               University of Chicago Facilities Services
                Owner Address:                            5555 South Ellis Avenue
                Owner City,St,Zip:                        Chicago, IL 60637

                   Tank Number:                        1
                   Tank Status:                        Exempt from registration
                   Tank Capacity:                      2000
                   Tank Substance:                     Heating Oil
                   Last Used Date:                     12/31/1973
                   OSFM First Notify Date:             Not reported
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported


              BOL:
                Site Id:               170000526287
                Inv Num:               0316415023
                Interest Name:         University of Chicago
                Interest Type:         Not reported
                Media Code:            LAND




                                                                                                           TC04099563.2r Page 24
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 31 of 100 PageID #:2865

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                            EDR ID Number
Elevation   Site                                                                                      Database(s)   EPA ID Number




G27         BLACKSTONE LAUNDRY CO                                                           EDR US Hist Cleaners    1009201796
SW          1459 E 64TH                                                                                               N/A
1/8-1/4     CHICAGO, IL
0.215 mi.
1137 ft.    Site 1 of 3 in cluster G

Relative:     EDR Historical Cleaners:
Higher          Name:                    BLACKSTONE LAUNDRY CO
                Year:                    1928
Actual:         Type:                    LAUNDRIES STEAM
594 ft.



H28         ANDREW CARNEGE ELEMENTARY SCHOOL                                                               IL UST   U003853310
West        1414 E 61ST PLACE                                                                                        N/A
1/8-1/4     CHICAGO, IL 60637
0.225 mi.
1189 ft.    Site 1 of 4 in cluster H

Relative:     UST:
Higher          Facility ID:                          2040927
                Facility Status:                      EXEMPT
Actual:         Facility Type:                        NONE
594 ft.         Owner Id:                             U0024921
                Owner Name:                           Chicago Public Bldg Comm
                Owner Address:                        50 W Washington Richard J. Daley Center, Suite 200
                Owner City,St,Zip:                    Chicago, IL 99999

                   Tank Number:                        1
                   Tank Status:                        Exempt from registration
                   Tank Capacity:                      3000
                   Tank Substance:                     Heating Oil
                   Last Used Date:                     12/31/1973
                   OSFM First Notify Date:             8/28/2001
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported




H29         CARNEGIE ANDREW                                                                         RCRA-CESQG      1000907403
West        1414 E 61ST PL                                                                                          IL0000637314
1/8-1/4     CHICAGO, IL 60637
0.225 mi.
1189 ft.    Site 2 of 4 in cluster H

Relative:     RCRA-CESQG:
Higher          Date form received by agency: 07/30/2009
                Facility name:                CARNEGIE ANDREW
Actual:         Facility address:             1414 E 61ST PL
594 ft.                                       CHICAGO, IL 60637
                EPA ID:                       IL0000637314
                Mailing address:              8501 W 191ST ST BOX 10
                                              MOKENA, IL 60448
                Contact:                      THOMAS CONNELLY
                Contact address:              8501 W 191ST ST BOX 10
                                              MOKENA, IL 60448



                                                                                                           TC04099563.2r Page 25
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 32 of 100 PageID #:2866

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                                EDR ID Number
Elevation   Site                                                                                       Database(s)      EPA ID Number




            CARNEGIE ANDREW (Continued)                                                                                 1000907403
                   Contact country:            US
                   Contact telephone:          (773) 923-0202
                   Contact email:              Not reported
                   EPA Region:                 05
                   Classification:             Conditionally Exempt Small Quantity Generator
                   Description:                Handler: generates 100 kg or less of hazardous waste per calendar
                                               month, and accumulates 1000 kg or less of hazardous waste at any time;
                                               or generates 1 kg or less of acutely hazardous waste per calendar
                                               month, and accumulates at any time: 1 kg or less of acutely hazardous
                                               waste; or 100 kg or less of any residue or contaminated soil, waste or
                                               other debris resulting from the cleanup of a spill, into or on any
                                               land or water, of acutely hazardous waste; or generates 100 kg or less
                                               of any residue or contaminated soil, waste or other debris resulting
                                               from the cleanup of a spill, into or on any land or water, of acutely
                                               hazardous waste during any calendar month, and accumulates at any
                                               time: 1 kg or less of acutely hazardous waste; or 100 kg or less of
                                               any residue or contaminated soil, waste or other debris resulting from
                                               the cleanup of a spill, into or on any land or water, of acutely
                                               hazardous waste


              Owner/Operator Summary:
                Owner/operator name:           CHICAGO PUBLIC SCHOOLS
                Owner/operator address:        1819 W PERSHING RD 6WW
                                               CHICAGO, IL 60609
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (773) 535-7038
                   Legal status:               Municipal
                   Owner/Operator Type:        Owner
                   Owner/Op start date:        Not reported
                   Owner/Op end date:          Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   No
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No
                On-site burner exemption:             No
                Furnace exemption:                    No
                Used oil fuel burner:                 No
                Used oil processor:                   No
                User oil refiner:                     No
                Used oil fuel marketer to burner:     No
                Used oil Specification marketer:      No
                Used oil transfer facility:           No
                Used oil transporter:                 No


              Historical Generators:
                 Date form received by agency: 10/15/1998
                 Site name:                    CARNEGIE ANDREW
                 Classification:               Conditionally Exempt Small Quantity Generator


              Hazardous Waste Summary:
                Waste code:                    D000




                                                                                                              TC04099563.2r Page 26
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 33 of 100 PageID #:2867

Map ID                                                 MAP FINDINGS
Direction
Distance                                                                                          EDR ID Number
Elevation   Site                                                                    Database(s)   EPA ID Number




            CARNEGIE ANDREW (Continued)                                                           1000907403
                   Waste name:           Not Defined

                   Waste code:           D003
                   Waste name:           A MATERIAL IS CONSIDERED TO BE A REACTIVE HAZARDOUS WASTE IF IT IS
                                         NORMALLY UNSTABLE, REACTS VIOLENTLY WITH WATER, GENERATES TOXIC GASES
                                         WHEN EXPOSED TO WATER OR CORROSIVE MATERIALS, OR IF IT IS CAPABLE OF
                                         DETONATION OR EXPLOSION WHEN EXPOSED TO HEAT OR A FLAME. ONE EXAMPLE
                                         OF SUCH WASTE WOULD BY WASTE GUNPOWDER.

                   Waste code:           D006
                   Waste name:           CADMIUM

                   Waste code:           D008
                   Waste name:           LEAD

                   Waste code:           D009
                   Waste name:           MERCURY

                   Waste code:           D000
                   Waste name:           Not Defined

                   Waste code:           D003
                   Waste name:           A MATERIAL IS CONSIDERED TO BE A REACTIVE HAZARDOUS WASTE IF IT IS
                                         NORMALLY UNSTABLE, REACTS VIOLENTLY WITH WATER, GENERATES TOXIC GASES
                                         WHEN EXPOSED TO WATER OR CORROSIVE MATERIALS, OR IF IT IS CAPABLE OF
                                         DETONATION OR EXPLOSION WHEN EXPOSED TO HEAT OR A FLAME. ONE EXAMPLE
                                         OF SUCH WASTE WOULD BY WASTE GUNPOWDER.

                   Waste code:           D006
                   Waste name:           CADMIUM

                   Waste code:           D008
                   Waste name:           LEAD

                   Waste code:           D009
                   Waste name:           MERCURY

                   Waste code:           X002
                   Waste name:           POLYCHLORINATED BIPHENOLS (PCBs)

                   Violation Status:     No violations found


I30         HYDE PARK COMMUNITY HOSPITAL                                            RCRA-SQG      1000197928
North       5800 S STONY ISLAND                                                                   ILD068608124
1/8-1/4     CHICAGO, IL 60637
0.229 mi.
1210 ft.    Site 1 of 2 in cluster I

Relative:     RCRA-SQG:
Higher          Date form received by agency: 06/02/1989
                Facility name:                HYDE PARK COMMUNITY HOSPITAL
Actual:         Facility address:             5800 S STONY ISLAND
590 ft.                                       CHICAGO, IL 60637
                EPA ID:                       ILD068608124
                Contact:                      MOIRA KUHL
                Contact address:              5800 S STONY ISLAND
                                              CHICAGO, IL 60637
                Contact country:              US
                Contact telephone:            (312) 643-9200


                                                                                         TC04099563.2r Page 27
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 34 of 100 PageID #:2868

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                               EDR ID Number
Elevation   Site                                                                                      Database(s)      EPA ID Number




            HYDE PARK COMMUNITY HOSPITAL (Continued)                                                                   1000197928
                   Contact email:              Not reported
                   EPA Region:                 05
                   Classification:             Small Small Quantity Generator
                   Description:                Handler: generates more than 100 and less than 1000 kg of hazardous
                                               waste during any calendar month and accumulates less than 6000 kg of
                                               hazardous waste at any time; or generates 100 kg or less of hazardous
                                               waste during any calendar month, and accumulates more than 1000 kg of
                                               hazardous waste at any time


              Owner/Operator Summary:
                Owner/operator name:           NAME NOT REPORTED
                Owner/operator address:        ADDRESS NOT REPORTED
                                               CITY NOT REPORTED, AK 99998
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (312) 555-1212
                   Legal status:               Private
                   Owner/Operator Type:        Operator
                   Owner/Op start date:        Not reported
                   Owner/Op end date:          Not reported

                   Owner/operator name:        HYDE PARK COMMUNITY HOSPITAL
                   Owner/operator address:     ADDRESS NOT REPORTED
                                               CITY NOT REPORTED, AK 99998
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (312) 555-1212
                   Legal status:               Private
                   Owner/Operator Type:        Owner
                   Owner/Op start date:        Not reported
                   Owner/Op end date:          Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   No
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No
                On-site burner exemption:             No
                Furnace exemption:                    No
                Used oil fuel burner:                 No
                Used oil processor:                   No
                User oil refiner:                     No
                Used oil fuel marketer to burner:     No
                Used oil Specification marketer:      No
                Used oil transfer facility:           No
                Used oil transporter:                 No


              Hazardous Waste Summary:
                Waste code:                    D001
                Waste name:                    IGNITABLE HAZARDOUS WASTES ARE THOSE WASTES WHICH HAVE A FLASHPOINT OF
                                               LESS THAN 140 DEGREES FAHRENHEIT AS DETERMINED BY A PENSKY-MARTENS
                                               CLOSED CUP FLASH POINT TESTER. ANOTHER METHOD OF DETERMINING THE
                                               FLASH POINT OF A WASTE IS TO REVIEW THE MATERIAL SAFETY DATA SHEET,
                                               WHICH CAN BE OBTAINED FROM THE MANUFACTURER OR DISTRIBUTOR OF THE
                                               MATERIAL. LACQUER THINNER IS AN EXAMPLE OF A COMMONLY USED SOLVENT
                                               WHICH WOULD BE CONSIDERED AS IGNITABLE HAZARDOUS WASTE.




                                                                                                            TC04099563.2r Page 28
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 35 of 100 PageID #:2869

Map ID                                                      MAP FINDINGS
Direction
Distance                                                                                                 EDR ID Number
Elevation   Site                                                                           Database(s)   EPA ID Number




            HYDE PARK COMMUNITY HOSPITAL (Continued)                                                     1000197928
                   Waste code:                 D002
                   Waste name:                 A WASTE WHICH HAS A PH OF LESS THAN 2 OR GREATER THAN 12.5 IS
                                               CONSIDERED TO BE A CORROSIVE HAZARDOUS WASTE. SODIUM HYDROXIDE, A
                                               CAUSTIC SOLUTION WITH A HIGH PH, IS OFTEN USED BY INDUSTRIES TO CLEAN
                                               OR DEGREASE PARTS. HYDROCHLORIC ACID, A SOLUTION WITH A LOW PH, IS
                                               USED BY MANY INDUSTRIES TO CLEAN METAL PARTS PRIOR TO PAINTING. WHEN
                                               THESE CAUSTIC OR ACID SOLUTIONS BECOME CONTAMINATED AND MUST BE
                                               DISPOSED, THE WASTE WOULD BE A CORROSIVE HAZARDOUS WASTE.

                   Waste code:                 F003
                   Waste name:                 THE FOLLOWING SPENT NON-HALOGENATED SOLVENTS: XYLENE, ACETONE, ETHYL
                                               ACETATE, ETHYL BENZENE, ETHYL ETHER, METHYL ISOBUTYL KETONE, N-BUTYL
                                               ALCOHOL, CYCLOHEXANONE, AND METHANOL; ALL SPENT SOLVENT
                                               MIXTURES/BLENDS CONTAINING, BEFORE USE, ONLY THE ABOVE SPENT
                                               NON-HALOGENATED SOLVENTS; AND ALL SPENT SOLVENT MIXTURES/BLENDS
                                               CONTAINING, BEFORE USE, ONE OR MORE OF THE ABOVE NON-HALOGENATED
                                               SOLVENTS, AND, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF ONE OR
                                               MORE OF THOSE SOLVENTS LISTED IN F001, F002, F004, AND F005, AND STILL
                                               BOTTOMS FROM THE RECOVERY OF THESE SPENT SOLVENTS AND SPENT SOLVENT
                                               MIXTURES.

                   Waste code:                 U122
                   Waste name:                 FORMALDEHYDE

                   Violation Status:           No violations found


I31         ABANDONED HOSPITAL                                                                  IL UST   U004162252
North       5800 S. STONY ISLAND AVE.                                                                     N/A
1/8-1/4     CHICAGO, IL 60637
0.229 mi.
1210 ft.    Site 2 of 2 in cluster I

Relative:     UST:
Higher          Facility ID:                          2044839
                Facility Status:                      EXEMPT
Actual:         Facility Type:                        PRIVATE INSTITUTION
590 ft.         Owner Id:                             U0035655
                Owner Name:                           University of Chicago
                Owner Address:                        6054 S. Drexel Ave., Room 219
                Owner City,St,Zip:                    Chicago, IL 60637

                   Tank Number:                        1
                   Tank Status:                        Exempt from registration
                   Tank Capacity:                      1000
                   Tank Substance:                     Fuel Oil
                   Last Used Date:                     12/31/1973
                   OSFM First Notify Date:             Not reported
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported


                   Tank Number:                       2
                   Tank Status:                       Exempt from registration


                                                                                                TC04099563.2r Page 29
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 36 of 100 PageID #:2870

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                           Database(s)    EPA ID Number




            ABANDONED HOSPITAL (Continued)                                                                U004162252
                   Tank Capacity:                      25000
                   Tank Substance:                     Fuel Oil
                   Last Used Date:                     12/31/1973
                   OSFM First Notify Date:             Not reported
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported


                   Tank Number:                        3
                   Tank Status:                        Exempt from registration
                   Tank Capacity:                      25000
                   Tank Substance:                     Fuel Oil
                   Last Used Date:                     12/31/1973
                   OSFM First Notify Date:             Not reported
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    Not reported
                   Green Tag Issue Date:               Not reported
                   Green Tag Expire Date:              Not reported
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            Not reported




J32         DORCHOSTER FILLING STA                                                EDR US Hist Auto Stat   1009095698
WSW         6245 DORCHESTER AV                                                                              N/A
1/8-1/4     CHICAGO, IL
0.241 mi.
1272 ft.    Site 1 of 3 in cluster J

Relative:     EDR Historical Auto Stations:
Higher          Name:                    DORCHOSTER FILLING STA
                Year:                    1928
Actual:         Type:                    GASOLINE AND OIL SERVICE STATIONS
594 ft.



J33         PLOSZYNSKI ADOLPH                                                     EDR US Hist Cleaners    1009213557
WSW         6247 DORCHESTER AV                                                                              N/A
1/8-1/4     CHICAGO, IL
0.241 mi.
1272 ft.    Site 2 of 3 in cluster J

Relative:     EDR Historical Cleaners:
Higher          Name:                    PLOSZYNSKI ADOLPH
                Year:                    1923
Actual:         Type:                    CLEANERS AND DYERS CONTD
594 ft.
                   Name:                 PLOZYNSKI ADALBERT
                   Year:                 1928
                   Type:                 CLOTHES PRESSEERS AND CLEANERS




                                                                                                 TC04099563.2r Page 30
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 37 of 100 PageID #:2871

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                          EDR ID Number
Elevation   Site                                                                    Database(s)   EPA ID Number




34          ANDREW CARNEGIE SCHOOL                                            IL ENG CONTROLS     S104562062
WNW         6101 SOUTH DORCHESTER AVENUE                                                IL SRP     N/A
1/8-1/4     CHICAGO, IL 60637
0.241 mi.
1272 ft.

Relative:     ENGINEERING CONTROLS:
Higher          Illinois Epa Id:               0316425044
                NFR Letter:                    09/26/2000
Actual:         Date NFR Recorded:             11/06/2000
593 ft.         Type Of Site:                  Residential
                Comprehensive / Focused:       Comprehensive
                Remediation Applicant Title:   Mr.
                Remediation Applicant Name:    Timothy Martin
                RA Company:                    Chicago Public Schools
                RA Address:                    125 South Clark Street
                RA Secondary Address:          17th Floor
                RA City,St,Zip:                Chicago, IL 60603-
                Institutional Controls:        Not reported
                Engineered Barriers:           Gravel barrier
                Worker Caution:                False
                Acres:                         0.340


              SRP:
                IL EPA Id:               0316425044
                US EPA Id:               IL0000637314
                Longitude:               -87.59117
                Latitude:                41.78407
                Contact Name:            Timothy Martin
                Contact Address:         125 South Clark Street
                Contact Address2:        17th Floor
                Contact City,St,Zip:     Chicago, IL 60603-
                Contact Phone:           (773) 553-2900
                Date Enrolled:           06/02/2000
                Point Of Contact:        Erin E. Curley
                Consultant Company:      Midwest Engineering Services, Inc.
                Consultant Address:      4243 West 166th Street
                Consultant Address2:     Not reported
                Consultant City,St,Zip:  Oak Forest, IL 60452-
                Consultant Phone:        (708) 535-9981
                Proj Mgr Assigned:       Sanders
                Sec. 4 Letter Date:      Not reported
                NFR Recorded:            11/06/2000
                Active:                  False
                Total Acres:             0.340
                No Further Remediation Letter Dt: 09/26/2000
                Remediation Applicant Co:            Chicago Public Schools
                Remediation Applicant Title:         Mr.
                Remediation Applicant Name:          Mr. Timothy Martin
                Remediation Applicant Company:       Chicago Public Schools
                Remediation Applicant Address:       125 South Clark Street
                Remediation Applicant Address 2: 17th Floor
                Remediation Applicant City,St,Zip: Chicago, IL 60603-
                Illinois EPA:                        0316425044
                Site Name:                           Andrew Carnegie School
                NFR Letter:                          2000-09-26
                NFR Letter Date Recorded:            2000-11-06
                Site Type:                           Residential
                Comprehensive/Focused:               Comprehensive




                                                                                         TC04099563.2r Page 31
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 38 of 100 PageID #:2872

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                         EDR ID Number
Elevation   Site                                                                   Database(s)   EPA ID Number




            ANDREW CARNEGIE SCHOOL (Continued)                                                   S104562062
                   Institutional Controls:           Not reported
                   Barrier:                          Gravel barrier
                   Worker Caution:                   False
                   Acres:                            0.340




H35         RHODES ARTHUR S                                               EDR US Hist Cleaners   1009210821
West        6119 DORCHESTER AV                                                                     N/A
1/8-1/4     CHICAGO, IL
0.241 mi.
1274 ft.    Site 3 of 4 in cluster H

Relative:     EDR Historical Cleaners:
Higher          Name:                        RHODES ARTHUR S
                Year:                        1923
Actual:         Type:                        LAUNDRIES
593 ft.
                   Name:                     MARVEL HAND LAUNDRY
                   Year:                     1923
                   Type:                     LAUNDRIES




J36         YOUNG JULIA M MRS                                             EDR US Hist Cleaners   1009212251
WSW         6248 DORCHESTER AV                                                                     N/A
1/8-1/4     CHICAGO, IL
0.241 mi.
1274 ft.    Site 3 of 3 in cluster J

Relative:     EDR Historical Cleaners:
Higher          Name:                        YOUNG JULIA M MRS
                Year:                        1923
Actual:         Type:                        CLEANERS AND DYERS CONTD
594 ft.



H37         MEYERS LOUIS E                                                EDR US Hist Cleaners   1009211854
West        6121 DORCHESTER AV                                                                     N/A
1/8-1/4     CHICAGO, IL
0.241 mi.
1274 ft.    Site 4 of 4 in cluster H

Relative:     EDR Historical Cleaners:
Higher          Name:                        MEYERS LOUIS E
                Year:                        1923
Actual:         Type:                        CLEANERS AND DYERS CONTD
593 ft.



G38         CENTRAL CLEANERS                                              EDR US Hist Cleaners   1009203776
SW          1434 E 64TH                                                                            N/A
1/8-1/4     CHICAGO, IL
0.242 mi.
1279 ft.    Site 2 of 3 in cluster G

Relative:     EDR Historical Cleaners:
Higher          Name:                        CENTRAL CLEANERS
                Year:                        1923
Actual:         Type:                        CLEANERS AND DYERS
595 ft.


                                                                                        TC04099563.2r Page 32
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 39 of 100 PageID #:2873

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                      EDR ID Number
Elevation   Site                                                                                Database(s)   EPA ID Number




            CENTRAL CLEANERS (Continued)                                                                      1009203776
                   Name:                     ARONSON CLEANING DVEING WKS
                   Year:                     1928
                   Type:                     CLEANERS GARMENTS CURTAINS AND DRAPERIES




K39         MIDWAY LINEN SUPPLY LAUNDRY                                                EDR US Hist Cleaners   1009201355
WNW         6022 DORCHESTER AV                                                                                 N/A
1/8-1/4     CHICAGO, IL
0.243 mi.
1283 ft.    Site 1 of 4 in cluster K

Relative:     EDR Historical Cleaners:
Higher          Name:                        MIDWAY LINEN SUPPLY LAUNDRY
                Year:                        1928
Actual:         Type:                        LAUNDRIES STEAM
591 ft.



K40         DORCHESTER CO                                                                           IL UST    U000865324
WNW         6050 SOUTH DORCHESTER                                                                              N/A
1/8-1/4     CHICAGO, IL 60637
0.243 mi.
1285 ft.    Site 2 of 4 in cluster K

Relative:     UST:
Higher          Facility ID:                          2007782
                Facility Status:                      ACTIVE
Actual:         Facility Type:                        UTILITY
592 ft.         Owner Id:                             U0034340
                Owner Name:                           AT&T Corp. d/b/a Illinois Bell
                Owner Address:                        308 S. Akard, Room 1700
                Owner City,St,Zip:                    Dallas, TX 75202

                   Tank Number:                        1
                   Tank Status:                        Removed
                   Tank Capacity:                      8550
                   Tank Substance:                     Diesel Fuel
                   Last Used Date:                     Not reported
                   OSFM First Notify Date:             4/8/1986
                   Red Tag Issue Date:                 Not reported
                   Install Date:                       Not reported
                   Green Tag Decal:                    L003744
                   Green Tag Issue Date:               3/25/2010
                   Green Tag Expire Date:              12/31/2012
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            $0.00


                   Tank Number:                       2
                   Tank Status:                       Currently in use
                   Tank Capacity:                     2500
                   Tank Substance:                    Diesel Fuel
                   Last Used Date:                    Not reported
                   OSFM First Notify Date:            3/4/1991
                   Red Tag Issue Date:                Not reported
                   Install Date:                      1/11/1991
                   Green Tag Decal:                   L003744
                   Green Tag Issue Date:              3/25/2010



                                                                                                     TC04099563.2r Page 33
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 40 of 100 PageID #:2874

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                           EDR ID Number
Elevation   Site                                                                                     Database(s)   EPA ID Number




            DORCHESTER CO (Continued)                                                                              U000865324
                   Green Tag Expire Date:              12/31/2012
                   Self Service Permit Inspection Date:Not reported
                   Self Service Permit Expire Date:    Not reported
                   Fee Due:                            $0.00




K41         ILL BELL - Q13950                                                               RCRA NonGen / NLR      1000104635
WNW         6050 S DORCHESTER AVE                                                                      FINDS       ILD981089352
1/8-1/4     CHICAGO, IL 60637                                                                        US AIRS
0.243 mi.
1285 ft.    Site 3 of 4 in cluster K

Relative:     RCRA NonGen / NLR:
Higher          Date form received by agency: 02/04/2002
                Facility name:                ILL BELL - Q13950
Actual:         Facility address:             6050 S DORCHESTER AVE
592 ft.                                       CHICAGO, IL 60637
                EPA ID:                       ILD981089352
                Mailing address:              36 SOUTH FAIRVIEW AVE
                                              PARK RIDGE, IL 60068
                Contact:                      MANDY BOHLMANN
                Contact address:              36 SOUTH FAIRVIEW AVE
                                              PARK RIDGE, IL 60068
                Contact country:              US
                Contact telephone:            (877) 648-2073
                Contact email:                Not reported
                EPA Region:                   05
                Classification:               Non-Generator
                Description:                  Handler: Non-Generators do not presently generate hazardous waste


              Owner/Operator Summary:
                Owner/operator name:           ILLINOIS BELL TELEPHONE CO
                Owner/operator address:        225 WEST RANDOLPH
                                               CHICAGO, IL 60606
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (877) 648-2073
                   Legal status:               Private
                   Owner/Operator Type:        Owner
                   Owner/Op start date:        01/01/0001
                   Owner/Op end date:          Not reported

                   Owner/operator name:        NAME NOT REPORTED
                   Owner/operator address:     ADDRESS NOT REPORTED
                                               CITY NOT REPORTED, AK 99998
                   Owner/operator country:     Not reported
                   Owner/operator telephone:   (312) 555-1212
                   Legal status:               Private
                   Owner/Operator Type:        Operator
                   Owner/Op start date:        Not reported
                   Owner/Op end date:          Not reported


              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   No
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No


                                                                                                           TC04099563.2r Page 34
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 41 of 100 PageID #:2875

Map ID                                                         MAP FINDINGS
Direction
Distance                                                                                                                 EDR ID Number
Elevation   Site                                                                                           Database(s)   EPA ID Number




            ILL BELL - Q13950 (Continued)                                                                                1000104635
                   On-site burner exemption:             No
                   Furnace exemption:                    No
                   Used oil fuel burner:                 No
                   Used oil processor:                   No
                   User oil refiner:                     No
                   Used oil fuel marketer to burner:     No
                   Used oil Specification marketer:      No
                   Used oil transfer facility:           No
                   Used oil transporter:                 No


              Historical Generators:
                 Date form received by agency: 06/17/1985
                 Site name:                    ILL BELL - Q13950
                 Classification:               Not a generator, verified


              Hazardous Waste Summary:
                Waste code:                       D001
                Waste name:                       IGNITABLE HAZARDOUS WASTES ARE THOSE WASTES WHICH HAVE A FLASHPOINT OF
                                                  LESS THAN 140 DEGREES FAHRENHEIT AS DETERMINED BY A PENSKY-MARTENS
                                                  CLOSED CUP FLASH POINT TESTER. ANOTHER METHOD OF DETERMINING THE
                                                  FLASH POINT OF A WASTE IS TO REVIEW THE MATERIAL SAFETY DATA SHEET,
                                                  WHICH CAN BE OBTAINED FROM THE MANUFACTURER OR DISTRIBUTOR OF THE
                                                  MATERIAL. LACQUER THINNER IS AN EXAMPLE OF A COMMONLY USED SOLVENT
                                                  WHICH WOULD BE CONSIDERED AS IGNITABLE HAZARDOUS WASTE.

                   Waste code:                    D002
                   Waste name:                    A WASTE WHICH HAS A PH OF LESS THAN 2 OR GREATER THAN 12.5 IS
                                                  CONSIDERED TO BE A CORROSIVE HAZARDOUS WASTE. SODIUM HYDROXIDE, A
                                                  CAUSTIC SOLUTION WITH A HIGH PH, IS OFTEN USED BY INDUSTRIES TO CLEAN
                                                  OR DEGREASE PARTS. HYDROCHLORIC ACID, A SOLUTION WITH A LOW PH, IS
                                                  USED BY MANY INDUSTRIES TO CLEAN METAL PARTS PRIOR TO PAINTING. WHEN
                                                  THESE CAUSTIC OR ACID SOLUTIONS BECOME CONTAMINATED AND MUST BE
                                                  DISPOSED, THE WASTE WOULD BE A CORROSIVE HAZARDOUS WASTE.

                   Waste code:                    D008
                   Waste name:                    LEAD

                   Violation Status:              No violations found
              FINDS:

                   Registry ID:                   110005854432

                   Environmental Interest/Information System
                                     AFS (Aerometric Information Retrieval System (AIRS) Facility
                                     Subsystem) replaces the former Compliance Data System (CDS), the
                                     National Emission Data System (NEDS), and the Storage and Retrieval of
                                     Aerometric Data (SAROAD). AIRS is the national repository for
                                     information concerning airborne pollution in the United States. AFS is
                                     used to track emissions and compliance data from industrial plants.
                                     AFS data are utilized by states to prepare State Implementation Plans
                                     to comply with regulatory programs and by EPA as an input for the
                                     estimation of total national emissions. AFS is undergoing a major
                                     redesign to support facility operating permits required under Title V
                                     of the Clean Air Act.

                                       ACES (Illinois - Agency Compliance And Enforcement System) is the




                                                                                                                TC04099563.2r Page 35
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 42 of 100 PageID #:2876

Map ID                                                           MAP FINDINGS
Direction
Distance                                                                                                                     EDR ID Number
Elevation   Site                                                                                               Database(s)   EPA ID Number




            ILL BELL - Q13950 (Continued)                                                                                    1000104635
                                      Illinois EPA Project to facilitate the permitting operations

                                      The NEI (National Emissions Inventory) database contains information
                                      on stationary and mobile sources that emit criteria air pollutants and
                                      their precursors, as well as hazardous air pollutants (HAPs).

                                      RCRAInfo is a national information system that supports the Resource
                                      Conservation and Recovery Act (RCRA) program through the tracking of
                                      events and activities related to facilities that generate, transport,
                                      and treat, store, or dispose of hazardous waste. RCRAInfo allows RCRA
                                      program staff to track the notification, permit, compliance, and
                                      corrective action activities required under RCRA.

                                      CRITERIA AND HAZARDOUS AIR POLLUTANT INVENTORY



              AIRS (AFS):


              Airs Minor Details:
                 EPA plant ID:                     110005854432
                 Plant name:                       ILLINOIS BELL
                 Plant address:                    6050 S DORCHESTER
                                                   CHICAGO, IL 60637
                   County:                         COOK
                   Region code:                    05
                   Dunn & Bradst #:                Not reported
                   Air quality cntrl region:       067
                   Sic code:                       4813
                   Sic code desc:                  TELEPHONE COMMUNICATIONS, EXCEPT RADIO (1987)
                   North Am. industrial classf:    517911
                   NAIC code description:          Not reported
                   Default compliance status:      IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Default classification:         POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Govt facility:                  ALL OTHER FACILITIES NOT OWNED OR OPERATED BY A FEDERAL, STATE, OR
                                                   LOCAL GOVERNMENT
                   Current HPV:                    Not reported



              Compliance and Enforcement Major Issues:
                Air program:               Not reported
                National action type:      Not reported
                Date achieved:             Not reported
                Penalty amount:            Not reported


              Historical Compliance Minor Sources:
                 State compliance status:     IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                 Hist compliance date:        1303
                 Air prog code hist file:     SIP SOURCE

                   State compliance status:        UNKNOWN COMPLIANCE STATUS
                   Hist compliance date:           1004
                   Air prog code hist file:        SIP SOURCE

                   State compliance status:        IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:           1101




                                                                                                                    TC04099563.2r Page 36
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 43 of 100 PageID #:2877

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                       EDR ID Number
Elevation   Site                                                                                Database(s)    EPA ID Number




            ILL BELL - Q13950 (Continued)                                                                      1000104635
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1102
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1103
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1104
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1201
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1202
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1203
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1204
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1301
                   Air prog code hist file:       SIP SOURCE

                   State compliance status:       IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Hist compliance date:          1302
                   Air prog code hist file:       SIP SOURCE


              Compliance & Violation Data by Minor Sources:
                Air program code:                 SIP SOURCE
                Plant air program pollutant:      Not reported
                Default pollutant classification: Not reported
                Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                Def. attainment/non attnmnt: Not reported
                Repeat violator date:             Not reported
                Turnover compliance:              Not reported

                   Air program code:                 SIP SOURCE
                   Plant air program pollutant:      PARTICULATE MATTER
                   Default pollutant classification: POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Def. attainment/non attnmnt: ATTAINMENT AREA FOR GIVEN POLLUTANT
                   Repeat violator date:             Not reported
                   Turnover compliance:              Not reported

                   Air program code:              SIP SOURCE
                   Plant air program pollutant:   SULFUR DIOXIDE




                                                                                                        TC04099563.2r Page 37
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 44 of 100 PageID #:2878

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                       EDR ID Number
Elevation   Site                                                                                Database(s)    EPA ID Number




            ILL BELL - Q13950 (Continued)                                                                      1000104635
                   Default pollutant classification: POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Def. attainment/non attnmnt: ATTAINMENT AREA FOR GIVEN POLLUTANT
                   Repeat violator date:             Not reported
                   Turnover compliance:              Not reported

                   Air program code:                 SIP SOURCE
                   Plant air program pollutant:      VOLATILE ORGANIC COMPOUNDS
                   Default pollutant classification: POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Def. attainment/non attnmnt: Not reported
                   Repeat violator date:             Not reported
                   Turnover compliance:              Not reported

                   Air program code:                 SIP SOURCE
                   Plant air program pollutant:      CARBON MONOXIDE
                   Default pollutant classification: POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Def. attainment/non attnmnt: ATTAINMENT AREA FOR GIVEN POLLUTANT
                   Repeat violator date:             Not reported
                   Turnover compliance:              Not reported

                   Air program code:                 SIP SOURCE
                   Plant air program pollutant:      Not reported
                   Default pollutant classification: POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Def. attainment/non attnmnt: ATTAINMENT AREA FOR GIVEN POLLUTANT
                   Repeat violator date:             Not reported
                   Turnover compliance:              Not reported

                   Air program code:                 SIP SOURCE
                   Plant air program pollutant:      PARTICULATE MATTER
                   Default pollutant classification: POTENTIAL UNCONTROLLED EMISSIONS < 100 TONS/YEAR
                   Def. poll. compliance status: IN COMPLIANCE WITH PROCEDURAL REQUIREMENTS
                   Def. attainment/non attnmnt: ALL OTHER NON-ATTAINMENT FOR PRIMARY AND SECONDARY STANDARDS
                   Repeat violator date:             Not reported
                   Turnover compliance:              Not reported




K42         MIDWAY LAUNDRY CO                                                         EDR US Hist Cleaners     1009214770
WNW         6018 DORCHESTER AV                                                                                   N/A
1/8-1/4     CHICAGO, IL
0.243 mi.
1285 ft.    Site 4 of 4 in cluster K

Relative:     EDR Historical Cleaners:
Higher          Name:                    MIDWAY LAUNDRY CO
                Year:                    1923
Actual:         Type:                    LAUNDRIES
590 ft.




                                                                                                        TC04099563.2r Page 38
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 45 of 100 PageID #:2879

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                              EDR ID Number
Elevation   Site                                                                        Database(s)   EPA ID Number




G43         MOYS HAND LAUNDRY                                                  EDR US Hist Cleaners   1009199499
SW          1432 E 64TH                                                                                 N/A
1/8-1/4     CHICAGO, IL
0.245 mi.
1293 ft.    Site 3 of 3 in cluster G

Relative:     EDR Historical Cleaners:
Higher          Name:                    MOYS HAND LAUNDRY
                Year:                    1928
Actual:         Type:                    LAUNDRIES CHINESE
595 ft.



44          SOUTHERN SHORE YACHT CLUB                                                      IL LUST    S104527260
SE          6401 SOUTH RICHARDS DR.                                                                    N/A
1/4-1/2     CHICAGO, IL 60649
0.254 mi.
1339 ft.

Relative:     LUST:
Higher          Incident Num:                    900322
                IL EPA Id:                       0316435027
Actual:         Product:                         Unleaded Gas
598 ft.         IEMA Date:                       02/05/1990
                Project Manager:                 Kasa
                Project Manager Phone:           (217) 557-7048
                Email:                           Steve.Kasa@illinois.gov
                PRP Name:                        Southern Shore Yacht Club
                PRP Contact:                     Ted Peck
                PRP Address:                     6401 South Richards Dr.
                PRP City,St,Zip:                 Chicago, IL 60649
                PRP Phone:                       Not reported
                Site Classification:             Not reported
                Section 57.5(g) Letter:          731
                Date Section 57.5(g) Letter:     Not reported
                Non LUST Determination Letter:   Not reported
                20 Report Received:              Not reported
                45 Report Received:              Not reported
                NFA/NFR Letter:                  Not reported
                NFR Date Recorded:               Not reported




45          1320 EAST 63RD STREET                                                           IL SRP    S104562061
WSW         1320-1328 EAST 63RD STREET                                                                 N/A
1/4-1/2     CHICAGO, IL 60637
0.372 mi.
1962 ft.

Relative:     SRP:
Higher          IL EPA Id:               0316415025
                US EPA Id:               Not reported
Actual:         Longitude:               -87.59390
592 ft.         Latitude:                41.78088
                Contact Name:            Kimberly Worthington
                Contact Address:         30 North LaSalle Street
                Contact Address2:        25th Floor
                Contact City,St,Zip:     Chicago, IL 60602-
                Contact Phone:           (312) 744-4034
                Date Enrolled:           07/31/2000
                Point Of Contact:        Anthony Negri, P.E.
                Consultant Company:      Carnow, Conibear & Associates, Ltd.



                                                                                             TC04099563.2r Page 39
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 46 of 100 PageID #:2880

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                         EDR ID Number
Elevation   Site                                                                                   Database(s)   EPA ID Number




            1320 EAST 63RD STREET (Continued)                                                                    S104562061
                   Consultant Address:      600 West Van Buren Street
                   Consultant Address2:     Suite 500
                   Consultant City,St,Zip:  Chicago, IL 60607-
                   Consultant Phone:        (312) 762-2908
                   Proj Mgr Assigned:       Smith
                   Sec. 4 Letter Date:      Not reported
                   NFR Recorded:            04/14/2003
                   Active:                  False
                   Total Acres:             1.139
                   No Further Remediation Letter Dt: 03/26/2003
                   Remediation Applicant Co:           City of Chicago Department of Environment
                   Remediation Applicant Title:        Ms.
                   Remediation Applicant Name:         Ms. Kimberly Worthington
                   Remediation Applicant Company:      City of Chicago Department of Environment
                   Remediation Applicant Address:      30 North LaSalle Street
                   Remediation Applicant Address 2: 25th Floor
                   Remediation Applicant City,St,Zip: Chicago, IL 60602-
                   Illinois EPA:                       0316415025
                   Site Name:                          1320 East 63rd Street
                   NFR Letter:                         2003-03-26
                   NFR Letter Date Recorded:           2003-04-14
                   Site Type:                          Residential
                   Comprehensive/Focused:              Comprehensive
                   Institutional Controls:             Not reported
                   Barrier:                            Not reported
                   Worker Caution:                     False
                   Acres:                              1.139




46          FAST TRACK VENTURES                                                                       IL LUST    S109550360
South       6600 SOUTH STONY ISLAND AVENUE                                                                        N/A
1/4-1/2     CHICAGO, IL 60637
0.404 mi.
2135 ft.

Relative:     LUST:
Higher          Incident Num:                      20090286
                IL EPA Id:                         0316425019
Actual:         Product:                           Gasoline
590 ft.         IEMA Date:                         03/23/2009
                Project Manager:                   Jones
                Project Manager Phone:             (217) 524-1253
                Email:                             Steve.Jones@illinois.gov
                PRP Name:                          Not reported
                PRP Contact:                       Not reported
                PRP Address:                       Not reported
                PRP City,St,Zip:                   Not reported
                PRP Phone:                         Not reported
                Site Classification:               Not reported
                Section 57.5(g) Letter:            734
                Date Section 57.5(g) Letter:       Not reported
                Non LUST Determination Letter:     Not reported
                20 Report Received:                04/13/2009
                45 Report Received:                05/11/2009
                NFA/NFR Letter:                    09/17/2013
                NFR Date Recorded:                 11/19/2013




                                                                                                        TC04099563.2r Page 40
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 47 of 100 PageID #:2881

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                                       EDR ID Number
Elevation   Site                                                                                 Database(s)   EPA ID Number




47          1ST CHICAGO BLDG. CORP.                                                                 IL LUST    S103687341
South       67TH & STONEY ISLAND AVE.                                                                           N/A
1/4-1/2     CHICAGO, IL 60670
0.474 mi.
2502 ft.

Relative:     LUST:
Higher          Incident Num:                    931612
                IL EPA Id:                       0316425034
Actual:         Product:                         Fuel Oil
590 ft.         IEMA Date:                       06/16/1993
                Project Manager:                 Putrich
                Project Manager Phone:           (217) 524-4827
                Email:                           Steve.Putrich@illinois.gov
                PRP Name:                        1st Chicago Bldg. Corp..
                PRP Contact:                     Ed Connnell
                PRP Address:                     1 North Dearborn, 17th Fl.
                PRP City,St,Zip:                 Chicago, IL 60670
                PRP Phone:                       Not reported
                Site Classification:             Not reported
                Section 57.5(g) Letter:          731
                Date Section 57.5(g) Letter:     Not reported
                Non LUST Determination Letter:   Not reported
                20 Report Received:              07/30/1993
                45 Report Received:              09/15/1993
                NFA/NFR Letter:                  Not reported
                NFR Date Recorded:               Not reported




48          COLUMBIA POINTE                                                                          IL SRP    S105521116
WSW         1201-1327 EAST 63RD STREET                                                                          N/A
1/4-1/2     CHICAGO, IL 60637
0.495 mi.
2616 ft.

Relative:     SRP:
Higher          IL EPA Id:               0316415030
                US EPA Id:               Not reported
Actual:         Longitude:               -87.59565
590 ft.         Latitude:                41.78009
                Contact Name:            Kimberly Worthington
                Contact Address:         30 North LaSalle Street
                Contact Address2:        25th Floor
                Contact City,St,Zip:     Chicago, IL 60602-
                Contact Phone:           (312) 744-4034
                Date Enrolled:           07/17/2002
                Point Of Contact:        David J. Kedrowski
                Consultant Company:      Carnow, Conibear & Associates, Ltd.
                Consultant Address:      600 West Van Buren Street
                Consultant Address2:     Suite 500
                Consultant City,St,Zip:  Chicago, IL 60607-
                Consultant Phone:        (312) 762-2908
                Proj Mgr Assigned:       Irwin
                Sec. 4 Letter Date:      Not reported
                NFR Recorded:            Not reported
                Active:                  False
                Total Acres:             2.600
                No Further Remediation Letter Dt: Not reported
                Remediation Applicant Co:           City of Chicago, Department of Environment
                Remediation Applicant Title:        Ms.
                Remediation Applicant Name:         Not reported


                                                                                                      TC04099563.2r Page 41
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 48 of 100 PageID #:2882

Map ID                                                        MAP FINDINGS
Direction
Distance                                                                                                           EDR ID Number
Elevation   Site                                                                                     Database(s)   EPA ID Number




            COLUMBIA POINTE (Continued)                                                                            S105521116
                   Remediation Applicant Company:       Not reported
                   Remediation Applicant Address:       Not reported
                   Remediation Applicant Address 2:     Not reported
                   Remediation Applicant City,St,Zip:   Not reported
                   Illinois EPA:                        Not reported
                   Site Name:                           Not reported
                   NFR Letter:                          Not reported
                   NFR Letter Date Recorded:            Not reported
                   Site Type:                           Not reported
                   Comprehensive/Focused:               Not reported
                   Institutional Controls:              Not reported
                   Barrier:                             Not reported
                   Worker Caution:                      Not reported
                   Acres:                               Not reported




49          UNIVERSITY OF CHICAGO HOSPITAL                                                          RCRA-TSDF      1000431437
WNW         960 E 58TH ST                                                                         CERC-NFRAP       ILD005421136
1/2-1       CHICAGO, IL                                                                             CORRACTS
0.806 mi.                                                                                            RCRA-LQG
4255 ft.                                                                                                RAATS
                                                                                                  NY MANIFEST
Relative:                                                                                         WI MANIFEST
Higher                                                                                        2020 COR ACTION
Actual:       RCRA-TSDF:
591 ft.         Date form received by agency: 05/19/2014
                Facility name:                UNIVERSITY OF CHICAGO
                Facility address:             6041 BLACKSTONE AVE
                                              CHICAGO, IL 60637
                EPA ID:                       ILD005421136
                Mailing address:              6054 S DREXEL AVE RM 213
                                              CHICAGO, IL 60637
                Contact:                      KRISTA G COOLEY
                Contact address:              6054 S DREXEL AVE RM 213
                                              CHICAGO, IL 60637
                Contact country:              US
                Contact telephone:            (773) 702-9999
                Contact email:                KCOOLEY@UCHICAGO.EDU
                EPA Region:                   05
                Land type:                    Private
                Classification:               TSDF
                Description:                  Handler is engaged in the treatment, storage or disposal of hazardous
                                              waste
                Classification:               Large Quantity Generator
                Description:                  Handler: generates 1,000 kg or more of hazardous waste during any
                                              calendar month; or generates more than 1 kg of acutely hazardous waste
                                              during any calendar month; or generates more than 100 kg of any
                                              residue or contaminated soil, waste or other debris resulting from the
                                              cleanup of a spill, into or on any land or water, of acutely hazardous
                                              waste during any calendar month; or generates 1 kg or less of acutely
                                              hazardous waste during any calendar month, and accumulates more than 1
                                              kg of acutely hazardous waste at any time; or generates 100 kg or less
                                              of any residue or contaminated soil, waste or other debris resulting
                                              from the cleanup of a spill, into or on any land or water, of acutely
                                              hazardous waste during any calendar month, and accumulates more than
                                              100 kg of that material at any time




                                                                                                           TC04099563.2r Page 42
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 49 of 100 PageID #:2883

Map ID                                                         MAP FINDINGS
Direction
Distance                                                                                        EDR ID Number
Elevation   Site                                                                  Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                          1000431437

              Handler Activities Summary:
                U.S. importer of hazardous waste:     No
                Mixed waste (haz. and radioactive):   Yes
                Recycler of hazardous waste:          No
                Transporter of hazardous waste:       No
                Treater, storer or disposer of HW:    No
                Underground injection activity:       No
                On-site burner exemption:             No
                Furnace exemption:                    No
                Used oil fuel burner:                 No
                Used oil processor:                   No
                User oil refiner:                     No
                Used oil fuel marketer to burner:     No
                Used oil Specification marketer:      No
                Used oil transfer facility:           No
                Used oil transporter:                 No


              Universal Waste Summary:
                Waste type:                     Batteries
                Accumulated waste on-site:      Yes
                Generated waste on-site:        Not reported


              Historical Generators:
                 Date form received by agency: 03/01/2012
                 Site name:                    UNIVERSITY OF CHICAGO
                 Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/2012
                   Site name:                    UNIVERSITY OF CHICAGO
                   Classification:               Large Quantity Generator

                   Date form received by agency: 08/03/2010
                   Site name:                    UNIVERSITY OF CHICAGO
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/2010
                   Site name:                    UNIVERSITY OF CHICAGO
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/2008
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/2006
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/2004
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/2002
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 04/27/2001




                                                                                       TC04099563.2r Page 43
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 50 of 100 PageID #:2884

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                 EDR ID Number
Elevation   Site                                                                           Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                   1000431437
                   Site name:                  UNIVERSITY OF CHICAGO
                   Classification:             Large Quantity Generator

                   Date form received by agency: 03/01/2000
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/1998
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/1996
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/1994
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 03/01/1992
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 02/23/1990
                   Site name:                    UNIVERSITY OF CHICAGO HOSPITAL
                   Classification:               Large Quantity Generator

                   Date form received by agency: 11/19/1980
                   Site name:                    UNIVERSITY OF CHICAGO
                   Classification:               Not a generator, verified

                   Date form received by agency: 08/18/1980
                   Site name:                    UNIVERSITY OF CHICAGO
                   Classification:               Large Quantity Generator


              Hazardous Waste Summary:
                Waste code:                    D001
                Waste name:                    IGNITABLE HAZARDOUS WASTES ARE THOSE WASTES WHICH HAVE A FLASHPOINT OF
                                               LESS THAN 140 DEGREES FAHRENHEIT AS DETERMINED BY A PENSKY-MARTENS
                                               CLOSED CUP FLASH POINT TESTER. ANOTHER METHOD OF DETERMINING THE
                                               FLASH POINT OF A WASTE IS TO REVIEW THE MATERIAL SAFETY DATA SHEET,
                                               WHICH CAN BE OBTAINED FROM THE MANUFACTURER OR DISTRIBUTOR OF THE
                                               MATERIAL. LACQUER THINNER IS AN EXAMPLE OF A COMMONLY USED SOLVENT
                                               WHICH WOULD BE CONSIDERED AS IGNITABLE HAZARDOUS WASTE.

                   Waste code:                 D002
                   Waste name:                 A WASTE WHICH HAS A PH OF LESS THAN 2 OR GREATER THAN 12.5 IS
                                               CONSIDERED TO BE A CORROSIVE HAZARDOUS WASTE. SODIUM HYDROXIDE, A
                                               CAUSTIC SOLUTION WITH A HIGH PH, IS OFTEN USED BY INDUSTRIES TO CLEAN
                                               OR DEGREASE PARTS. HYDROCHLORIC ACID, A SOLUTION WITH A LOW PH, IS
                                               USED BY MANY INDUSTRIES TO CLEAN METAL PARTS PRIOR TO PAINTING. WHEN
                                               THESE CAUSTIC OR ACID SOLUTIONS BECOME CONTAMINATED AND MUST BE
                                               DISPOSED, THE WASTE WOULD BE A CORROSIVE HAZARDOUS WASTE.

                   Waste code:                 D011
                   Waste name:                 SILVER




                                                                                                TC04099563.2r Page 44
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 51 of 100 PageID #:2885

Map ID                                                   MAP FINDINGS
Direction
Distance                                                                                                EDR ID Number
Elevation   Site                                                                          Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                  1000431437
                   Waste code:                D018
                   Waste name:                BENZENE

                   Waste code:                D022
                   Waste name:                CHLOROFORM

                   Waste code:                D036
                   Waste name:                NITROBENZENE

                   Waste code:                D038
                   Waste name:                PYRIDINE

                   Waste code:                F002
                   Waste name:                THE FOLLOWING SPENT HALOGENATED SOLVENTS: TETRACHLOROETHYLENE,
                                              METHYLENE CHLORIDE, TRICHLOROETHYLENE, 1,1,1-TRICHLOROETHANE,
                                              CHLOROBENZENE, 1,1,2-TRICHLORO-1,2,2-TRIFLUOROETHANE,
                                              ORTHO-DICHLOROBENZENE, TRICHLOROFLUOROMETHANE, AND
                                              1,1,2-TRICHLOROETHANE; ALL SPENT SOLVENT MIXTURES/BLENDS CONTAINING,
                                              BEFORE USE, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF ONE OR MORE
                                              OF THE ABOVE HALOGENATED SOLVENTS OR THOSE LISTED IN F001, F004, OR
                                              F005, AND STILL BOTTOMS FROM THE RECOVERY OF THESE SPENT SOLVENTS AND
                                              SPENT SOLVENT MIXTURES.

                   Waste code:                F003
                   Waste name:                THE FOLLOWING SPENT NON-HALOGENATED SOLVENTS: XYLENE, ACETONE, ETHYL
                                              ACETATE, ETHYL BENZENE, ETHYL ETHER, METHYL ISOBUTYL KETONE, N-BUTYL
                                              ALCOHOL, CYCLOHEXANONE, AND METHANOL; ALL SPENT SOLVENT
                                              MIXTURES/BLENDS CONTAINING, BEFORE USE, ONLY THE ABOVE SPENT
                                              NON-HALOGENATED SOLVENTS; AND ALL SPENT SOLVENT MIXTURES/BLENDS
                                              CONTAINING, BEFORE USE, ONE OR MORE OF THE ABOVE NON-HALOGENATED
                                              SOLVENTS, AND, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF ONE OR
                                              MORE OF THOSE SOLVENTS LISTED IN F001, F002, F004, AND F005, AND STILL
                                              BOTTOMS FROM THE RECOVERY OF THESE SPENT SOLVENTS AND SPENT SOLVENT
                                              MIXTURES.

                   Waste code:                F005
                   Waste name:                THE FOLLOWING SPENT NON-HALOGENATED SOLVENTS: TOLUENE, METHYL ETHYL
                                              KETONE, CARBON DISULFIDE, ISOBUTANOL, PYRIDINE, BENZENE,
                                              2-ETHOXYETHANOL, AND 2-NITROPROPANE; ALL SPENT SOLVENT MIXTURES/BLENDS
                                              CONTAINING, BEFORE USE, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF
                                              ONE OR MORE OF THE ABOVE NON-HALOGENATED SOLVENTS OR THOSE SOLVENTS
                                              LISTED IN F001, F002, OR F004; AND STILL BOTTOMS FROM THE RECOVERY OF
                                              THESE SPENT SOLVENTS AND SPENT SOLVENT MIXTURES.

                   Waste code:                LABP
                   Waste name:                LAB PACK


              Biennial Reports:
              Last Biennial Reporting Year: 2013
              Annual Waste Handled:
                Waste code:                   D001
                Waste name:                   IGNITABLE HAZARDOUS WASTES ARE THOSE WASTES WHICH HAVE A FLASHPOINT OF
                                              LESS THAN 140 DEGREES FAHRENHEIT AS DETERMINED BY A PENSKY-MARTENS
                                              CLOSED CUP FLASH POINT TESTER. ANOTHER METHOD OF DETERMINING THE
                                              FLASH POINT OF A WASTE IS TO REVIEW THE MATERIAL SAFETY DATA SHEET,
                                              WHICH CAN BE OBTAINED FROM THE MANUFACTURER OR DISTRIBUTOR OF THE




                                                                                               TC04099563.2r Page 45
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 52 of 100 PageID #:2886

Map ID                                            MAP FINDINGS
Direction
Distance                                                                                          EDR ID Number
Elevation   Site                                                                    Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                            1000431437
                                        MATERIAL. LACQUER THINNER IS AN EXAMPLE OF A COMMONLY USED SOLVENT
                                        WHICH WOULD BE CONSIDERED AS IGNITABLE HAZARDOUS WASTE.
                   Amount (Lbs):        42915.1

                   Waste code:          D002
                   Waste name:          A WASTE WHICH HAS A PH OF LESS THAN 2 OR GREATER THAN 12.5 IS
                                        CONSIDERED TO BE A CORROSIVE HAZARDOUS WASTE. SODIUM HYDROXIDE, A
                                        CAUSTIC SOLUTION WITH A HIGH PH, IS OFTEN USED BY INDUSTRIES TO CLEAN
                                        OR DEGREASE PARTS. HYDROCHLORIC ACID, A SOLUTION WITH A LOW PH, IS
                                        USED BY MANY INDUSTRIES TO CLEAN METAL PARTS PRIOR TO PAINTING. WHEN
                                        THESE CAUSTIC OR ACID SOLUTIONS BECOME CONTAMINATED AND MUST BE
                                        DISPOSED, THE WASTE WOULD BE A CORROSIVE HAZARDOUS WASTE.
                   Amount (Lbs):        48275.6

                   Waste code:          D006
                   Waste name:          CADMIUM
                   Amount (Lbs):        400

                   Waste code:          D008
                   Waste name:          LEAD
                   Amount (Lbs):        40621.4

                   Waste code:          D009
                   Waste name:          MERCURY
                   Amount (Lbs):        1812.1

                   Waste code:          D011
                   Waste name:          SILVER
                   Amount (Lbs):        13950.5

                   Waste code:          D018
                   Waste name:          BENZENE
                   Amount (Lbs):        29881

                   Waste code:          F002
                   Waste name:          THE FOLLOWING SPENT HALOGENATED SOLVENTS: TETRACHLOROETHYLENE,
                                        METHYLENE CHLORIDE, TRICHLOROETHYLENE, 1,1,1-TRICHLOROETHANE,
                                        CHLOROBENZENE, 1,1,2-TRICHLORO-1,2,2-TRIFLUOROETHANE,
                                        ORTHO-DICHLOROBENZENE, TRICHLOROFLUOROMETHANE, AND
                                        1,1,2-TRICHLOROETHANE; ALL SPENT SOLVENT MIXTURES/BLENDS CONTAINING,
                                        BEFORE USE, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF ONE OR MORE
                                        OF THE ABOVE HALOGENATED SOLVENTS OR THOSE LISTED IN F001, F004, OR
                                        F005, AND STILL BOTTOMS FROM THE RECOVERY OF THESE SPENT SOLVENTS AND
                                        SPENT SOLVENT MIXTURES.
                   Amount (Lbs):        30556

                   Waste code:          F003
                   Waste name:          THE FOLLOWING SPENT NON-HALOGENATED SOLVENTS: XYLENE, ACETONE, ETHYL
                                        ACETATE, ETHYL BENZENE, ETHYL ETHER, METHYL ISOBUTYL KETONE, N-BUTYL
                                        ALCOHOL, CYCLOHEXANONE, AND METHANOL; ALL SPENT SOLVENT
                                        MIXTURES/BLENDS CONTAINING, BEFORE USE, ONLY THE ABOVE SPENT
                                        NON-HALOGENATED SOLVENTS; AND ALL SPENT SOLVENT MIXTURES/BLENDS
                                        CONTAINING, BEFORE USE, ONE OR MORE OF THE ABOVE NON-HALOGENATED
                                        SOLVENTS, AND, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF ONE OR
                                        MORE OF THOSE SOLVENTS LISTED IN F001, F002, F004, AND F005, AND STILL
                                        BOTTOMS FROM THE RECOVERY OF THESE SPENT SOLVENTS AND SPENT SOLVENT
                                        MIXTURES.




                                                                                         TC04099563.2r Page 46
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 53 of 100 PageID #:2887

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                              EDR ID Number
Elevation   Site                                                                                        Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                                1000431437
                   Amount (Lbs):           31051.1

                   Waste code:             F005
                   Waste name:             THE FOLLOWING SPENT NON-HALOGENATED SOLVENTS: TOLUENE, METHYL ETHYL
                                           KETONE, CARBON DISULFIDE, ISOBUTANOL, PYRIDINE, BENZENE,
                                           2-ETHOXYETHANOL, AND 2-NITROPROPANE; ALL SPENT SOLVENT MIXTURES/BLENDS
                                           CONTAINING, BEFORE USE, A TOTAL OF TEN PERCENT OR MORE (BY VOLUME) OF
                                           ONE OR MORE OF THE ABOVE NON-HALOGENATED SOLVENTS OR THOSE SOLVENTS
                                           LISTED IN F001, F002, OR F004; AND STILL BOTTOMS FROM THE RECOVERY OF
                                           THESE SPENT SOLVENTS AND SPENT SOLVENT MIXTURES.
                   Amount (Lbs):           30916.1

                   Waste code:             LABP
                   Waste name:             LAB PACK
                   Amount (Lbs):           277115.3

                   Waste code:             P001
                   Waste name:             2H-1-BENZOPYRAN-2-ONE, 4-HYDROXY-3-(3-OXO-1-PHENYLBUTYL)-, & SALTS,
                                           WHEN PRESENT AT CONCENTRATIONS GREATER THAN 0.3%
                   Amount (Lbs):           11564

                   Waste code:             P075
                   Waste name:             NICOTINE, & SALTS
                   Amount (Lbs):           11564

                   Waste code:             P118
                   Waste name:             METHANETHIOL, TRICHLORO-
                   Amount (Lbs):           11564

                   Waste code:             U010
                   Waste name:             AZIRINO[2’,3’:3,4]PYRROLO[1,2-A]INDOLE-4,7-DIONE,
                                           6-AMINO-8-[[(AMINOCARBONYL)OXY]METHYL]-
                                           1,1A,2,8,8A,8B-HEXAHYDRO-8A-METHOXY-5-METHYL-, [1AS-(1AALPHA,
                                           8BETA,8AALPHA,8BALPHA)]-
                   Amount (Lbs):           11564



              Corrective Action Summary:
                Event date:                04/06/1990
                Event:                     RFA Completed

                   Event date:             04/06/1990
                   Event:                  RFA Determination Of Need For An RFI, RFI is Necessary;

                   Event date:             12/31/1993
                   Event:                  CA Prioritization, Facility or area was assigned a low corrective
                                           action priority.

                   Event date:             09/21/2010
                   Event:                  Current Human Exposures under Control, Yes, Current Human Exposures
                                           Under Control has been verified. Based on a review of information
                                           contained in the EI determination, current human exposures are
                                           expected to be under control at the facility under current and
                                           reasonably expected conditions. This determination will be
                                           re-evaluated when the Agency/State becomes aware of significant
                                           changes at the facility.




                                                                                                               TC04099563.2r Page 47
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 54 of 100 PageID #:2888

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                                 EDR ID Number
Elevation   Site                                                                                         Database(s)     EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                                   1000431437
                   Event date:                  03/31/2011
                   Event:                       Igration of Contaminated Groundwater under Control, Yes, Migration of
                                                Contaminated Groundwater Under Control has been verified. Based on a
                                                review of information contained in the EI determination, it has been
                                                determined that migration of contaminated groundwater is under control
                                                at the facility. Specifically, this determination indicates that the
                                                migration of contaminated groundwater is under control, and that
                                                monitoring will be conducted to confirm that contaminated groundwater
                                                remains within the existing area of contaminated groundwater. This
                                                determination will be re-evaluated when the Agency becomes aware of
                                                significant changes at the facility.

                   Event date:                  09/05/2013
                   Event:                       CA550RC


              Facility Has Received Notices of Violations:
                Regulation violated:           Not reported
                Area of violation:             Generators - Pre-transport
                Date violation determined:     05/13/2010
                Date achieved compliance:      08/05/2010
                Violation lead agency:         EPA
                    Enforcement action:        WRITTEN INFORMAL
                    Enforcement action date: 05/13/2010
                    Enf. disposition status:   Not reported
                    Enf. disp. status date:    Not reported
                    Enforcement lead agency: EPA
                    Proposed penalty amount: Not reported
                    Final penalty amount:      Not reported
                    Paid penalty amount:       Not reported

                   Regulation violated:         Not reported
                   Area of violation:           TSD IS-Contingency Plan and Emergency Procedures
                   Date violation determined:   05/13/2010
                   Date achieved compliance:    08/05/2010
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   05/13/2010
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         Not reported
                   Area of violation:           TSD IS-General Facility Standards
                   Date violation determined:   05/13/2010
                   Date achieved compliance:    08/05/2010
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   05/13/2010
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported




                                                                                                               TC04099563.2r Page 48
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 55 of 100 PageID #:2889

Map ID                                                      MAP FINDINGS
Direction
Distance                                                                                   EDR ID Number
Elevation   Site                                                             Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                     1000431437
                   Regulation violated:         SR - IAC 722.134(c)(1)(B)
                   Area of violation:           Generators - Pre-transport
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 725.116(d)(1)
                   Area of violation:           Generators - Pre-transport
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 722.123(a)
                   Area of violation:           Generators - Manifest
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 725.152(d)
                   Area of violation:           Generators - Pre-transport
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 725.154(d)




                                                                                  TC04099563.2r Page 49
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 56 of 100 PageID #:2890

Map ID                                                      MAP FINDINGS
Direction
Distance                                                                                   EDR ID Number
Elevation   Site                                                             Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                     1000431437
                   Area of violation:           Generators - Pre-transport
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - 703.121(a)(b)
                   Area of violation:           Generators - General
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 725.152(e)
                   Area of violation:           Generators - Pre-transport
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 722.l134(a)(3)
                   Area of violation:           Generators - Pre-transport
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - IAC 725.273(a)
                   Area of violation:           Generators - Pre-transport




                                                                                  TC04099563.2r Page 50
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 57 of 100 PageID #:2891

Map ID                                                      MAP FINDINGS
Direction
Distance                                                                                       EDR ID Number
Elevation   Site                                                                 Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                         1000431437
                   Date violation determined:   08/26/2004
                   Date achieved compliance:    12/01/2004
                   Violation lead agency:       EPA
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   10/26/2004
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         SR - 724.243
                   Area of violation:           TSD - Financial Requirements
                   Date violation determined:   05/09/2002
                   Date achieved compliance:    06/12/2002
                   Violation lead agency:       State
                     Enforcement action:        WRITTEN INFORMAL
                     Enforcement action date:   05/23/2002
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   State
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         FR - 270.72(a)(1)
                   Area of violation:           TSD - General
                   Date violation determined:   08/20/1991
                   Date achieved compliance:    11/23/1993
                   Violation lead agency:       EPA
                     Enforcement action:        FINAL 3008(A) COMPLIANCE ORDER
                     Enforcement action date:   11/14/1993
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      15010
                     Paid penalty amount:       15010

                   Regulation violated:         FR - 270.72(a)(1)
                   Area of violation:           TSD - General
                   Date violation determined:   08/20/1991
                   Date achieved compliance:    11/23/1993
                   Violation lead agency:       EPA
                     Enforcement action:        INITIAL 3008(A) COMPLIANCE
                     Enforcement action date:   09/10/1992
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   EPA
                     Proposed penalty amount:   53010
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported

                   Regulation violated:         Not reported
                   Area of violation:           TSD - General
                   Date violation determined:   02/15/1989




                                                                                      TC04099563.2r Page 51
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 58 of 100 PageID #:2892

Map ID                                                     MAP FINDINGS
Direction
Distance                                                                                                         EDR ID Number
Elevation   Site                                                                                   Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                           1000431437
                   Date achieved compliance:    10/27/1989
                   Violation lead agency:       State
                     Enforcement action:        VIOLATION NOTICE (VN)
                     Enforcement action date:   03/29/1989
                     Enf. disposition status:   Not reported
                     Enf. disp. status date:    Not reported
                     Enforcement lead agency:   State
                     Proposed penalty amount:   Not reported
                     Final penalty amount:      Not reported
                     Paid penalty amount:       Not reported


              Evaluation Action Summary:
                Evaluation date:                05/13/2010
                Evaluation:                     COMPLIANCE EVALUATION INSPECTION ON-SITE
                Area of violation:              Generators - Pre-transport
                Date achieved compliance:       08/05/2010
                Evaluation lead agency:         EPA

                   Evaluation date:             05/13/2010
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           TSD IS-General Facility Standards
                   Date achieved compliance:    08/05/2010
                   Evaluation lead agency:      EPA

                   Evaluation date:             05/13/2010
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           TSD IS-Contingency Plan and Emergency Procedures
                   Date achieved compliance:    08/05/2010
                   Evaluation lead agency:      EPA

                   Evaluation date:             08/24/2009
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      EPA

                   Evaluation date:             08/31/2006
                   Evaluation:                  FINANCIAL RECORD REVIEW
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      State

                   Evaluation date:             08/26/2004
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           Generators - Pre-transport
                   Date achieved compliance:    12/01/2004
                   Evaluation lead agency:      EPA

                   Evaluation date:             08/26/2004
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           Generators - General
                   Date achieved compliance:    12/01/2004
                   Evaluation lead agency:      EPA

                   Evaluation date:             08/26/2004
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           Generators - Manifest




                                                                                                        TC04099563.2r Page 52
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 59 of 100 PageID #:2893

Map ID                                                      MAP FINDINGS
Direction
Distance                                                                                                EDR ID Number
Elevation   Site                                                                          Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                  1000431437
                   Date achieved compliance:   12/01/2004
                   Evaluation lead agency:     EPA

                   Evaluation date:            10/29/2002
                   Evaluation:                 COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            06/10/2002
                   Evaluation:                 FINANCIAL RECORD REVIEW
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            05/09/2002
                   Evaluation:                 FINANCIAL RECORD REVIEW
                   Area of violation:          TSD - Financial Requirements
                   Date achieved compliance:   06/12/2002
                   Evaluation lead agency:     State

                   Evaluation date:            10/24/2000
                   Evaluation:                 COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            11/13/1998
                   Evaluation:                 COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            07/28/1998
                   Evaluation:                 FINANCIAL RECORD REVIEW
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            03/28/1997
                   Evaluation:                 FINANCIAL RECORD REVIEW
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            11/08/1996
                   Evaluation:                 COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State

                   Evaluation date:            01/18/1995
                   Evaluation:                 COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:          Not reported
                   Date achieved compliance:   Not reported
                   Evaluation lead agency:     State




                                                                                               TC04099563.2r Page 53
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 60 of 100 PageID #:2894

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                 EDR ID Number
Elevation   Site                                                                           Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                   1000431437
                   Evaluation date:             12/14/1994
                   Evaluation:                  FINANCIAL RECORD REVIEW
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      State

                   Evaluation date:             01/20/1993
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      State

                   Evaluation date:             03/06/1992
                   Evaluation:                  FINANCIAL RECORD REVIEW
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      State

                   Evaluation date:             08/20/1991
                   Evaluation:                  NON-FINANCIAL RECORD REVIEW
                   Area of violation:           TSD - General
                   Date achieved compliance:    11/23/1993
                   Evaluation lead agency:      EPA

                   Evaluation date:             01/25/1991
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      State

                   Evaluation date:             02/15/1989
                   Evaluation:                  NON-FINANCIAL RECORD REVIEW
                   Area of violation:           Not reported
                   Date achieved compliance:    Not reported
                   Evaluation lead agency:      EPA

                   Evaluation date:             02/15/1989
                   Evaluation:                  COMPLIANCE EVALUATION INSPECTION ON-SITE
                   Area of violation:           TSD - General
                   Date achieved compliance:    10/27/1989
                   Evaluation lead agency:      State
              CERC-NFRAP:
                Site ID:                       0507408
                Federal Facility:              Not a Federal Facility
                NPL Status:                    Not on the NPL
                Non NPL Status:                Deferred to RCRA


              CERCLIS-NFRAP Assessment History:
                Action:                ARCHIVE SITE
                Date Started:          / /
                Date Completed:        12/11/95
                Priority Level:        Not reported

                   Action:                     PRELIMINARY ASSESSMENT
                   Date Started:               / /
                   Date Completed:             01/12/94




                                                                                                TC04099563.2r Page 54
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 61 of 100 PageID #:2895

Map ID                                                         MAP FINDINGS
Direction
Distance                                                                                                             EDR ID Number
Elevation   Site                                                                                      Database(s)    EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                               1000431437
                   Priority Level:              Deferred to RCRA (Subtitle C)

                   Action:                      DISCOVERY
                   Date Started:                / /
                   Date Completed:              09/30/93
                   Priority Level:              Not reported


              CORRACTS:


                   EPA ID:                 ILD005421136
                   EPA Region:             05
                   Area Name:              ENTIRE FACILITY
                   Actual Date:            20130905
                   Action:                 CA550RC
                   NAICS Code(s):          62211 61131
                                           General Medical and Surgical Hospitals
                                           Colleges, Universities, and Professional Schools
                   Original schedule date: Not reported
                   Schedule end date:      Not reported

                   EPA ID:                 ILD005421136
                   EPA Region:             05
                   Area Name:              ENTIRE FACILITY
                   Actual Date:            19900406
                   Action:                 CA050 - RFA Completed
                   NAICS Code(s):          62211 61131
                                           General Medical and Surgical Hospitals
                                           Colleges, Universities, and Professional Schools
                   Original schedule date: Not reported
                   Schedule end date:      Not reported

                   EPA ID:                 ILD005421136
                   EPA Region:             05
                   Area Name:              ENTIRE FACILITY
                   Actual Date:            19900406
                   Action:                 CA070YE - RFA Determination Of Need For An RFI, RFI is Necessary
                   NAICS Code(s):          62211 61131
                                           General Medical and Surgical Hospitals
                                           Colleges, Universities, and Professional Schools
                   Original schedule date: Not reported
                   Schedule end date:      Not reported

                   EPA ID:                 ILD005421136
                   EPA Region:             05
                   Area Name:              ENTIRE FACILITY
                   Actual Date:            20100921
                   Action:                 CA725YE - Current Human Exposures Under Control, Yes, Current Human
                                           Exposures Under Control has been verified
                   NAICS Code(s):          62211 61131
                                           General Medical and Surgical Hospitals
                                           Colleges, Universities, and Professional Schools
                   Original schedule date: Not reported
                   Schedule end date:      Not reported

                   EPA ID:                 ILD005421136
                   EPA Region:             05




                                                                                                              TC04099563.2r Page 55
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 62 of 100 PageID #:2896

Map ID                                                        MAP FINDINGS
Direction
Distance                                                                                                                    EDR ID Number
Elevation   Site                                                                                              Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                                      1000431437
                   Area Name:              ENTIRE FACILITY
                   Actual Date:            19931231
                   Action:                 CA075LO - CA Prioritization, Facility or area was assigned a low
                                           corrective action priority
                   NAICS Code(s):          62211 61131
                                           General Medical and Surgical Hospitals
                                           Colleges, Universities, and Professional Schools
                   Original schedule date: Not reported
                   Schedule end date:      Not reported

                   EPA ID:                 ILD005421136
                   EPA Region:             05
                   Area Name:              ENTIRE FACILITY
                   Actual Date:            20110331
                   Action:                 CA750YE - Migration of Contaminated Groundwater under Control, Yes,
                                           Migration of Contaminated Groundwater Under Control has been verified
                   NAICS Code(s):          62211 61131
                                           General Medical and Surgical Hospitals
                                           Colleges, Universities, and Professional Schools
                   Original schedule date: Not reported
                   Schedule end date:      Not reported


              NY MANIFEST:
                EPA ID:                          ILD005421136
                Country:                         USA
              Mailing Info:
                Name:                            UNIVERSITY OF CHICAGO
                Contact:                         DR NORMAN NACHTRIEB
                Address:                         5735 SOUTH ELLIS AVENUE
                City/State/Zip:                  CHICAGO, IL 60637
                Country:                         USA
                Phone:                           312-962-7094


                   Document ID:                  NYO2640627
                   Manifest Status:              Completed after the designated time period for a TSDF to get a copy to the DEC
                   Trans1 State ID:              Not reported
                   Trans2 State ID:              CAD0420
                   Generator Ship Date:          840516
                   Trans1 Recv Date:             840516
                   Trans2 Recv Date:             840522
                   TSD Site Recv Date:           840618
                   Part A Recv Date:             840613
                   Part B Recv Date:             840625
                   Generator EPA ID:             ILD005421136
                   Trans1 EPA ID:                ILD000810549
                   Trans2 EPA ID:                GAD042097261
                   TSDF ID:                      NYD000632372
                   Waste Code:                   D003 - NON-LISTED REACTIVE WASTES
                   Quantity:                     00800
                   Units:                        P - Pounds
                   Number of Containers:         002
                   Container Type:               DM - Metal drums, barrels
                   Handling Method:              T Chemical, physical, or biological treatment.
                   Specific Gravity:             100
                   Year:                         84




                                                                                                                   TC04099563.2r Page 56
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 63 of 100 PageID #:2897

Map ID                                                 MAP FINDINGS
Direction
Distance                                                                                                           EDR ID Number
Elevation   Site                                                                                    Database(s)    EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                             1000431437
                   Document ID:            NYB4465062
                   Manifest Status:        Completed after the designated time period for a TSDF to get a copy to the DEC
                   Trans1 State ID:        11278PNY
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    950119
                   Trans1 Recv Date:       950119
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     950213
                   Part A Recv Date:       950203
                   Part B Recv Date:       950227
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD980769947
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                NYD000632372
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00020
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Year:                   95


                   Document ID:            NYB4465089
                   Manifest Status:        Completed after the designated time period for a TSDF to get a copy to the DEC
                   Trans1 State ID:        PD1946
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    950104
                   Trans1 Recv Date:       950104
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     950126
                   Part A Recv Date:       950112
                   Part B Recv Date:       950207
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD980769947




                                                                                                           TC04099563.2r Page 57
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 64 of 100 PageID #:2898

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                NYD000632372
                   Waste Code:             U135 - HYDROGEN SULFIDE
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00020
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Year:                   95


                   Document ID:            NYB1571094
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    09/14/1998
                   Trans1 Recv Date:       09/14/1998
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     09/21/1998
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71070NNY
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)




                                                                                                 TC04099563.2r Page 58
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 65 of 100 PageID #:2899

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             U135 - HYDROGEN SULFIDE
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   98


                   Document ID:            NYB1571085
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    09/14/1998
                   Trans1 Recv Date:       09/14/1998
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     09/21/1998
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71070NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   98


                   Document ID:            NYB8494956
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    04/06/1998




                                                                                                 TC04099563.2r Page 59
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 66 of 100 PageID #:2900

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Trans1 Recv Date:       04/06/1998
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     04/14/1998
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71070NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00014
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   98


                   Document ID:            NYB8494983
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    08/03/1998
                   Trans1 Recv Date:       08/03/1998
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     08/05/1998
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71070NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00020
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)




                                                                                                 TC04099563.2r Page 60
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 67 of 100 PageID #:2901

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Year:                   98


                   Document ID:            NYB1571112
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    05/03/1999
                   Trans1 Recv Date:       05/03/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     05/05/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                710702NY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00054
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   003
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00065
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   010
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYB8494605
                   Manifest Status:        Completed copy
                   Trans1 State ID:        14237PNY
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    970724




                                                                                                 TC04099563.2r Page 61
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 68 of 100 PageID #:2902

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Trans1 Recv Date:       970724
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     970729
                   Part A Recv Date:       970811
                   Part B Recv Date:       970818
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD980769947
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                NYD000632372
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Year:                   97


                   Document ID:            NYG1203507
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    10/05/1999
                   Trans1 Recv Date:       10/05/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     10/07/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71072NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00002
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00002
                   Units:                  P - Pounds




                                                                                                 TC04099563.2r Page 62
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 69 of 100 PageID #:2903

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1203516
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    10/05/1999
                   Trans1 Recv Date:       10/05/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     10/07/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71072NNY
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00006
                   Units:                  P - Pounds
                   Number of Containers:   003
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00002
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00002
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D002 - NON-LISTED CORROSIVE WASTES
                   Quantity:               00002
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1203525
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    07/12/1999




                                                                                                 TC04099563.2r Page 63
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 70 of 100 PageID #:2904

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Trans1 Recv Date:       07/12/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     07/14/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71072NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00036
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00036
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1203534
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    07/12/1999
                   Trans1 Recv Date:       07/12/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     07/14/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71072NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00012
                   Units:                  P - Pounds
                   Number of Containers:   004
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00010
                   Units:                  P - Pounds




                                                                                                 TC04099563.2r Page 64
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 71 of 100 PageID #:2905

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Number of Containers:   002
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Waste Code:             U092 - DIMETHYLAMINE
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00015
                   Units:                  P - Pounds
                   Number of Containers:   003
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1203543
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    07/12/1999
                   Trans1 Recv Date:       07/12/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     07/14/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71072NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES




                                                                                                 TC04099563.2r Page 65
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 72 of 100 PageID #:2906

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Quantity:               00010
                   Units:                  P - Pounds
                   Number of Containers:   002
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1203561
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    07/12/1999
                   Trans1 Recv Date:       07/12/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     07/14/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                71072NNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00025
                   Units:                  P - Pounds
                   Number of Containers:   002
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00010
                   Units:                  P - Pounds
                   Number of Containers:   002
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00020
                   Units:                  P - Pounds
                   Number of Containers:   004
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1607499
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814




                                                                                                 TC04099563.2r Page 66
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 73 of 100 PageID #:2907

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    12/13/1999
                   Trans1 Recv Date:       12/13/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     12/15/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                41919RNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00020
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00002
                   Units:                  P - Pounds
                   Number of Containers:   001
                   Container Type:         CY - Cylinders
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYG1607508
                   Manifest Status:        Not reported
                   Trans1 State ID:        NYD982792814
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    12/13/1999
                   Trans1 Recv Date:       12/13/1999
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     12/15/1999
                   Part A Recv Date:       Not reported
                   Part B Recv Date:       Not reported
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD000632372
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                41919RNY
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES




                                                                                                 TC04099563.2r Page 67
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 74 of 100 PageID #:2908

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Quantity:               00600
                   Units:                  P - Pounds
                   Number of Containers:   002
                   Container Type:         CY - Cylinders
                   Handling Method:        B Incineration, heat recovery, burning.
                   Specific Gravity:       01.00
                   Year:                   99


                   Document ID:            NYA1237698
                   Manifest Status:        Completed copy
                   Trans1 State ID:        0049
                   Trans2 State ID:        V-44083NY
                   Generator Ship Date:    850219
                   Trans1 Recv Date:       850219
                   Trans2 Recv Date:       850227
                   TSD Site Recv Date:     850304
                   Part A Recv Date:       850226
                   Part B Recv Date:       850308
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          ILD000810549
                   Trans2 EPA ID:          NYD980769947
                   TSDF ID:                NYD000632372
                   Waste Code:             D003 - NON-LISTED REACTIVE WASTES
                   Quantity:               00030
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       189
                   Year:                   85


                   Document ID:            NYB7315065
                   Manifest Status:        Completed copy
                   Trans1 State ID:        IL1797
                   Trans2 State ID:        Not reported
                   Generator Ship Date:    970109
                   Trans1 Recv Date:       970113
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     970116
                   Part A Recv Date:       970212
                   Part B Recv Date:       970128
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD980769947
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                NYD000632372
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)




                                                                                                 TC04099563.2r Page 68
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 75 of 100 PageID #:2909

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                                                  EDR ID Number
Elevation   Site                                                                            Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                    1000431437
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Year:                   97


                   Document ID:            NYB7315056
                   Manifest Status:        Completed copy
                   Trans1 State ID:        IL1797
                   Trans2 State ID:        11277PNY
                   Generator Ship Date:    970109
                   Trans1 Recv Date:       970113
                   Trans2 Recv Date:       Not reported
                   TSD Site Recv Date:     970116
                   Part A Recv Date:       970212
                   Part B Recv Date:       970128
                   Generator EPA ID:       ILD005421136
                   Trans1 EPA ID:          NYD980769947
                   Trans2 EPA ID:          Not reported
                   TSDF ID:                NYD000632372
                   Waste Code:             D001 - NON-LISTED IGNITABLE WASTES
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Waste Code:             Not reported
                   Quantity:               00005
                   Units:                  G - Gallons (liquids only)* (8.3 pounds)
                   Number of Containers:   001
                   Container Type:         DF - Fiberboard or plastic drums (glass)
                   Handling Method:        T Chemical, physical, or biological treatment.
                   Specific Gravity:       100
                   Year:                   97




                                                                                                 TC04099563.2r Page 69
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 76 of 100 PageID #:2910

Map ID                                                    MAP FINDINGS
Direction
Distance                                                                                                        EDR ID Number
Elevation   Site                                                                                  Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                          1000431437


                                  Click this hyperlink while viewing on your computer to access
                                  10 additional NY_MANIFEST: record(s) in the EDR Site Report.


              WI MANIFEST:
                Year:                         2013
                EPA ID:                       ILD005421136
                FID:                          Not reported
                ACT Code:                     201
                ACT Status:                   A
                ACT Code 1:                   201
                ACT Name:                     HW Generator - Large
                Contact Title:                Not reported
                Contact Name:                 Not reported
                Contact Address:              Not reported
                Contact City/State/Zip:       Not reported
                Contact Telephone:            Not reported
                Contact Email Address:        Not reported
                Shipped:                      -
                Year:                         2013
                Manifest DOC ID:              010962157JJK
                Copy Type:                    TSDCOPY
                Gen EPA ID:                   ILD005421136
                Gen Date:                     01/04/2013
                TSD Date:                     01/16/2013
                TSD EPA ID:                   WID003967148
                GEN Copy Revd Date:           Not reported
                TSG Copy Revd Date:           02/12/2013

                   Year:                      2013
                   Manifest DOC ID:           010962216JJK
                   Copy Type:                 TSDCOPY
                   Gen EPA ID:                ILD005421136
                   Gen Date:                  01/11/2013
                   TSD Date:                  01/17/2013
                   TSD EPA ID:                WID003967148
                   GEN Copy Revd Date:        Not reported
                   TSG Copy Revd Date:        02/12/2013

                   Year:                      2013
                   Manifest DOC ID:           010962396JJK
                   Copy Type:                 TSDCOPY
                   Gen EPA ID:                ILD005421136
                   Gen Date:                  01/15/2013
                   TSD Date:                  01/23/2013
                   TSD EPA ID:                WID003967148
                   GEN Copy Revd Date:        Not reported
                   TSG Copy Revd Date:        02/12/2013

                   Year:                      2013
                   Manifest DOC ID:           010962492JJK
                   Copy Type:                 TSDCOPY
                   Gen EPA ID:                ILD005421136
                   Gen Date:                  01/18/2013
                   TSD Date:                  02/04/2013
                   TSD EPA ID:                WID003967148
                   GEN Copy Revd Date:        Not reported




                                                                                                       TC04099563.2r Page 70
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 77 of 100 PageID #:2911

Map ID                                                MAP FINDINGS
Direction
Distance                                                                           EDR ID Number
Elevation   Site                                                     Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                             1000431437
                   TSG Copy Revd Date:   04/10/2013

                   Year:                 2013
                   Manifest DOC ID:      010963044JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             01/22/2013
                   TSD Date:             02/01/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   04/10/2013

                   Year:                 2013
                   Manifest DOC ID:      010963152JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             01/28/2013
                   TSD Date:             02/01/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   04/10/2013

                   Year:                 2013
                   Manifest DOC ID:      010963229JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             01/29/2013
                   TSD Date:             02/07/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   04/10/2013

                   Year:                 2013
                   Manifest DOC ID:      010963323JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             02/01/2013
                   TSD Date:             02/13/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   04/10/2013

                   Year:                 2013
                   Manifest DOC ID:      010963370JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             02/05/2013
                   TSD Date:             02/13/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   04/10/2013

                   Year:                 2013
                   Manifest DOC ID:      010963482JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             02/08/2013




                                                                          TC04099563.2r Page 71
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 78 of 100 PageID #:2912

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                             EDR ID Number
Elevation   Site                                                       Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                               1000431437
                   TSD Date:                 02/18/2013
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       04/10/2013


                   Year:                     2012
                   EPA ID:                   ILD005421136
                   FID:                      Not reported
                   ACT Code:                 201
                   ACT Status:               A
                   ACT Code 1:               201
                   ACT Name:                 HW Generator - Large
                   Contact Title:            Not reported
                   Contact Name:             Not reported
                   Contact Address:          Not reported
                   Contact City/State/Zip:   Not reported
                   Contact Telephone:        Not reported
                   Contact Email Address:    Not reported
                   Shipped:                  -
                   Year:                     2012
                   Manifest DOC ID:          010635217JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 10/30/2012
                   TSD Date:                 11/14/2012
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       12/17/2012

                   Year:                     2012
                   Manifest DOC ID:          010635311JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 11/02/2012
                   TSD Date:                 11/14/2012
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       12/17/2012

                   Year:                     2012
                   Manifest DOC ID:          010635385JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 11/06/2012
                   TSD Date:                 11/21/2012
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       12/17/2012

                   Year:                     2012
                   Manifest DOC ID:          010635476JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 11/09/2012
                   TSD Date:                 11/21/2012
                   TSD EPA ID:               WID003967148




                                                                            TC04099563.2r Page 72
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 79 of 100 PageID #:2913

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                             EDR ID Number
Elevation   Site                                                       Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                               1000431437
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   12/17/2012

                   Year:                 2012
                   Manifest DOC ID:      010635587JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             09/07/2012
                   TSD Date:             09/18/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   10/15/2012

                   Year:                 2012
                   Manifest DOC ID:      010635633JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             09/11/2012
                   TSD Date:             09/18/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   10/15/2012

                   Year:                 2012
                   Manifest DOC ID:      010635709JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             09/14/2012
                   TSD Date:             09/26/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   10/15/2012

                   Year:                 2012
                   Manifest DOC ID:      010635784JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             09/18/2012
                   TSD Date:             09/26/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   10/15/2012

                   Year:                 2012
                   Manifest DOC ID:      010635884JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             09/25/2012
                   TSD Date:             10/03/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/07/2012

                   Year:                 2012
                   Manifest DOC ID:      010636057JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136




                                                                            TC04099563.2r Page 73
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 80 of 100 PageID #:2914

Map ID                                             MAP FINDINGS
Direction
Distance                                                                          EDR ID Number
Elevation   Site                                                    Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                            1000431437
                   Gen Date:             11/19/2012
                   TSD Date:             11/29/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   12/17/2012

                   Year:                 2012
                   Manifest DOC ID:      010636135JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/16/2012
                   TSD Date:             12/05/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010636234JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/26/2012
                   TSD Date:             12/05/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010636287JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/27/2012
                   TSD Date:             12/17/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010636383JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/30/2012
                   TSD Date:             12/17/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010636460JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             12/04/2012
                   TSD Date:             12/20/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012




                                                                         TC04099563.2r Page 74
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 81 of 100 PageID #:2915

Map ID                                               MAP FINDINGS
Direction
Distance                                                                                                           EDR ID Number
Elevation   Site                                                                                   Database(s)     EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                             1000431437
                   Manifest DOC ID:      010962006JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             12/28/2012
                   TSD Date:             01/09/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   02/12/2013

                   Year:                 2012
                   Manifest DOC ID:      010962586JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             12/07/2012
                   TSD Date:             12/20/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010962638JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             12/11/2012
                   TSD Date:             12/28/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010962748JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             12/14/2012
                   TSD Date:             12/28/2012
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   01/15/2013

                   Year:                 2012
                   Manifest DOC ID:      010962827JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             12/18/2012
                   TSD Date:             01/04/2013
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   02/12/2013
                   WI MANIFEST SHIP:     Has 134 more record(s) for this section. Please contact your EDR
                                         Account Executive for more information


                   Year:                 2011
                   EPA ID:               ILD005421136
                   FID:                  Not reported
                   ACT Code:             201
                   ACT Status:           A




                                                                                                            TC04099563.2r Page 75
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 82 of 100 PageID #:2916

Map ID                                                  MAP FINDINGS
Direction
Distance                                                                             EDR ID Number
Elevation   Site                                                       Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                               1000431437
                   ACT Code 1:               201
                   ACT Name:                 HW Generator - Large
                   Contact Title:            Not reported
                   Contact Name:             Not reported
                   Contact Address:          Not reported
                   Contact City/State/Zip:   Not reported
                   Contact Telephone:        Not reported
                   Contact Email Address:    Not reported
                   Shipped:                  -
                   Year:                     2011
                   Manifest DOC ID:          007109855JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 11/08/2011
                   TSD Date:                 11/16/2011
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       12/09/2011

                   Year:                     2011
                   Manifest DOC ID:          009201053JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 09/16/2011
                   TSD Date:                 09/30/2011
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       10/26/2011

                   Year:                     2011
                   Manifest DOC ID:          009201089JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 09/20/2011
                   TSD Date:                 09/30/2011
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       10/26/2011

                   Year:                     2011
                   Manifest DOC ID:          009201172JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 09/23/2011
                   TSD Date:                 10/06/2011
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported
                   TSG Copy Revd Date:       10/26/2011

                   Year:                     2011
                   Manifest DOC ID:          009201201JJK
                   Copy Type:                TSDCOPY
                   Gen EPA ID:               ILD005421136
                   Gen Date:                 09/27/2011
                   TSD Date:                 10/06/2011
                   TSD EPA ID:               WID003967148
                   GEN Copy Revd Date:       Not reported




                                                                            TC04099563.2r Page 76
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 83 of 100 PageID #:2917

Map ID                                                MAP FINDINGS
Direction
Distance                                                                           EDR ID Number
Elevation   Site                                                     Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                             1000431437
                   TSG Copy Revd Date:   10/26/2011

                   Year:                 2011
                   Manifest DOC ID:      009201259JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             09/30/2011
                   TSD Date:             10/12/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   10/26/2011

                   Year:                 2011
                   Manifest DOC ID:      009201295JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             10/07/2011
                   TSD Date:             10/21/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/04/2011

                   Year:                 2011
                   Manifest DOC ID:      009201427JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             10/14/2011
                   TSD Date:             10/26/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/04/2011

                   Year:                 2011
                   Manifest DOC ID:      009201550JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             10/18/2011
                   TSD Date:             10/26/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/04/2011

                   Year:                 2011
                   Manifest DOC ID:      009201610JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             10/21/2011
                   TSD Date:             10/28/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/11/2011

                   Year:                 2011
                   Manifest DOC ID:      009201668JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             10/25/2011




                                                                          TC04099563.2r Page 77
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 84 of 100 PageID #:2918

Map ID                                             MAP FINDINGS
Direction
Distance                                                                          EDR ID Number
Elevation   Site                                                    Database(s)   EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                            1000431437
                   TSD Date:             10/28/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/11/2011

                   Year:                 2011
                   Manifest DOC ID:      009201714JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/01/2011
                   TSD Date:             11/09/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   11/21/2011

                   Year:                 2011
                   Manifest DOC ID:      009201864JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/04/2011
                   TSD Date:             11/16/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   12/09/2011

                   Year:                 2011
                   Manifest DOC ID:      009201977JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             11/11/2011
                   TSD Date:             11/22/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   12/09/2011

                   Year:                 2011
                   Manifest DOC ID:      009012505JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             08/17/2011
                   TSD Date:             08/25/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   09/19/2011

                   Year:                 2011
                   Manifest DOC ID:      009012575JJK
                   Copy Type:            TSDCOPY
                   Gen EPA ID:           ILD005421136
                   Gen Date:             08/19/2011
                   TSD Date:             08/31/2011
                   TSD EPA ID:           WID003967148
                   GEN Copy Revd Date:   Not reported
                   TSG Copy Revd Date:   09/19/2011

                   Year:                 2011
                   Manifest DOC ID:      009012613JJK




                                                                         TC04099563.2r Page 78
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 85 of 100 PageID #:2919

Map ID                                                        MAP FINDINGS
Direction
Distance                                                                                                                    EDR ID Number
Elevation   Site                                                                                            Database(s)     EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                                      1000431437
                   Copy Type:                     TSDCOPY
                   Gen EPA ID:                    ILD005421136
                   Gen Date:                      08/26/2011
                   TSD Date:                      09/09/2011
                   TSD EPA ID:                    WID003967148
                   GEN Copy Revd Date:            Not reported
                   TSG Copy Revd Date:            09/22/2011

                   Year:                          2011
                   Manifest DOC ID:               009012741JJK
                   Copy Type:                     TSDCOPY
                   Gen EPA ID:                    ILD005421136
                   Gen Date:                      08/30/2011
                   TSD Date:                      09/09/2011
                   TSD EPA ID:                    WID003967148
                   GEN Copy Revd Date:            Not reported
                   TSG Copy Revd Date:            09/22/2011

                   Year:                          2011
                   Manifest DOC ID:               009012815JJK
                   Copy Type:                     TSDCOPY
                   Gen EPA ID:                    ILD005421136
                   Gen Date:                      09/06/2011
                   TSD Date:                      09/15/2011
                   TSD EPA ID:                    WID003967148
                   GEN Copy Revd Date:            Not reported
                   TSG Copy Revd Date:            10/12/2011

                   Year:                          2011
                   Manifest DOC ID:               009012816JJK
                   Copy Type:                     TSDCOPY
                   Gen EPA ID:                    ILD005421136
                   Gen Date:                      09/02/2011
                   TSD Date:                      09/15/2011
                   TSD EPA ID:                    WID003967148
                   GEN Copy Revd Date:            Not reported
                   TSG Copy Revd Date:            10/12/2011
                   WI MANIFEST SHIP:              Has 134 more record(s) for this section. Please contact your EDR
                                                  Account Executive for more information


                   Year:                          2004
                   EPA ID:                        ILD005421136
                   FID:                           0
                   ACT Code:                      201
                   ACT Status:                    A
                   ACT Code 1:                    201
                   ACT Name:                      HW Generator - Large
                   Contact Title:                 Not reported
                   Contact Name:                  Not reported
                   Contact Address:               Not reported
                   Contact City/State/Zip:        Not reported
                   Contact Telephone:             Not reported
                   Contact Email Address:         Not reported


              2020 COR ACTION:
                EPA ID:                      ILD005421136




                                                                                                                     TC04099563.2r Page 79
   Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 86 of 100 PageID #:2920

Map ID                                                       MAP FINDINGS
Direction
Distance                                                                                                                  EDR ID Number
Elevation   Site                                                                                          Database(s)     EPA ID Number




            UNIVERSITY OF CHICAGO HOSPITAL (Continued)                                                                    1000431437
                   Region:                5
                   Action:                Not reported




50          NIKE C-41 - JACKSON PARK                                                                               FUDS   1007211445
NNE                                                                                                                        N/A
1/2-1       CHICAGO, IL
0.825 mi.
4358 ft.

Relative:     FUDS:
Lower           Federal Facility ID:      IL9799F8123
                FUDS #:                   E05IL3258
Actual:         INST ID:                  58302
575 ft.         Facility Name:            NIKE C-41 - JACKSON PARK
                City:                     CHICAGO
                State:                    IL
                EPA Region:               05
                County:                   COOK
                Congressional District:   02
                US Army District:         Louisville District (LRL)
                Fiscal Year:              2012
                Telephone:                502-315-6768
                NPL Status:               Not Listed
                RAB:                      Not reported
                CTC:                      2024
                Current Owner:            Local Government
                Current Prog:             Not reported
                Future Prog:              Not reported
                Acreage:                  Not reported
                Description:              The 88.40-acre site, which is a two-area site, is located in Jackson
                                          Park near 55th Street on the lake front of Lake Michigan and near 62nd
                                          Street at the lagoon area in the City of Chicago, Cook County,
                                          Illinois. The entire site has been reincorporated back into a public
                                          recreational area.
                   History:               The site was acquired through lease in 1951 and was used by the
                                          Department of the Army as part of the guided missile defense system
                                          against enemy aircraft for the Chicago, Illinois metropolitan area
                                          from 1951 through 1971.
                   Latitude:              41.78480100000
                   Longitude:             -87.58010099999




                                                                                                                   TC04099563.2r Page 80
                         Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 87 of 100 PageID #:2921
Count: 14 records.                                   ORPHAN SUMMARY

City                 EDR ID       Site Name                            Site Address                                   Zip     Database(s)

CHICAGO              S100790023   CALUMET CONTAINER                    EAST 136TH STREET                                      IL NIPC
CHICAGO              S113271857   NIKE SITE C41 CONTROL AREA-JAC       55TH & LAKE SHORE DR E                         60637   IL BOL
CHICAGO              1008124415   NIKE SITE C41 CONTROL AREA-JAC       55TH & LAKE SHORE DR E                         60637   FINDS
CHICAGO              1010784327   COMED                                62ND ST & MARTIN LUTHER KING D                 60637   RCRA NonGen / NLR
CHICAGO              U004128286   CONSTRUCTION SITE                    4801-59 SOUTH COTTAGE                          60615   IL UST
CHICAGO              U004200780   ATS FACILITY CONSTRUCTION SITE       5225 SOUTH COTTRAGE GROVE                      60615   IL UST
CHICAGO              U004123129   FUTURE SITE OF SOUTH SHORE HIGH SC   7545 S. EUCLID ST.                             60649   IL UST
CHICAGO              U001141872   AMOCO SS#24040 FAC#10632             GARFIELD & S PARK AVE                          60615   IL UST
CHICAGO              S113271870   NIKE SITE C-41 HOUSING & LAUNCH      HAYES & LAKE SHORE DR N                        60637   IL BOL
CHICAGO              1009461307   NIKE SITE C-41 HOUSING & LAUNCH      HAYES & LAKE SHORE DR N                        60637   FINDS
CHICAGO              1011852916   WOODLAWN ELEMENTARY                  6657 N KIMBARK                                 60637   FINDS
CHICAGO              S116532575   HYDE PARK CLEANERS INC               5422 SOUTH LAKE PARK                           60615   IL DRYCLEANERS
CHICAGO              S115523859   LAKE CALUMET CLUSTER SITE            NORTH OF 122ND                                         IL RGA HWS
CHICAGO              S116623196   MOBIL OIL STATION #05-BCH            7601 SOUTH STATE STREET                        60637   IL LUST




                                                                                              TC04099563.2r Page 81
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 88 of 100 PageID #:2922
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


To maintain currency of the following federal and state databases, EDR contacts the appropriate governmental agency
on a monthly or quarterly basis, as required.

Number of Days to Update: Provides confirmation that EDR is reporting records that have been updated within 90 days
from the date the government agency made the information available to the public.

STANDARD ENVIRONMENTAL RECORDS

Federal NPL site list

NPL: National Priority List
    National Priorities List (Superfund). The NPL is a subset of CERCLIS and identifies over 1,200 sites for priority
    cleanup under the Superfund Program. NPL sites may encompass relatively large areas. As such, EDR provides polygon
    coverage for over 1,000 NPL site boundaries produced by EPA’s Environmental Photographic Interpretation Center
    (EPIC) and regional EPA offices.
     Date of Government Version: 10/25/2013          Source: EPA
     Date Data Arrived at EDR: 11/11/2013            Telephone: N/A
     Date Made Active in Reports: 01/28/2014         Last EDR Contact: 09/19/2014
     Number of Days to Update: 78                    Next Scheduled EDR Contact: 10/20/2014
                                                     Data Release Frequency: Quarterly

     NPL Site Boundaries
     Sources:
     EPA’s Environmental Photographic Interpretation Center (EPIC)
     Telephone: 202-564-7333
     EPA Region 1                                    EPA Region 6
     Telephone 617-918-1143                          Telephone: 214-655-6659
     EPA Region 3                                    EPA Region 7
     Telephone 215-814-5418                          Telephone: 913-551-7247
     EPA Region 4                                    EPA Region 8
     Telephone 404-562-8033                          Telephone: 303-312-6774
     EPA Region 5                                    EPA Region 9
     Telephone 312-886-6686                          Telephone: 415-947-4246
     EPA Region 10
     Telephone 206-553-8665

Proposed NPL: Proposed National Priority List Sites
     A site that has been proposed for listing on the National Priorities List through the issuance of a proposed rule
     in the Federal Register. EPA then accepts public comments on the site, responds to the comments, and places on
     the NPL those sites that continue to meet the requirements for listing.
     Date of Government Version: 10/25/2013          Source: EPA
     Date Data Arrived at EDR: 11/11/2013            Telephone: N/A
     Date Made Active in Reports: 01/28/2014         Last EDR Contact: 09/19/2014
     Number of Days to Update: 78                    Next Scheduled EDR Contact: 10/20/2014
                                                     Data Release Frequency: Quarterly

NPL LIENS: Federal Superfund Liens
    Federal Superfund Liens. Under the authority granted the USEPA by CERCLA of 1980, the USEPA has the authority
    to file liens against real property in order to recover remedial action expenditures or when the property owner
    received notification of potential liability. USEPA compiles a listing of filed notices of Superfund Liens.
     Date of Government Version: 10/15/1991          Source: EPA
     Date Data Arrived at EDR: 02/02/1994            Telephone: 202-564-4267
     Date Made Active in Reports: 03/30/1994         Last EDR Contact: 08/15/2011
     Number of Days to Update: 56                    Next Scheduled EDR Contact: 11/28/2011
                                                     Data Release Frequency: No Update Planned




                                                                                                                 TC04099563.2r   Page GR-1
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 89 of 100 PageID #:2923
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


Federal Delisted NPL site list

DELISTED NPL: National Priority List Deletions
    The National Oil and Hazardous Substances Pollution Contingency Plan (NCP) establishes the criteria that the
    EPA uses to delete sites from the NPL. In accordance with 40 CFR 300.425.(e), sites may be deleted from the
    NPL where no further response is appropriate.
     Date of Government Version: 10/25/2013        Source: EPA
     Date Data Arrived at EDR: 11/11/2013          Telephone: N/A
     Date Made Active in Reports: 01/28/2014       Last EDR Contact: 09/19/2014
     Number of Days to Update: 78                  Next Scheduled EDR Contact: 10/20/2014
                                                   Data Release Frequency: Quarterly

Federal CERCLIS list

CERCLIS: Comprehensive Environmental Response, Compensation, and Liability Information System
    CERCLIS contains data on potentially hazardous waste sites that have been reported to the USEPA by states, municipalities,
    private companies and private persons, pursuant to Section 103 of the Comprehensive Environmental Response, Compensation,
    and Liability Act (CERCLA). CERCLIS contains sites which are either proposed to or on the National Priorities
    List (NPL) and sites which are in the screening and assessment phase for possible inclusion on the NPL.
     Date of Government Version: 10/25/2013        Source: EPA
     Date Data Arrived at EDR: 11/11/2013          Telephone: 703-412-9810
     Date Made Active in Reports: 02/13/2014       Last EDR Contact: 08/28/2014
     Number of Days to Update: 94                  Next Scheduled EDR Contact: 12/08/2014
                                                   Data Release Frequency: Quarterly

FEDERAL FACILITY: Federal Facility Site Information listing
    A listing of National Priority List (NPL) and Base Realignment and Closure (BRAC) sites found in the Comprehensive
    Environmental Response, Compensation and Liability Information System (CERCLIS) Database where EPA Federal Facilities
    Restoration and Reuse Office is involved in cleanup activities.
     Date of Government Version: 04/01/2014        Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/08/2014          Telephone: 703-603-8704
     Date Made Active in Reports: 08/22/2014       Last EDR Contact: 10/07/2014
     Number of Days to Update: 45                  Next Scheduled EDR Contact: 01/19/2015
                                                   Data Release Frequency: Varies

Federal CERCLIS NFRAP site List

CERCLIS-NFRAP: CERCLIS No Further Remedial Action Planned
    Archived sites are sites that have been removed and archived from the inventory of CERCLIS sites. Archived status
    indicates that, to the best of EPA’s knowledge, assessment at a site has been completed and that EPA has determined
    no further steps will be taken to list this site on the National Priorities List (NPL), unless information indicates
    this decision was not appropriate or other considerations require a recommendation for listing at a later time.
    This decision does not necessarily mean that there is no hazard associated with a given site; it only means that,
    based upon available information, the location is not judged to be a potential NPL site.
     Date of Government Version: 10/25/2013        Source: EPA
     Date Data Arrived at EDR: 11/11/2013          Telephone: 703-412-9810
     Date Made Active in Reports: 02/13/2014       Last EDR Contact: 08/28/2014
     Number of Days to Update: 94                  Next Scheduled EDR Contact: 12/08/2014
                                                   Data Release Frequency: Quarterly

Federal RCRA CORRACTS facilities list

CORRACTS: Corrective Action Report
   CORRACTS identifies hazardous waste handlers with RCRA corrective action activity.




                                                                                                              TC04099563.2r   Page GR-2
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 90 of 100 PageID #:2924
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


     Date of Government Version: 06/10/2014       Source: EPA
     Date Data Arrived at EDR: 07/02/2014         Telephone: 800-424-9346
     Date Made Active in Reports: 09/18/2014      Last EDR Contact: 10/01/2014
     Number of Days to Update: 78                 Next Scheduled EDR Contact: 01/12/2015
                                                  Data Release Frequency: Quarterly

Federal RCRA non-CORRACTS TSD facilities list

RCRA-TSDF: RCRA - Treatment, Storage and Disposal
    RCRAInfo is EPA’s comprehensive information system, providing access to data supporting the Resource Conservation
    and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database
    includes selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste
    as defined by the Resource Conservation and Recovery Act (RCRA). Transporters are individuals or entities that
    move hazardous waste from the generator offsite to a facility that can recycle, treat, store, or dispose of the
    waste. TSDFs treat, store, or dispose of the waste.
     Date of Government Version: 06/10/2014       Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/02/2014         Telephone: 312-886-6186
     Date Made Active in Reports: 09/18/2014      Last EDR Contact: 10/01/2014
     Number of Days to Update: 78                 Next Scheduled EDR Contact: 01/12/2015
                                                  Data Release Frequency: Quarterly

Federal RCRA generators list

RCRA-LQG: RCRA - Large Quantity Generators
    RCRAInfo is EPA’s comprehensive information system, providing access to data supporting the Resource Conservation
    and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database
    includes selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste
    as defined by the Resource Conservation and Recovery Act (RCRA). Large quantity generators (LQGs) generate
    over 1,000 kilograms (kg) of hazardous waste, or over 1 kg of acutely hazardous waste per month.
     Date of Government Version: 06/10/2014       Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/02/2014         Telephone: 312-886-6186
     Date Made Active in Reports: 09/18/2014      Last EDR Contact: 10/01/2014
     Number of Days to Update: 78                 Next Scheduled EDR Contact: 01/12/2015
                                                  Data Release Frequency: Quarterly

RCRA-SQG: RCRA - Small Quantity Generators
    RCRAInfo is EPA’s comprehensive information system, providing access to data supporting the Resource Conservation
    and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database
    includes selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste
    as defined by the Resource Conservation and Recovery Act (RCRA). Small quantity generators (SQGs) generate
    between 100 kg and 1,000 kg of hazardous waste per month.
     Date of Government Version: 06/10/2014       Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/02/2014         Telephone: 312-886-6186
     Date Made Active in Reports: 09/18/2014      Last EDR Contact: 10/01/2014
     Number of Days to Update: 78                 Next Scheduled EDR Contact: 01/12/2015
                                                  Data Release Frequency: Quarterly

RCRA-CESQG: RCRA - Conditionally Exempt Small Quantity Generators
    RCRAInfo is EPA’s comprehensive information system, providing access to data supporting the Resource Conservation
    and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database
    includes selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste
    as defined by the Resource Conservation and Recovery Act (RCRA). Conditionally exempt small quantity generators
    (CESQGs) generate less than 100 kg of hazardous waste, or less than 1 kg of acutely hazardous waste per month.
     Date of Government Version: 06/10/2014       Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/02/2014         Telephone: 312-886-6186
     Date Made Active in Reports: 09/18/2014      Last EDR Contact: 10/01/2014
     Number of Days to Update: 78                 Next Scheduled EDR Contact: 01/12/2015
                                                  Data Release Frequency: Varies




                                                                                                          TC04099563.2r   Page GR-3
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 91 of 100 PageID #:2925
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


Federal institutional controls / engineering controls registries

US ENG CONTROLS: Engineering Controls Sites List
    A listing of sites with engineering controls in place. Engineering controls include various forms of caps, building
    foundations, liners, and treatment methods to create pathway elimination for regulated substances to enter environmental
    media or effect human health.
     Date of Government Version: 06/23/2014          Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/15/2014            Telephone: 703-603-0695
     Date Made Active in Reports: 09/18/2014         Last EDR Contact: 09/08/2014
     Number of Days to Update: 65                    Next Scheduled EDR Contact: 12/22/2014
                                                     Data Release Frequency: Varies

US INST CONTROL: Sites with Institutional Controls
     A listing of sites with institutional controls in place. Institutional controls include administrative measures,
     such as groundwater use restrictions, construction restrictions, property use restrictions, and post remediation
     care requirements intended to prevent exposure to contaminants remaining on site. Deed restrictions are generally
     required as part of the institutional controls.
     Date of Government Version: 06/23/2014          Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/15/2014            Telephone: 703-603-0695
     Date Made Active in Reports: 09/18/2014         Last EDR Contact: 09/08/2014
     Number of Days to Update: 65                    Next Scheduled EDR Contact: 12/22/2014
                                                     Data Release Frequency: Varies

LUCIS: Land Use Control Information System
    LUCIS contains records of land use control information pertaining to the former Navy Base Realignment and Closure
    properties.
     Date of Government Version: 05/28/2014          Source: Department of the Navy
     Date Data Arrived at EDR: 05/30/2014            Telephone: 843-820-7326
     Date Made Active in Reports: 06/17/2014         Last EDR Contact: 08/14/2014
     Number of Days to Update: 18                    Next Scheduled EDR Contact: 12/01/2014
                                                     Data Release Frequency: Varies

Federal ERNS list

ERNS: Emergency Response Notification System
    Emergency Response Notification System. ERNS records and stores information on reported releases of oil and hazardous
    substances.
     Date of Government Version: 09/30/2013          Source: National Response Center, United States Coast Guard
     Date Data Arrived at EDR: 10/01/2013            Telephone: 202-267-2180
     Date Made Active in Reports: 12/06/2013         Last EDR Contact: 09/30/2014
     Number of Days to Update: 66                    Next Scheduled EDR Contact: 01/12/2015
                                                     Data Release Frequency: Annually

State- and tribal - equivalent CERCLIS

SSU: State Sites Unit Listing
    The State Response Action Program database identifies the status of all sites under the respons bility of the
    Illinois EPA’s State Sites Unit.
     Date of Government Version: 08/12/2014          Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 08/14/2014            Telephone: 217-524-4826
     Date Made Active in Reports: 09/11/2014         Last EDR Contact: 07/28/2014
     Number of Days to Update: 28                    Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Semi-Annually

State and tribal landfill and/or solid waste disposal site lists




                                                                                                                    TC04099563.2r   Page GR-4
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 92 of 100 PageID #:2926
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


SWF/LF: Available Disposal for Solid Waste in Illinois - Solid Waste Landfills Subject to State Surcharge
    Solid Waste Facilities/Landfill Sites. SWF/LF type records typically contain an inventory of solid waste disposal
    facilities or landfills in a particular state. Depending on the state, these may be active or inactive facilities
    or open dumps that failed to meet RCRA Subtitle D Section 4004 criteria for solid waste landfills or disposal
    sites.
     Date of Government Version: 12/31/2013           Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/31/2014             Telephone: 217-785-8604
     Date Made Active in Reports: 09/08/2014          Last EDR Contact: 07/28/2014
     Number of Days to Update: 39                     Next Scheduled EDR Contact: 11/10/2014
                                                      Data Release Frequency: Annually

LF WMRC: Waste Management & Research Center Landfill Database
    The Waste Management & Research Center Landfill Database includes records from the Department of Public Health,
    Department of Mines & Minerals, Illinois Environmental Protection Agency, State Geological Survey, Northeastern
    Illinois Planning Commission and Pollution Control Board.
     Date of Government Version: 12/31/2001           Source: Department of Natural Resources
     Date Data Arrived at EDR: 10/06/2006             Telephone: 217-333-8940
     Date Made Active in Reports: 11/06/2006          Last EDR Contact: 09/18/2009
     Number of Days to Update: 31                     Next Scheduled EDR Contact: 12/28/2009
                                                      Data Release Frequency: No Update Planned

LF SPECIAL WASTE: Special Waste Site List
     These landfills, as of January 1, 1990, accept non-hazardous special waste pursuant to the Illinois EPA Non-Hazardous
     Special Waste Definition. List A includes landfills that may receive any non-hazardous waste, Non-Regional Pollution
     Control Facilities are so noted. List B includes landfills designed to receive specific non-hazardous wastes.
     List B landfills are designated as a Regional Pollution Control Facility by RPCF, or Non-Regional Pollution Control
     Facility by Non-RPCF.
     Date of Government Version: 01/01/1990           Source: Illinois EPA
     Date Data Arrived at EDR: 06/17/2009             Telephone: 217-782-9288
     Date Made Active in Reports: 07/15/2009          Last EDR Contact: 06/10/2009
     Number of Days to Update: 28                     Next Scheduled EDR Contact: N/A
                                                      Data Release Frequency: No Update Planned

IL NIPC: Solid Waste Landfill Inventory
      Solid Waste Landfill Inventory. NIPC is an inventory of active and inactive solid waste disposal sites, based
      on state, local government and historical archive data. Included are numerous sites which previously had never
      been identified largely because there was no obligation to register such sites prior to 1971.
     Date of Government Version: 08/01/1988           Source: Northeastern Illinois Planning Commission
     Date Data Arrived at EDR: 08/01/1994             Telephone: 312-454-0400
     Date Made Active in Reports: 08/12/1994          Last EDR Contact: 05/23/2006
     Number of Days to Update: 11                     Next Scheduled EDR Contact: N/A
                                                      Data Release Frequency: No Update Planned

CCDD: Clean Construction or Demolition Debris
   Construction and demolition (C and D) debris is nonhazardous, uncontaminated material resulting from construction,
   remodeling, repair, or demolition of utilities, structures, and roads.
     Date of Government Version: 07/28/2014           Source: Illinois EPA
     Date Data Arrived at EDR: 07/30/2014             Telephone: 217-524-3300
     Date Made Active in Reports: 09/08/2014          Last EDR Contact: 07/30/2014
     Number of Days to Update: 40                     Next Scheduled EDR Contact: 11/10/2014
                                                      Data Release Frequency: Varies

State and tribal leaking storage tank lists




                                                                                                                   TC04099563.2r   Page GR-5
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 93 of 100 PageID #:2927
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


LUST: Leaking Underground Storage Tank Sites
    Leaking Underground Storage Tank Incident Reports. LUST records contain an inventory of reported leaking underground
    storage tank incidents. Not all states maintain these records, and the information stored varies by state.
     Date of Government Version: 07/16/2014         Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/30/2014           Telephone: 217-782-6762
     Date Made Active in Reports: 09/08/2014        Last EDR Contact: 07/30/2014
     Number of Days to Update: 40                   Next Scheduled EDR Contact: 11/10/2014
                                                    Data Release Frequency: Semi-Annually

LUST TRUST: Underground Storage Tank Fund Payment Prioirty List
    In case sufficient funds are not available in the Underground Storage Tank Fund, requests for payment are entered
    on the Payment Priority List by "queue date" order. As required by the Environmental Protection Act, the queue
    date is the date that a complete request for partial or final payment was received by the Agency. The queue date
    is "officially" confirmed at the end of the payment review process when a Final Decision Letter is sent to the
    site owner.
     Date of Government Version: 06/24/2014         Source: Illinois EPA
     Date Data Arrived at EDR: 07/30/2014           Telephone: 217-782-6762
     Date Made Active in Reports: 09/08/2014        Last EDR Contact: 07/30/2014
     Number of Days to Update: 40                   Next Scheduled EDR Contact: 11/10/2014
                                                    Data Release Frequency: Varies

INDIAN LUST R4: Leaking Underground Storage Tanks on Indian Land
     LUSTs on Indian land in Florida, Mississippi and North Carolina.
     Date of Government Version: 07/30/2014         Source: EPA Region 4
     Date Data Arrived at EDR: 08/12/2014           Telephone: 404-562-8677
     Date Made Active in Reports: 08/22/2014        Last EDR Contact: 04/22/2014
     Number of Days to Update: 10                   Next Scheduled EDR Contact: 08/11/2014
                                                    Data Release Frequency: Semi-Annually

INDIAN LUST R6: Leaking Underground Storage Tanks on Indian Land
     LUSTs on Indian land in New Mexico and Oklahoma.
     Date of Government Version: 05/14/2014         Source: EPA Region 6
     Date Data Arrived at EDR: 05/15/2014           Telephone: 214-665-6597
     Date Made Active in Reports: 07/15/2014        Last EDR Contact: 07/22/2014
     Number of Days to Update: 61                   Next Scheduled EDR Contact: 11/20/2014
                                                    Data Release Frequency: Varies

INDIAN LUST R5: Leaking Underground Storage Tanks on Indian Land
     Leaking underground storage tanks located on Indian Land in Michigan, Minnesota and Wisconsin.
     Date of Government Version: 08/04/2014         Source: EPA, Region 5
     Date Data Arrived at EDR: 08/05/2014           Telephone: 312-886-7439
     Date Made Active in Reports: 08/22/2014        Last EDR Contact: 04/28/2014
     Number of Days to Update: 17                   Next Scheduled EDR Contact: 11/10/2014
                                                    Data Release Frequency: Varies

INDIAN LUST R10: Leaking Underground Storage Tanks on Indian Land
     LUSTs on Indian land in Alaska, Idaho, Oregon and Washington.
     Date of Government Version: 05/20/2014         Source: EPA Region 10
     Date Data Arrived at EDR: 06/10/2014           Telephone: 206-553-2857
     Date Made Active in Reports: 08/22/2014        Last EDR Contact: 04/28/2014
     Number of Days to Update: 73                   Next Scheduled EDR Contact: 11/10/2014
                                                    Data Release Frequency: Quarterly




                                                                                                               TC04099563.2r   Page GR-6
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 94 of 100 PageID #:2928
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


INDIAN LUST R7: Leaking Underground Storage Tanks on Indian Land
     LUSTs on Indian land in Iowa, Kansas, and Nebraska
     Date of Government Version: 05/22/2014          Source: EPA Region 7
     Date Data Arrived at EDR: 08/22/2014            Telephone: 913-551-7003
     Date Made Active in Reports: 09/18/2014         Last EDR Contact: 04/28/2014
     Number of Days to Update: 27                    Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Varies

INDIAN LUST R8: Leaking Underground Storage Tanks on Indian Land
     LUSTs on Indian land in Colorado, Montana, North Dakota, South Dakota, Utah and Wyoming.
     Date of Government Version: 08/13/2014          Source: EPA Region 8
     Date Data Arrived at EDR: 08/15/2014            Telephone: 303-312-6271
     Date Made Active in Reports: 08/22/2014         Last EDR Contact: 07/22/2014
     Number of Days to Update: 7                     Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Quarterly

INDIAN LUST R9: Leaking Underground Storage Tanks on Indian Land
     LUSTs on Indian land in Arizona, California, New Mexico and Nevada
     Date of Government Version: 03/01/2013          Source: Environmental Protection Agency
     Date Data Arrived at EDR: 03/01/2013            Telephone: 415-972-3372
     Date Made Active in Reports: 04/12/2013         Last EDR Contact: 07/22/2014
     Number of Days to Update: 42                    Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Quarterly

INDIAN LUST R1: Leaking Underground Storage Tanks on Indian Land
     A listing of leaking underground storage tank locations on Indian Land.
     Date of Government Version: 02/01/2013          Source: EPA Region 1
     Date Data Arrived at EDR: 05/01/2013            Telephone: 617-918-1313
     Date Made Active in Reports: 11/01/2013         Last EDR Contact: 08/01/2014
     Number of Days to Update: 184                   Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Varies

State and tribal registered storage tank lists

UST: Underground Storage Tank Facility List
    Registered Underground Storage Tanks. UST’s are regulated under Subtitle I of the Resource Conservation and Recovery
    Act (RCRA) and must be registered with the state department respons ble for administering the UST program. Available
    information varies by state program.
     Date of Government Version: 07/28/2014          Source: Illinois State Fire Marshal
     Date Data Arrived at EDR: 07/30/2014            Telephone: 217-785-0969
     Date Made Active in Reports: 09/19/2014         Last EDR Contact: 07/30/2014
     Number of Days to Update: 51                    Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Quarterly

INDIAN UST R4: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 4 (Alabama, Florida, Georgia, Kentucky, Mississippi, North Carolina, South Carolina, Tennessee
     and Tribal Nations)
     Date of Government Version: 07/30/2014          Source: EPA Region 4
     Date Data Arrived at EDR: 08/12/2014            Telephone: 404-562-9424
     Date Made Active in Reports: 08/22/2014         Last EDR Contact: 04/22/2014
     Number of Days to Update: 10                    Next Scheduled EDR Contact: 08/11/2014
                                                     Data Release Frequency: Semi-Annually




                                                                                                           TC04099563.2r   Page GR-7
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 95 of 100 PageID #:2929
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


INDIAN UST R5: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 5 (Michigan, Minnesota and Wisconsin and Tribal Nations).
     Date of Government Version: 08/04/2014       Source: EPA Region 5
     Date Data Arrived at EDR: 08/05/2014         Telephone: 312-886-6136
     Date Made Active in Reports: 08/22/2014      Last EDR Contact: 04/28/2014
     Number of Days to Update: 17                 Next Scheduled EDR Contact: 11/10/2014
                                                  Data Release Frequency: Varies

INDIAN UST R10: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 10 (Alaska, Idaho, Oregon, Washington, and Tribal Nations).
     Date of Government Version: 05/20/2014       Source: EPA Region 10
     Date Data Arrived at EDR: 06/10/2014         Telephone: 206-553-2857
     Date Made Active in Reports: 08/15/2014      Last EDR Contact: 07/22/2014
     Number of Days to Update: 66                 Next Scheduled EDR Contact: 11/10/2014
                                                  Data Release Frequency: Quarterly

INDIAN UST R7: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 7 (Iowa, Kansas, Missouri, Nebraska, and 9 Tribal Nations).
     Date of Government Version: 08/20/2014       Source: EPA Region 7
     Date Data Arrived at EDR: 08/22/2014         Telephone: 913-551-7003
     Date Made Active in Reports: 09/18/2014      Last EDR Contact: 04/28/2014
     Number of Days to Update: 27                 Next Scheduled EDR Contact: 11/10/2014
                                                  Data Release Frequency: Varies

INDIAN UST R1: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 1 (Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island, Vermont and ten Tribal
     Nations).
     Date of Government Version: 02/01/2013       Source: EPA, Region 1
     Date Data Arrived at EDR: 05/01/2013         Telephone: 617-918-1313
     Date Made Active in Reports: 01/27/2014      Last EDR Contact: 08/01/2014
     Number of Days to Update: 271                Next Scheduled EDR Contact: 11/10/2014
                                                  Data Release Frequency: Varies

INDIAN UST R6: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 6 (Louisiana, Arkansas, Oklahoma, New Mexico, Texas and 65 Tr bes).
     Date of Government Version: 07/25/2014       Source: EPA Region 6
     Date Data Arrived at EDR: 07/28/2014         Telephone: 214-665-7591
     Date Made Active in Reports: 08/22/2014      Last EDR Contact: 07/22/2014
     Number of Days to Update: 25                 Next Scheduled EDR Contact: 11/10/2014
                                                  Data Release Frequency: Semi-Annually

INDIAN UST R9: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 9 (Arizona, California, Hawaii, Nevada, the Pacific Islands, and Tribal Nations).
     Date of Government Version: 08/14/2014       Source: EPA Region 9
     Date Data Arrived at EDR: 08/15/2014         Telephone: 415-972-3368
     Date Made Active in Reports: 08/22/2014      Last EDR Contact: 07/22/2014
     Number of Days to Update: 7                  Next Scheduled EDR Contact: 11/10/2014
                                                  Data Release Frequency: Quarterly




                                                                                                           TC04099563.2r   Page GR-8
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 96 of 100 PageID #:2930
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


INDIAN UST R8: Underground Storage Tanks on Indian Land
     The Indian Underground Storage Tank (UST) database provides information about underground storage tanks on Indian
     land in EPA Region 8 (Colorado, Montana, North Dakota, South Dakota, Utah, Wyoming and 27 Tribal Nations).
     Date of Government Version: 08/13/2014            Source: EPA Region 8
     Date Data Arrived at EDR: 08/15/2014              Telephone: 303-312-6137
     Date Made Active in Reports: 08/22/2014           Last EDR Contact: 07/22/2014
     Number of Days to Update: 7                       Next Scheduled EDR Contact: 11/10/2014
                                                       Data Release Frequency: Quarterly

FEMA UST: Underground Storage Tank Listing
    A listing of all FEMA owned underground storage tanks.
     Date of Government Version: 01/01/2010            Source: FEMA
     Date Data Arrived at EDR: 02/16/2010              Telephone: 202-646-5797
     Date Made Active in Reports: 04/12/2010           Last EDR Contact: 07/08/2014
     Number of Days to Update: 55                      Next Scheduled EDR Contact: 10/27/2014
                                                       Data Release Frequency: Varies

State and tribal institutional control / engineering control registries

ENG CONTROLS: Sites with Engineering Controls
    Sites using of engineered barriers (e.g., asphalt or concrete paving).
     Date of Government Version: 07/03/2014            Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/08/2014              Telephone: 217-782-6761
     Date Made Active in Reports: 07/16/2014           Last EDR Contact: 07/08/2014
     Number of Days to Update: 8                       Next Scheduled EDR Contact: 10/20/2014
                                                       Data Release Frequency: Quarterly

Inst Control: Institutional Controls
      Legal or administrative restrictions on land use and/or other activities (e.g., groundwater use restrictions)
      which effectively limit exposure to contamination may be employed as alternatives to removal or treatment of contamination.
     Date of Government Version: 07/03/2014            Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/08/2014              Telephone: 217-782-6761
     Date Made Active in Reports: 07/16/2014           Last EDR Contact: 07/08/2014
     Number of Days to Update: 8                       Next Scheduled EDR Contact: 10/20/2014
                                                       Data Release Frequency: Quarterly

State and tribal voluntary cleanup sites

INDIAN VCP R7: Voluntary Cleanup Priority Lisitng
     A listing of voluntary cleanup priority sites located on Indian Land located in Region 7.
     Date of Government Version: 03/20/2008            Source: EPA, Region 7
     Date Data Arrived at EDR: 04/22/2008              Telephone: 913-551-7365
     Date Made Active in Reports: 05/19/2008           Last EDR Contact: 04/20/2009
     Number of Days to Update: 27                      Next Scheduled EDR Contact: 07/20/2009
                                                       Data Release Frequency: Varies

SRP: Site Remediation Program Database
    The database identifies the status of all voluntary remediation projects administered through the pre-notice site
    cleanup program (1989 to 1995) and the site remediation program (1996 to the present).
     Date of Government Version: 07/03/2014            Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/08/2014              Telephone: 217-785-9407
     Date Made Active in Reports: 07/16/2014           Last EDR Contact: 07/08/2014
     Number of Days to Update: 8                       Next Scheduled EDR Contact: 10/20/2014
                                                       Data Release Frequency: Semi-Annually




                                                                                                                   TC04099563.2r    Page GR-9
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 97 of 100 PageID #:2931
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


INDIAN VCP R1: Voluntary Cleanup Priority Listing
     A listing of voluntary cleanup priority sites located on Indian Land located in Region 1.
     Date of Government Version: 05/30/2014            Source: EPA, Region 1
     Date Data Arrived at EDR: 07/01/2014              Telephone: 617-918-1102
     Date Made Active in Reports: 08/15/2014           Last EDR Contact: 10/01/2014
     Number of Days to Update: 45                      Next Scheduled EDR Contact: 01/12/2015
                                                       Data Release Frequency: Varies

State and tribal Brownfields sites

BROWNFIELDS: Municipal Brownfields Redevelopment Grant Program Project Descriptions
   The Illinois Municipal Brownfields Redevelopment Grant Program (MBRGP) offers grants worth a maximum of $240,000
   each to municipalities to assist in site investigation activities, development of cleanup objectives, and performance
   of cleanup activities. Brownfields are abandoned or underused industrial and/or commercial properties that are
   contaminated (or thought to be contaminated) and have an active potential for redevelopment.
     Date of Government Version: 07/30/2014            Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/31/2014              Telephone: 217-785-3486
     Date Made Active in Reports: 09/08/2014           Last EDR Contact: 07/28/2014
     Number of Days to Update: 39                      Next Scheduled EDR Contact: 11/10/2014
                                                       Data Release Frequency: Varies

BROWNFIELDS: Redevelopment Assessment Database
   The Office of Site Evaluations Redevelopment Assessment database identifies the status of all properties within
   the State in which the Illinois EPA’s Office of Site Evaluation has conducted a municipal Brownfield Redevelopment
   Assessment.
     Date of Government Version: 07/28/2014            Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/30/2014              Telephone: 217-524-1658
     Date Made Active in Reports: 09/08/2014           Last EDR Contact: 07/30/2014
     Number of Days to Update: 40                      Next Scheduled EDR Contact: 11/10/2014
                                                       Data Release Frequency: Varies
ADDITIONAL ENVIRONMENTAL RECORDS

Local Brownfield lists

US BROWNFIELDS: A Listing of Brownfields Sites
    Brownfields are real property, the expansion, redevelopment, or reuse of which may be complicated by the presence
    or potential presence of a hazardous substance, pollutant, or contaminant. Cleaning up and reinvesting in these
    properties takes development pressures off of undeveloped, open land, and both improves and protects the environment.
    Assessment, Cleanup and Redevelopment Exchange System (ACRES) stores information reported by EPA Brownfields
    grant recipients on brownfields properties assessed or cleaned up with grant funding as well as information on
    Targeted Brownfields Assessments performed by EPA Regions. A listing of ACRES Brownfield sites is obtained from
    Cleanups in My Community. Cleanups in My Community provides information on Brownfields properties for which information
    is reported back to EPA, as well as areas served by Brownfields grant programs.
     Date of Government Version: 07/01/2014            Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/03/2014              Telephone: 202-566-2777
     Date Made Active in Reports: 07/28/2014           Last EDR Contact: 09/23/2014
     Number of Days to Update: 25                      Next Scheduled EDR Contact: 01/05/2015
                                                       Data Release Frequency: Semi-Annually

Local Lists of Landfill / Solid Waste Disposal Sites

DEBRIS REGION 9: Torres Martinez Reservation Illegal Dump Site Locations
    A listing of illegal dump sites location on the Torres Martinez Indian Reservation located in eastern Riverside
    County and northern Imperial County, California.




                                                                                                                      TC04099563.2r   Page GR-10
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 98 of 100 PageID #:2932
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


     Date of Government Version: 01/12/2009             Source: EPA, Region 9
     Date Data Arrived at EDR: 05/07/2009               Telephone: 415-947-4219
     Date Made Active in Reports: 09/21/2009            Last EDR Contact: 07/25/2014
     Number of Days to Update: 137                      Next Scheduled EDR Contact: 11/10/2014
                                                        Data Release Frequency: No Update Planned

ODI: Open Dump Inventory
     An open dump is defined as a disposal facility that does not comply with one or more of the Part 257 or Part 258
     Subtitle D Criteria.
     Date of Government Version: 06/30/1985             Source: Environmental Protection Agency
     Date Data Arrived at EDR: 08/09/2004               Telephone: 800-424-9346
     Date Made Active in Reports: 09/17/2004            Last EDR Contact: 06/09/2004
     Number of Days to Update: 39                       Next Scheduled EDR Contact: N/A
                                                        Data Release Frequency: No Update Planned

INDIAN ODI: Report on the Status of Open Dumps on Indian Lands
     Location of open dumps on Indian land.
     Date of Government Version: 12/31/1998             Source: Environmental Protection Agency
     Date Data Arrived at EDR: 12/03/2007               Telephone: 703-308-8245
     Date Made Active in Reports: 01/24/2008            Last EDR Contact: 08/01/2014
     Number of Days to Update: 52                       Next Scheduled EDR Contact: 11/17/2014
                                                        Data Release Frequency: Varies

Local Lists of Hazardous waste / Contaminated Sites

US CDL: Clandestine Drug Labs
    A listing of clandestine drug lab locations. The U.S. Department of Justice ("the Department") provides this
    web site as a public service. It contains addresses of some locations where law enforcement agencies reported
    they found chemicals or other items that indicated the presence of either clandestine drug laboratories or dumpsites.
    In most cases, the source of the entries is not the Department, and the Department has not verified the entry
    and does not guarantee its accuracy. Members of the public must verify the accuracy of all entries by, for example,
    contacting local law enforcement and local health departments.
     Date of Government Version: 05/28/2014             Source: Drug Enforcement Administration
     Date Data Arrived at EDR: 06/20/2014               Telephone: 202-307-1000
     Date Made Active in Reports: 07/15/2014            Last EDR Contact: 09/03/2014
     Number of Days to Update: 25                       Next Scheduled EDR Contact: 12/15/2014
                                                        Data Release Frequency: Quarterly

CDL: Meth Drug Lab Site Listing
    A listing of clandestine/meth drug lab locations.
     Date of Government Version: 07/17/2014             Source: Department of Public Health
     Date Data Arrived at EDR: 07/30/2014               Telephone: 217-782-5750
     Date Made Active in Reports: 09/08/2014            Last EDR Contact: 07/28/2014
     Number of Days to Update: 40                       Next Scheduled EDR Contact: 10/27/2014
                                                        Data Release Frequency: Varies

US HIST CDL: National Clandestine Laboratory Register
    A listing of clandestine drug lab locations. The U.S. Department of Justice ("the Department") provides this
    web site as a public service. It contains addresses of some locations where law enforcement agencies reported
    they found chemicals or other items that indicated the presence of either clandestine drug laboratories or dumpsites.
    In most cases, the source of the entries is not the Department, and the Department has not verified the entry
    and does not guarantee its accuracy. Members of the public must verify the accuracy of all entries by, for example,
    contacting local law enforcement and local health departments.
     Date of Government Version: 05/28/2014             Source: Drug Enforcement Administration
     Date Data Arrived at EDR: 06/20/2014               Telephone: 202-307-1000
     Date Made Active in Reports: 07/15/2014            Last EDR Contact: 09/03/2014
     Number of Days to Update: 25                       Next Scheduled EDR Contact: 12/15/2014
                                                        Data Release Frequency: No Update Planned




                                                                                                                 TC04099563.2r   Page GR-11
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 99 of 100 PageID #:2933
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


Local Land Records

LIENS 2: CERCLA Lien Information
    A Federal CERCLA (’Superfund’) lien can exist by operation of law at any site or property at which EPA has spent
    Superfund monies. These monies are spent to investigate and address releases and threatened releases of contamination.
    CERCLIS provides information as to the identity of these sites and properties.
     Date of Government Version: 02/18/2014          Source: Environmental Protection Agency
     Date Data Arrived at EDR: 03/18/2014            Telephone: 202-564-6023
     Date Made Active in Reports: 04/24/2014         Last EDR Contact: 07/22/2014
     Number of Days to Update: 37                    Next Scheduled EDR Contact: 11/10/2014
                                                     Data Release Frequency: Varies

Records of Emergency Release Reports

HMIRS: Hazardous Materials Information Reporting System
    Hazardous Materials Incident Report System. HMIRS contains hazardous material spill incidents reported to DOT.
     Date of Government Version: 06/30/2014          Source: U.S. Department of Transportation
     Date Data Arrived at EDR: 07/01/2014            Telephone: 202-366-4555
     Date Made Active in Reports: 09/18/2014         Last EDR Contact: 10/01/2014
     Number of Days to Update: 79                    Next Scheduled EDR Contact: 01/12/2015
                                                     Data Release Frequency: Annually

SPILLS: State spills
     A listing of incidents reported to the Office of Emergency Response.
     Date of Government Version: 07/17/2014          Source: Illinois EPA
     Date Data Arrived at EDR: 07/18/2014            Telephone: 217-782-3637
     Date Made Active in Reports: 07/25/2014         Last EDR Contact: 07/11/2014
     Number of Days to Update: 7                     Next Scheduled EDR Contact: 10/27/2014
                                                     Data Release Frequency: Varies

IEMA SPILLS: Illinois Emergency Management Agency Spills
    A listing of hazardous materials incidents reported to the Illinois Emergency Management Agency.
     Date of Government Version: 08/05/2014          Source: Illinois Emergency Management Agency
     Date Data Arrived at EDR: 08/06/2014            Telephone: 217-524-0770
     Date Made Active in Reports: 09/11/2014         Last EDR Contact: 08/06/2014
     Number of Days to Update: 36                    Next Scheduled EDR Contact: 11/17/2014
                                                     Data Release Frequency: Quarterly

SPILLS 90: SPILLS90 data from FirstSearch
     Spills 90 includes those spill and release records available exclusively from FirstSearch databases. Typically,
     they may include chemical, oil and/or hazardous substance spills recorded after 1990. Duplicate records that are
     already included in EDR incident and release records are not included in Spills 90.
     Date of Government Version: 07/18/2012          Source: FirstSearch
     Date Data Arrived at EDR: 01/03/2013            Telephone: N/A
     Date Made Active in Reports: 03/15/2013         Last EDR Contact: 01/03/2013
     Number of Days to Update: 71                    Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: No Update Planned

Other Ascertainable Records

RCRA NonGen / NLR: RCRA - Non Generators
    RCRAInfo is EPA’s comprehensive information system, providing access to data supporting the Resource Conservation
    and Recovery Act (RCRA) of 1976 and the Hazardous and Solid Waste Amendments (HSWA) of 1984. The database
    includes selective information on sites which generate, transport, store, treat and/or dispose of hazardous waste
    as defined by the Resource Conservation and Recovery Act (RCRA). Non-Generators do not presently generate hazardous
    waste.




                                                                                                                 TC04099563.2r   Page GR-12
Case: 1:18-cv-03424 Document #: 85-24 Filed: 02/05/19 Page 100 of 100 PageID #:2934
GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


      Date of Government Version: 06/10/2014         Source: Environmental Protection Agency
      Date Data Arrived at EDR: 07/02/2014           Telephone: 312-886-6186
      Date Made Active in Reports: 09/18/2014        Last EDR Contact: 10/01/2014
      Number of Days to Update: 78                   Next Scheduled EDR Contact: 01/12/2015
                                                     Data Release Frequency: Varies

 DOT OPS: Incident and Accident Data
     Department of Transporation, Office of Pipeline Safety Incident and Accident data.
      Date of Government Version: 07/31/2012         Source: Department of Transporation, Office of Pipeline Safety
      Date Data Arrived at EDR: 08/07/2012           Telephone: 202-366-4595
      Date Made Active in Reports: 09/18/2012        Last EDR Contact: 08/06/2014
      Number of Days to Update: 42                   Next Scheduled EDR Contact: 11/17/2014
                                                     Data Release Frequency: Varies

 DOD: Department of Defense Sites
     This data set consists of federally owned or administered lands, administered by the Department of Defense, that
     have any area equal to or greater than 640 acres of the United States, Puerto Rico, and the U.S. Virgin Islands.
      Date of Government Version: 12/31/2005         Source: USGS
      Date Data Arrived at EDR: 11/10/2006           Telephone: 888-275-8747
      Date Made Active in Reports: 01/11/2007        Last EDR Contact: 07/18/2014
      Number of Days to Update: 62                   Next Scheduled EDR Contact: 10/27/2014
                                                     Data Release Frequency: Semi-Annually

 FUDS: Formerly Used Defense Sites
     The listing includes locations of Formerly Used Defense Sites properties where the US Army Corps of Engineers
     is actively working or will take necessary cleanup actions.
      Date of Government Version: 06/06/2014         Source: U.S. Army Corps of Engineers
      Date Data Arrived at EDR: 09/10/2014           Telephone: 202-528-4285
      Date Made Active in Reports: 09/18/2014        Last EDR Contact: 09/10/2014
      Number of Days to Update: 8                    Next Scheduled EDR Contact: 12/22/2014
                                                     Data Release Frequency: Varies

 CONSENT: Superfund (CERCLA) Consent Decrees
    Major legal settlements that establish responsibility and standards for cleanup at NPL (Superfund) sites. Released
    periodically by United States District Courts after settlement by parties to litigation matters.
      Date of Government Version: 12/31/2013         Source: Department of Justice, Consent Decree Library
      Date Data Arrived at EDR: 01/24/2014           Telephone: Varies
      Date Made Active in Reports: 02/24/2014        Last EDR Contact: 09/30/2014
      Number of Days to Update: 31                   Next Scheduled EDR Contact: 01/12/2015
                                                     Data Release Frequency: Varies

 ROD: Records Of Decision
     Record of Decision. ROD documents mandate a permanent remedy at an NPL (Superfund) site containing technical
     and health information to aid in the cleanup.
      Date of Government Version: 11/25/2013         Source: EPA
      Date Data Arrived at EDR: 12/12/2013           Telephone: 703-416-0223
      Date Made Active in Reports: 02/24/2014        Last EDR Contact: 09/09/2014
      Number of Days to Update: 74                   Next Scheduled EDR Contact: 12/22/2014
                                                     Data Release Frequency: Annually

 UMTRA: Uranium Mill Tailings Sites
    Uranium ore was mined by private companies for federal government use in national defense programs. When the mills
    shut down, large piles of the sand-l ke material (mill tailings) remain after uranium has been extracted from
    the ore. Levels of human exposure to radioactive materials from the piles are low; however, in some cases tailings
    were used as construction materials before the potential health hazards of the tailings were recognized.




                                                                                                                 TC04099563.2r   Page GR-13
